                                         Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 1 of 100




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7
                                         UNITED STATES OF AMERICA,
                                   8                                                         Case No. 5:18-cr-00258-EJD-1
                                                        Plaintiff,
                                   9                                                         ORDER RE: MOTIONS IN LIMINE
                                                 v.
                                  10                                                         Re: Dkt. Nos. 561-578, 588
                                         ELIZABETH A. HOLMES,
                                  11
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          On July 28, 2020, a federal grand jury returned a Third Superseding Indictment, charging

                                  14   Defendants Elizabeth Holmes and Ramesh “Sunny” Balwani with ten counts of wire fraud

                                  15   (“Counts 3 through 12”), in violation of 18 U.S.C. § 1343, and two counts of conspiracy to

                                  16   commit wire fraud (“Counts 1 through 2”), in violation of 18 U.S.C. § 1349. Third Superseding

                                  17   Indictment (“TSI”), Dkt. No. 469. Defendants were charged with making deceptive

                                  18   representations about their company, Theranos, and its technology.

                                  19          In anticipation of trial, Holmes and the Government each filed motions in limine (“MIL”).

                                  20   Mots. in Limine, Dkt. Nos. 560-578, 588. Both parties timely opposed and replied in support of

                                  21   their respective motions. Dkt. Nos. 659-670, 672-678, 682, 704-721, 726, 740. The Court

                                  22   conducted hearings on May 4-6, 2021. Trs. of Proceedings, Dkt. Nos. 792-794. Having

                                  23   considered the parties’ arguments, the relevant law, and the record in this case, the Court

                                  24   GRANTS in part and DENIES in part the following motions in limine, as set forth below.

                                  25     I.   BACKGROUND
                                  26          Holmes founded Theranos, a health care and life sciences company, in 2003. TSI ¶ 1.

                                  27   Holmes served as the company’s Chief Executive Officer. Id. Balwani was a board member,

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         1
                                         Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 2 of 100




                                   1   President, and Chief Operating Officer of Theranos. Id. ¶ 2.

                                   2           Theranos’ stated mission was to revolutionize medical laboratory testing through its

                                   3   allegedly innovative methods of drawing and testing blood and diagnosing patients. Id. ¶ 4.

                                   4   During the company’s first ten years, its scientists worked toward developing proprietary

                                   5   technology that could run clinical tests using only tiny drops of blood. Id. ¶ 5. Theranos also

                                   6   worked toward developing a method for drawing a few drops of capillary blood from a patient’s

                                   7   finger using a small lancet. Id. The blood was then stored in a “nanotainer.” Id. Theranos sought

                                   8   to develop a second device called the Theranos Sample Processing Unit (“the TSPU,” “Edison,” or

                                   9   “miniLab”) that could quickly and accurately analyze blood samples stored in the nanotainer. Id.

                                  10   The Government contends that the promises of these devices were never realized; the devices

                                  11   “consistently” produced inaccurate and unreliable results. Id. ¶ 16. Despite this, Defendants

                                  12   began a publicity campaign to promote the company and its devices. Id. ¶¶ 6-9. In September
Northern District of California
 United States District Court




                                  13   2013, Theranos offered blood testing at Walgreens’ “Wellness Centers” in California and Arizona.

                                  14   Id. ¶ 10.

                                  15           The Government argues that Defendants conspired to commit and committed fraud

                                  16   through two fraudulent schemes: one to defraud investors and another to defraud doctors and

                                  17   patients. The Court outlines these schemes below.

                                  18           Scheme to Defraud Investors. Defendants allegedly made materially false and

                                  19   misleading statements and failed to disclose material facts to investors. Based on the false

                                  20   statements, investors invested money in Theranos. Specifically, from 2013 to 2015, Defendants

                                  21   allegedly made misstatements regarding:

                                  22           1. Theranos’ proprietary analyzer: Defendants allegedly made misstatements about

                                  23   Theranos’ proprietary analyzer—the TSPU, Edison, or miniLab—when they claimed the analyzer

                                  24   was presently capable of accomplishing certain tasks, with more precision than other blood tests,

                                  25   and at a faster rate, when they knew these statements were false. Id. ¶ 12(A).

                                  26           2. Theranos’ financial health: Defendants allegedly misrepresented Theranos’ financial

                                  27   well-being when they told investors the company was financially strong and stable and would

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         2
                                         Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 3 of 100




                                   1   make huge profits in 2014 and 2015 when, in fact, they knew Theranos would only generate

                                   2   modest revenue. Id. ¶ 12(B).

                                   3           3. Technology demonstrations: Defendants allegedly deceived investors through

                                   4   misleading technology demonstrations intended to cause potential investors to believe blood tests

                                   5   were being conducted on Theranos’ proprietary analyzer when Defendants knew the analyzer was

                                   6   operating in “null protocol.” Id. ¶ 12(C).

                                   7           4. Walgreens partnership: Defendants allegedly misled investors when they told them

                                   8   Theranos had an expanding partnership with Walgreens when the Walgreens rollout had stalled

                                   9   due to concerns with Theranos’ performance. Id. ¶ 12(D).

                                  10           5. United States Department of Defense (“DOD”) relationship: Defendants allegedly told

                                  11   investors the company had a profitable and revenue-generating business relationship with the

                                  12   DOD and that Theranos technology was deployed on the battlefield. Defendants allegedly knew
Northern District of California
 United States District Court




                                  13   that Theranos had limited revenue from military contracts and that its technology was not used in

                                  14   the battlefield. Id. ¶ 12(E).

                                  15           6. Food and Drug Administration (“FDA”) approval: Defendants allegedly misled

                                  16   investors when they told them that Theranos did not need the FDA to approve its proprietary

                                  17   analyzer and tests when Defendants knew this to be false. Id. ¶ 12(F).

                                  18           7. Patient testing: Defendants allegedly told investors that patient tests were conducted

                                  19   using Theranos manufactured analyzers. Defendants allegedly knew that Theranos used third-

                                  20   party, commercially available analyzers. Id. ¶ 12(G).

                                  21           8. Peer review: Defendants allegedly falsely told investors that several national or

                                  22   multinational pharmaceutical companies and research institutions had examined, used, and

                                  23   validated Theranos technology. Id. ¶ 12(H).

                                  24           9. Media representations: Defendants allegedly made the false and misleading statements

                                  25   described above to reporters and then shared the resulting articles directly with potential investors

                                  26   and via Theranos’ website. Id. ¶ 12(I).

                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         3
                                         Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 4 of 100




                                   1          Scheme to Defraud Doctors and Patients. The Government argues that, from 2013 to

                                   2   2016, Defendants advertised and marketed Theranos technology to doctors and patients, and

                                   3   falsely claimed that the tests were accurate and reliable. Id. ¶¶ 14-15. Their claims about

                                   4   Theranos technology were implicit and explicit. Id. ¶ 15. Despite knowing that Theranos’

                                   5   technology suffered from recurring accuracy and reliability problems, Defendants allegedly

                                   6   advertised the tests as accurate and reliable. Id. ¶¶ 16-17. Specifically, Defendants used

                                   7   materially false and misleading marketing materials and advertisements, and transmitted Theranos

                                   8   blood results that Defendants knew contained, or likely contained, inaccurate information. Id. ¶¶

                                   9   16-18. For instance, Theranos’ public website touted its lab’s ability to perform tests “quickly and

                                  10   accurately on samples as small as a single drop.” Id. ¶ 9. Defendants also allegedly provided

                                  11   patients with reports that contained or were likely to contain: (1) inaccurate and unreliable results;

                                  12   (2) improperly adjusted reference ranges defining a normal or healthy result for a given test; (3)
Northern District of California
 United States District Court




                                  13   improperly removed “critical” results, i.e., results suggesting a patient needed medical attention;

                                  14   and (4) results generated from improperly validated assays, further decreasing the reliability of

                                  15   those tests. Id. ¶ 17(C).

                                  16    II.   LEGAL STANDARD
                                  17          Motions in limine are a “procedural mechanism to limit in advance testimony or evidence

                                  18   in a particular area.” United States v. Heller, 551 F.3d 1108, 1111 (9th Cir. 2009). Like other

                                  19   pretrial motions, motions in limine are “useful tools to resolve issues which would otherwise

                                  20   clutter up the trial.” City of Pomona v. SQM N. Am. Corp., 866 F.3d 1060, 1070 (9th Cir. 2017).

                                  21   Accordingly, “a ruling on a motion in limine is essentially a preliminary opinion that falls entirely

                                  22   within the discretion of the district court.” Id.; see Luce v. United States, 469 U.S. 38, 41 n.4

                                  23   (1984) (explaining that a court may rule in limine “pursuant to the district court’s inherent

                                  24   authority to manage the course of trials”).

                                  25          In many instances, however, rulings “should be deferred until trial, so that questions of

                                  26   foundation, relevancy, and potential prejudice may be resolved in proper context.” United States

                                  27   v. Pac. Gas & Elec. Co. (“PG&E”), 178 F. Supp. 3d 927, 941 (N.D. Cal. 2016). For example, in

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          4
                                         Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 5 of 100




                                   1   order to exclude evidence on a motion in limine, “the evidence must be inadmissible on all

                                   2   potential grounds.” McConnell v. Wal-Mart Stores, Inc., 995 F. Supp. 2d 1164, 1167 (D. Nev.

                                   3   2014). Thus, denial of a motion in limine to exclude certain evidence does not mean that all

                                   4   evidence contemplated by the motion will be admitted, only that the court is unable to make a

                                   5   comprehensive ruling in advance of trial. Id. at 1168. Moreover, even if a district court does rule

                                   6   in limine, the court may “change its ruling at trial because testimony may bring facts to the district

                                   7   court’s attention that it did not anticipate at the time of its initial ruling.” City of Pomona, 866

                                   8   F.3d at 1070; see also Ohler v. United States, 529 U.S. 753, 758 n.3 (2000) (“[I]n limine rulings

                                   9   are not binding on the trial judge, and the judge may always change his mind during the course of

                                  10   a trial.”).

                                  11             A.       Federal Rule of Evidence 401
                                  12            Under Rule 401 of the Federal Rules of Evidence, evidence is relevant if “it has any
Northern District of California
 United States District Court




                                  13   tendency to make a fact more or less probable than it would be without the evidence . . . and the

                                  14   fact is of consequence in determining the action.” Fed. R. Evid. 401(a)-(b). “Relevancy simply

                                  15   requires that the evidence logically advance a material aspect of the party’s case.” United States v.

                                  16   Ruvalcaba-Garcia, 923 F.3d 1183, 1188 (9th Cir. 2019) (internal quotations omitted).

                                  17                 B.   Federal Rule of Evidence 403
                                  18            Even if evidence is relevant, it must be excluded if its “probative value is substantially

                                  19   outweighed by a danger of . . . unfair prejudice, confusing the issues, [or] misleading the jury.”

                                  20   Fed. R. Evid. 403. Evidence is unfairly prejudicial when it has “an undue tendency to suggest

                                  21   decision on an improper basis, commonly, though not necessarily, an emotional one.” Old Chief

                                  22   v. United States, 519 U.S. 172, 180 (1997). “Unfair prejudice can result from evidence that makes

                                  23   it more likely for a juror ‘to defer to findings and determinations relevant to credibility made by an

                                  24   authoritative, professional factfinder rather than determine those issues for themselves.’” United

                                  25   States v. Sine, 493 F.3d 1021 (9th Cir. 1992).

                                  26             C.       Federal Rule of Evidence 802
                                  27            Hearsay evidence is inadmissible unless otherwise provided for under a federal statute, the

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                           5
                                         Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 6 of 100




                                   1   Federal Rules of Evidence, or “other rules prescribed by the Supreme Court.” Fed. R. Evid. 802.

                                   2   Hearsay is a statement “the declarant does not make while testifying at the current trial or hearing”

                                   3   and which “a party offers in evidence to prove the truth of the matter asserted in the statement.”

                                   4   Fed. R. Evid. 801. “Hearsay within hearsay” is only admissible “if each part of the combined

                                   5   statements conforms with an exception to the rule.” Fed. R. Evid. 805.

                                   6   III.    HOLMES’S MOTIONS IN LIMINE AND RELATED GOVERNMENT MOTIONS
                                   7
                                              A.   Holmes’s MIL to Exclude Evidence Concerning Wealth, Spending, And Lifestyle
                                   8               (Dkt. No. 567)
                                   9           The Government argues that during her tenure as founder and Chief Executive Officer

                                  10   (“CEO”) of Theranos, Holmes engaged in a widespread fraudulent scheme to defraud investors

                                  11   and obtain money and property under false pretenses. In addition to amassing millions of dollars

                                  12   for the company, Holmes obtained significant personal benefits arising from her position. She
Northern District of California
 United States District Court




                                  13   received a generous salary, which allowed her to live a luxurious lifestyle replete with an

                                  14   expensive rental home, a luxury SUV, and assorted high-end merchandise. Decl. of Amy Mason

                                  15   Saharia in Supp. of Holmes’s Mot. to Strike Rule 404(b) Notice or, in the Alternative, Compel

                                  16   Adequate Rule 404(b) Disclosure, Dkt. No. 421-1, Ex. A at 9. Holmes also utilized company

                                  17   funds to pay for luxury travel and accommodations. Id. Additionally, she routinely assigned her

                                  18   personal assistant to non-company tasks, such as personal shopping and product returns. Id.

                                  19           The Government argues these benefits extend to non-tangible experiences that enhanced

                                  20   Holmes’s status in society. Id. In particular, she was hailed as a visionary businesswoman in

                                  21   numerous publications. Id. This increased publicity allowed her to associate with “celebrities,

                                  22   dignitaries, and other wealthy and powerful individuals.” Id.

                                  23           The Government seeks to introduce evidence of these tangible and non-tangible benefits to

                                  24   show Holmes’s motive, opportunity, intent, preparation, plan, knowledge, identity, consciousness

                                  25   of guilt, or absence of mistake or accident under Federal Rule of Evidence 404(b). Holmes moves

                                  26   to preclude the government from introducing this evidence on two grounds. See Holmes’s Mot. in

                                  27   Limine to Exclude Evidence Concerning Wealth, Spending and Lifestyle Under Rules 401-403

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         6
                                         Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 7 of 100




                                   1   (“Holmes 567 Mot.”), Dkt. No. 567. First, Holmes argues this evidence is irrelevant to any fact of

                                   2   consequence in this proceeding. Fed. R. Evid. 401, 402. Second, even if deemed relevant,

                                   3   Holmes argues the probative value of this evidence is substantially outweighed by the prejudicial

                                   4   danger of misleading the jury to base their decision on improper basis, as well as confusing the

                                   5   issue and needlessly wasting the Court’s time. Fed. R. Evid. 403.

                                   6          The issue of evidence of wealth, particularly lack thereof, “is something of an old chestnut

                                   7   in the law of evidence.” United States v. Mitchell, 172 F.3d 1104, 1108 (9th Cir. 1999). In

                                   8   Mitchell, the trial court admitted evidence of the defendant’s poverty to prove motive to commit a

                                   9   bank robbery. Id. The Ninth Circuit reversed because evidence of wealth or poverty without a

                                  10   nexus to an “inclination, desperation, or other evidence that the person was likely to commit the

                                  11   crime” is not relevant. Id. at 1109. Ultimately, the evidence must show “more that the mere fact

                                  12   that the defendant is poor.” Id. (quoting United States v. Jackson, 882 F.2d 1444, 1449 (9th Cir.
Northern District of California
 United States District Court




                                  13   1989) (upholding trial court’s admission of evidence of financial difficulty given the “unexplained

                                  14   and abrupt change in that status”)).

                                  15          However, the force of Mitchell’s holding is diminished because “wealth evidence, unlike

                                  16   poverty evidence, does not entail the same risk of unfair prejudice.” United States v. Flores, 510

                                  17   F. App’x 594, 595 (9th Cir. 2013). As with evidence of poverty, evidence of wealth or lavish

                                  18   lifestyle is not admissible standing alone but may be admissible to prove motive, knowledge, or

                                  19   intent. See United States v. Weygandt, 681 F. App’x 630, 633 (9th Cir. 2017) (evidence of wealth

                                  20   admissible to show defendant could have purchased necessary equipment but chose not to in order

                                  21   to enhance wealth); United States v. Reyes, 660 F.3d 454, 464 (9th Cir. 2011) (evidence of gains

                                  22   from stock option backdating is admissible to permit “jury to draw a reasonable inference that

                                  23   [defendant] knew what he was doing”). Nonetheless, evidence of an individual’s lavish spending

                                  24   habits, without a connection to an individual’s participation in criminal activity, is irrelevant. See

                                  25   United States v. Hatfield, 685 F. Supp. 2d 320, 326 (E.D.N.Y. 2010) (“[I]t is irrelevant if

                                  26   [defendant] spent his fortune on lavish parties, instead of donating it to starving Malawian

                                  27   orphans.”).

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          7
                                         Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 8 of 100




                                   1          Holmes argues that evidence regarding her wealth and lifestyle is irrelevant because it has

                                   2   no bearing on any fact of consequence. She notes the factual issues for the jury are whether she

                                   3   participated in (1) a scheme to defraud investors or paying patients, through (2) the use of wire,

                                   4   radio or television and with (3) a specific intent to defraud those investors and paying patients.

                                   5   Holmes 567 Mot. at 2. Holmes argues that the evidence of wealth and lavish lifestyle lack a

                                   6   “particularized connection to the alleged conduct.” Holmes Reply Br. In Supp. of Holmes’s 567

                                   7   Mot. (“Holmes 567 Reply”), Dkt. No. 710, at 2. The Government contends that the evidence is

                                   8   relevant because it represents the fruit of Holmes’s fraudulent scheme. Gov’t Opp’n to Holmes’s

                                   9   567 Mot. (“Gov’t 567 Opp’n”), Dkt. No. 663, at 2. Further, the accumulation of these items

                                  10   indicates that “she intended to defraud in order to obtain those benefits” and further motivated her

                                  11   “to continue and conceal her fraud.” Id.

                                  12          The Government’s arguments come close to the impermissible use of evidence to show
Northern District of California
 United States District Court




                                  13   Holmes was wealthy and wished to become wealthier. On its face, this does not appear to have

                                  14   the requisite connection to the alleged conduct required under case law. Despite this shortcoming,

                                  15   the Government’s theory of relevance has some merit. As in Reyes, each time Holmes made an

                                  16   extravagant purchase, it is reasonable to infer that she knew her fraudulent activity allowed her to

                                  17   pay for those items. See Reyes, 660 F.3d at 464. While the benefits of these purchases are not as

                                  18   directly tied to the fraud as backdating stocks was in Reyes, it may still be probative of Holmes’s

                                  19   scienter. Therefore, this evidence passes the minimal threshold for relevance.

                                  20          Nevertheless, the Court in its discretion “may exclude relevant evidence if its probative

                                  21   value is substantially outweighed by a danger of . . . unfair prejudice.” Fed. R. Evid. 403. Unfair

                                  22   prejudice “speaks to the capacity of some concededly relevant evidence to lure the factfinder into

                                  23   declaring guilt on a ground different from proof specific to the offense charged.” Old Chief, 519

                                  24   U.S. at 180. In this particular context, evidence of Holmes’s wealth can be construed as “appeals

                                  25   to class prejudice” which are considered “highly improper” because they “may so poison the

                                  26   minds of jurors even in a strong case that an accused may be deprived of a fair trial.” United

                                  27   States v. Socony-Vacuum Oil Co., 310 U.S. 150, 239–40 (1940). Appeals to class prejudice that

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         8
                                            Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 9 of 100




                                   1   are “obvious” and “persistent” are unfairly prejudicial. United States v. Stahl, 616 F.2d 30, 32–33

                                   2   (2d Cir. 1980) (discussing an overzealous prosecutor’s entire trial strategy centered on inflaming

                                   3   prejudice against the defendant’s wealth, readily apparent from the prosecutor’s opening

                                   4   argument, witness interrogation, and closing argument).

                                   5            At the hearing, the Government indicated that Holmes’s desire to maintain her lifestyle as

                                   6   Theranos CEO and founder and all the accompanying celebrity and benefits (financial or

                                   7   otherwise) were motivating factors for her to continue to engage in the fraudulent conduct alleged

                                   8   in the indictment. The Government argues that its case does not center on a persistent appeal to

                                   9   class prejudice, as in Stahl, but rather that the desire for wealth is a piece in a complex puzzle

                                  10   comprising Holmes’s intent to perpetuate this broad-ranging fraud. However, this balance is

                                  11   complicated by the fact that the evidence of her wealth and fame is not highly (or even

                                  12   moderately) probative of intent to defraud. When one combines the fact that this case implicates
Northern District of California
 United States District Court




                                  13   potentially dangerous technology with an argument concerning an individual’s greed, jurors could

                                  14   easily “judge the merits of this matter by their attitudes about such things.” Holmes 567 Reply at

                                  15   5.

                                  16            The evidence of Holmes’s position as CEO and founder will undoubtedly be introduced at

                                  17   trial. As discussed at the hearing, it is common knowledge that CEOs and heads of Silicon Valley

                                  18   technology companies enjoy lifestyles commensurate with those positions that are significantly

                                  19   different than those of the general public. The Government may introduce evidence that Holmes

                                  20   enjoyed a lifestyle as Theranos CEO that is comparable to those of other tech company CEOs.

                                  21   This includes salary, travel, celebrity, and other perks and benefits commensurate with the

                                  22   position. However, references to specific purchases or details reflecting branding of clothing,

                                  23   hotels, or other personal items is not relevant, and the prejudicial effect of that evidence outweighs

                                  24   any probative value.

                                  25            Based on the foregoing, the Court GRANTS IN PART Holmes’s MIL to exclude

                                  26   evidence referencing her wealth, spending, and lifestyle that is outside the general nature of her

                                  27   position as Theranos CEO. As noted at the hearing, the Court may revisit this ruling should

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          9
                                           Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 10 of 100




                                   1   circumstances warrant.

                                   2             B.   Holmes’s MIL to Exclude FDA Inspection Evidence (Dkt. No. 573)
                                   3           In August of 2013, “Theranos contacted [the] FDA (the Food and Drug Administration)

                                   4   with a proposal to submit for FDA clearance the [laboratory developed tests] that would be run on

                                   5   Theranos’ proprietary devices in its . . . laboratory.” Holmes’s Mot. in Limine to Exclude FDA

                                   6   Inspection Evidence Under Rules 401-404 and 801-803 (“Holmes 573 Mot.”), Dkt. No. 573, at 2.

                                   7   By the winter of 2013, “Theranos and [the] FDA agreed to a submission plan to accomplish that

                                   8   goal.” Id. One aspect of this plan concerned Theranos’ nanotainer. See id. On August 25, 2015,

                                   9   “FDA conducted unannounced inspections at Theranos’ laboratories in California and Arizona.”

                                  10   Id. These inspections partly focused on making sure the nanotainers were properly classified and

                                  11   identifying whether certain regulations applied to them. Id. at 3. The FDA ceased its inspection

                                  12   of Theranos’ Arizona lab “without making any observations, but continued its inspection of the
Northern District of California
 United States District Court




                                  13   California laboratory until September 16, 2015.” Id. at 2–3.

                                  14           Holmes now moves to exclude “evidence of or reference to, [the FDA’s] 2015 inspections

                                  15   of Theranos.” Id. at 1. Holmes’s motion refers specifically to 27 exhibits that “relate to FDA’s

                                  16   inspections,” and that were “identified by the Government . . . as proposed exhibits.” Id. at 3.

                                  17   These exhibits (“the FDA inspection evidence”) encompass the documented observations of the

                                  18   FDA (Forms 483),1 internal emails among FDA agents, and records of communications between

                                  19   Holmes and Ramesh “Sunny” Balwani made during and about the FDA inspection. Id. at 1–4.

                                  20   Holmes argues that “[t]hese documents should be excluded along with any corresponding

                                  21   testimony offered by the government.”2 Id. at 3–4.

                                  22

                                  23
                                       1
                                         In her motion, Holmes explains Forms 483 by referencing a website, “FDA Form 483 Frequently
                                       Asked Questions,” https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
                                  24   investigations/inspection-references/fda-form-483-frequently-asked-questions. See Holmes 573
                                       Mot. at 3, n.6. This website states, among other things, the following: “An FDA Form 483 is
                                  25   issued to firm management at the conclusion of an inspection when an investigator(s) has
                                       observed any conditions that in their judgment may constitute violations of the Food Drug and
                                  26   Cosmetic (FD&C) Act and related Acts.

                                  27
                                       2
                                         Holmes specifically mentions that “the [G]overnment has indicated that it intends to elicit
                                       testimony from FDA’s Director of Chemistry and Toxicology Devices, Dr. Courtney Lias, during
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                       10
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 11 of 100




                                   1          Holmes argues that the FDA inspection evidence should be excluded for four reasons: it is

                                   2   not relevant; it is unfairly prejudicial under Rule 403; it is inadmissible character and propensity

                                   3   evidence, under Rule 404; and it is inadmissible hearsay.

                                   4                    Relevance
                                   5          The Court finds that evidence arising out of the FDA inspection of the Theranos lab in

                                   6   California is relevant as to Holmes’s state of mind, intent, and knowledge regarding the alleged

                                   7   misrepresentations about the accuracy and reliability of Theranos’ blood tests. The FDA

                                   8   inspection evidence would have a tendency to show knowledge of issues with the nanotainer and

                                   9   failings in Theranos’ technology. This, in turn, could support the Government’s theory of the

                                  10   case: that Holmes made representations that Theranos could provide accurate, fast, reliable, and

                                  11   cheap blood tests and test results despite knowing that their technology was not capable of doing

                                  12   so.
Northern District of California
 United States District Court




                                  13          Holmes asserts several reasons why the FDA inspection evidence is irrelevant. Holmes

                                  14   573 Mot. at 5–6. For example, Holmes asserts that the last equity round closed before the

                                  15   inspection took place, and therefore, the FDA inspection evidence could not have informed her

                                  16   knowledge, state of mind, or motive at the time of the alleged misstatements to investors. Holmes

                                  17   further argues that the FDA inspection evidence does not prove FDA approvals or clearances for

                                  18   any Theranos product were, in fact, required. Holmes also suggests that the FDA inspection

                                  19   pertained primarily to nanotainers, whereas the FDA-related allegation in the indictment refers to

                                  20   Theranos’ proprietary analyzer and tests. More generally, Holmes states that the FDA inspection

                                  21   is too limited in scope because, for example, “[t]he FDA inspectors made no findings regarding

                                  22   the performance of Theranos’ laboratory or the accuracy and reliability of Theranos’ blood tests.”

                                  23   Holmes’s Reply Br. in Supp. of Holmes 573 Mot. (“Holmes 573 Reply”), Dkt. No. 716, at 3. In

                                  24   the end, however, the Federal Rules of Evidence set a low bar for relevance. See Fed. R. Evid.

                                  25   401 (defining “relevant evidence” as “evidence having any tendency to make the existence of any

                                  26
                                  27
                                       the case in chief.” Holmes 573 Mot. at 4.
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         11
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 12 of 100




                                   1   fact that is of consequence to the determination of the action more probable or less probable than it

                                   2   would be without the evidence”). “[T]he requirements of Federal Rule of Evidence 401 are not

                                   3   especially stringent.” Rios v. Tilton, No. 2:07-cv-0790 KJN P, 2016 WL 29567, at *6 (E.D. Cal.

                                   4   Jan. 4, 2016) (citing Slaughter-Payne v. Shinseki, 522 F. A’ppx 409, 410 (9th Cir. 2013) (noting

                                   5   the “low bar for relevancy under Federal Rule of Evidence 401.”)); see also United States v.

                                   6   Miranda-Uriarte, 649 F.2d 1345, 1353 (9th Cir. 1981) (same); Sandoval v. Cty. of San Diego, 985

                                   7   F.3d 657, 666 (9th Cir. 2021) (same).

                                   8                    Unfair prejudice
                                   9          Holmes argues that admitting the FDA inspection evidence would be unfairly prejudicial.

                                  10   According to Holmes, admitting such evidence presents a risk that the jury would perceive the

                                  11   FDA’s unannounced inspections of Theranos and the technical and purportedly authoritative

                                  12   forms and communications arising out of those inspections as indicative of guilt. Holmes cites as
Northern District of California
 United States District Court




                                  13   analogs Curtis v. M&S Petroleum, Inc., 174 F.3d 661, 673 (5th Cir. 1999) (holding that

                                  14   Mississippi Department of Environmental Quality evidence was properly excluded, in part,

                                  15   because “[that agency’s] evidence of likely violations of environmental regulations would have

                                  16   been unduly prejudicial due to its apparent official nature”), and Smith v. I-Flow Corp., No. 09 C

                                  17   3908, 2011 WL 12627557, at *2 (N.D. Ill. June 15, 2011) (holding that an FDA warning letter was

                                  18   to be excluded as unfairly prejudicial). Holmes 573 Mot. at 7. These cases are unhelpful. In

                                  19   Curtis, the primary basis for evidence exclusion was that the evidence was cumulative, and Smith

                                  20   lacks a meaningful analysis.

                                  21          Having weighed the risk of unfair prejudice against the probative value of the evidence, the

                                  22   Court finds that the evidence is more probative than prejudicial. The nature and scope of

                                  23   inspections can be explored through witness testimony to provide information and context of the

                                  24   process.

                                  25                    Inadmissible character and propensity evidence
                                  26          Holmes next argues that the FDA inspection evidence should be excluded per Rule 404.

                                  27   Holmes is concerned that the Government will proffer evidence of purported pushback by

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        12
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 13 of 100




                                   1   Theranos personnel on FDA’s tactics and theories during the inspection as improper propensity

                                   2   evidence against Holmes.

                                   3          The Court finds that the FDA inspection evidence is not propensity evidence, but rather

                                   4   evidence that is probative of Holmes’s state of mind, intent, and knowledge. Specifically, the

                                   5   evidence has a tendency to show Holmes’ state of mind regarding Theranos’ interactions with the

                                   6   regulatory agencies, the extent to which Holmes knew or should have known that Theranos was

                                   7   failing to meet certain federal regulations, and whether Holmes intended to mislead investors

                                   8   regarding the accuracy and reliability of Theranos’ technology. The Court declines to exclude the

                                   9   evidence on Rule 404 grounds at this time.

                                  10                    Inadmissible hearsay
                                  11          Holmes also argues that the FDA inspection evidence is inadmissible hearsay.

                                  12   Specifically, Holmes relies on Rule 803(8)(A)(iii), which provides that public records that contain
Northern District of California
 United States District Court




                                  13   factual findings from legally authorized investigations are admissible only “in a civil case or

                                  14   against the government in a criminal case.” Fed. R. Evid. 808(8)(A)(iii)). Citing United States v.

                                  15   Orellana-Blanco, 294 F.3d 1143, 1149 (9th Cir. 2002), Holmes argues that because the FDA

                                  16   inspection evidence constitutes public records prepared by a government agency and because the

                                  17   evidence is not being used in a civil case or against the government in a criminal case, the

                                  18   evidence is inadmissible. Holmes 573 Mot. at 8.

                                  19          In opposition, the Government looks to Rule 803(8)(A)(ii), which states that the rule

                                  20   against hearsay does not exclude “[a] record or statement of a public official . . . [setting out] a

                                  21   matter observed while under a legal duty to report, but not including, in a criminal case, a matter

                                  22   observed by law-enforcement personnel.” Fed. R. Evid. 803(8)(A)(ii).

                                  23          The Court finds the FDA inspection was a “matter observed while under a legal duty to

                                  24   report.” Fed. R. Evid. 803(8)(A)(ii); see, e.g., United States v. Fryberg, 854 F.3d 1126, 1131 (9th

                                  25   Cir. 2017) (holding that “[t]he pertinent question [as to what is a ‘matter observed while under a

                                  26   legal duty to report’] is whether the creation and maintenance of the record at issue is appropriate

                                  27   to the function of the relevant government office, given the nature of the responsibilities assigned

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          13
                                           Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 14 of 100




                                   1   to that office” (internal citations omitted)). The FDA’s inspection report consists largely of

                                   2   observations and, in that sense, is comparable to reports prepared by non-law enforcement civil

                                   3   government employees such as city building inspectors, medical examiners, and prison case

                                   4   managers. See, e.g., United States v. Hansen, 583 F.2d 325, 333 (7th Cir. 1978) (building

                                   5   inspectors enforcing building code did not qualify as law enforcement personnel under Rule

                                   6   803(8)(A)(ii)); United States v. Rosa, 11 F.3d 315 (2d Cir. 1993) (medical examiners required to

                                   7   investigate unnatural deaths and to refer situations indicating criminality to a district attorney did

                                   8   not qualify as law enforcement personnel under Rule 803(8)(A)(ii)); Manocchio v. Moran, 919

                                   9   F.2d 770, 777 (1st Cir. 1990) (medical examiner’s autopsy report should not be excluded under

                                  10   Rule 803(8)(A)(ii)); United States v. Edelmann, 458 F.3d 791, 813–14 (8th Cir. 2006) (report

                                  11   made by an inmate systems manager should not be excluded under Rule 803(8)(A)(ii) because the

                                  12   manager was not law enforcement personnel and the report was produced in the normal course of
Northern District of California
 United States District Court




                                  13   duties). There are portions of the report that go beyond mere observations and include some level

                                  14   of analysis by FDA inspectors; however, those portions comprise only a minor portion of the

                                  15   report. As noted below, the Court is open to continued discussions on this issue should Holmes

                                  16   wish to raise arguments to certain specific pieces of evidence within the FDA inspection evidence

                                  17   that involve such a high degree of observer analysis that they might not be admissible under Rule

                                  18   803(8)(A)(ii).3

                                  19           Holmes argues that even if Rule 803(8)(A)(ii) applies, the FDA inspectors were acting as

                                  20   law enforcement personnel because the inspection was unannounced, the FDA has the power to

                                  21   levy criminal sanctions (including terms of imprisonment), and “[t]he [G]overnment’s case agent

                                  22   for this prosecution is a Special Agent in FDA’s Office of Criminal Investigations.” Holmes 716

                                  23   Reply at 5–9. Holmes argues that the FDA is similar to the IRS, which the Second Circuit has

                                  24   described as having a “law enforcement function. Id. at 7 (citing United States v. Ruffin, 575 F.2d

                                  25

                                  26
                                       3
                                         Holmes’s reply brief inaccurately represents the holding of United States v. Cerda-Ramirez, 730
                                       F. App’x 449, 452 (9th Cir. 2018). Holmes 573 Reply at 8. The Ninth Circuit’s decision hinged
                                  27   at least partly on the presence of an adversarial setting, and not solely on whether an independent
                                       judgment was made by the observer. See Cerda-Ramirez, 730 F. App’x at 452.
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          14
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 15 of 100




                                   1   346, 356 (2d Cir. 1978)).

                                   2          For the purposes of determining whether the FDA inspectors acted as law enforcement

                                   3   personnel, the Court applies the case law of the Ninth Circuit and finds that the FDA inspectors

                                   4   did not act as law enforcement personnel. Under the Ninth Circuit’s “narrow understanding of the

                                   5   law enforcement exception [of Rule 803(8)(A)(ii)],” “the purpose of the law enforcement

                                   6   exception is to exclude observations made by officials at the scene of the crime or apprehension,

                                   7   because observations made in an adversarial setting are less reliable than observations made by

                                   8   public officials in other situations.” Fryberg, 854 F.3d at 1132 (citations omitted). The FDA

                                   9   inspectors, in carrying out their duties of inspecting the Theranos lab, do not appear to have been

                                  10   making observations in an adversarial setting that raises doubts about the reliability of the

                                  11   observations. Compare id. with Ruffin, 575 F.2d 346 (Second Circuit applied a relatively

                                  12   expansive reading of the ‘law-enforcement personnel’ exclusion of Rule 803(8)(A)(ii)).
Northern District of California
 United States District Court




                                  13          The FDA’s inspection appears to have been at least to some extent unannounced, and in

                                  14   oral arguments before the court, the two parties presented differing accounts as to whether the

                                  15   inspection is more properly characterized as having been part of a for-cause reactionary process

                                  16   prompted by complaints and/or concerns regarding Theranos, or as part of a routine process that

                                  17   Theranos itself requested. May 5, 2021 Hr’g Tr., Dkt. 793, at 104:22-23 (“Mr. Looby (for

                                  18   Holmes): This [was] a for[-]cause inspection that was initiated by the FDA and [was] actually

                                  19   more or less unannounced.”); but see id. at 118:14–120:3 (“The Court: So I asked Mr. Looby

                                  20   (Counsel for Holmes) a question about the timing of this inspection and whether it was a request

                                  21   or . . . voluntary. And I think he said no, it was not [voluntary]. . . . Didn’t Theranos . . . seek

                                  22   approval from the FDA in 2013 and then were was – between 2013 and 2015 obviously there

                                  23   were, I presume, some conversations [between Theranos and the FDA], and then ultimately

                                  24   unannounced the FDA shows up to do the inspection for that request I suppose for certification. Is

                                  25   that the event here? Mr. Leach (for the Government): That is largely correct, Your Honor. . . .

                                  26   There was a dialogue between Theranos and the FDA throughout 2013 and 2014. The 2015

                                  27   inspection is unannounced. The Court: Was [the FDA’s] showing up [at the Theranos laboratory],

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          15
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 16 of 100




                                   1   it sounds like it was connected to [Theranos’] original request to approve [Theranos’] device. Mr.

                                   2   Leach: I guess that’s a fair inference, Your Honor.”)). Nevertheless, the inspectors who carried

                                   3   out the inspection were not part of a criminal division of the FDA. While the atmosphere at the

                                   4   California laboratory during the inspections may have been contentious, and while there may have

                                   5   been the latent threat of sanctions given the regulatory nature of the FDA, the collection of the

                                   6   FDA inspection evidence is more like the routine, ministerial work of the recording of the license

                                   7   plates in United States v. Orozco, 590 F.2d 789 (9th Cir. 1979), and less like the adversarial work

                                   8   of the administering of the immigration interview in Orellana-Blanco, or the filing of the criminal

                                   9   complaint and affidavit in Cerda-Ramirez.

                                  10          Lastly, Holmes’s Rule 803(8)(B) argument is undeveloped and unsupported. For the

                                  11   reasons given above, the Court declines to exclude the FDA inspection evidence on hearsay

                                  12   grounds at this time.
Northern District of California
 United States District Court




                                  13          The motion to exclude FDA inspection evidence is DEFERRED. The Court

                                  14   acknowledges the possibility for further side bar discussions on this matter, should Holmes wish to

                                  15   specify certain exhibits within this collection of evidence and make new arguments as to why

                                  16   these particular exhibits should still be excluded.

                                  17            C.    Holmes’s MIL to Exclude Evidence of CMS Survey Findings and Sanctions
                                                      (Dkt. No. 574)
                                  18
                                  19          CMS “audits laboratories to identify non-compliance with [the mandates of the Clinical

                                  20   Laboratory Improvement Amendments of 1988 (‘CLIA’)].” Holmes’s Mot. in Limine to Exclude

                                  21   Evidence of CMS Survey Finding and Sanctions Pursuant to Rules 401-403 and 801-803

                                  22   (“Holmes 574 Mot.”), Dkt. No. 574, at 1–2. Because Theranos “perform[ed] clinical diagnostic

                                  23   testing on human samples,” its laboratories were required to be in compliance with CLIA. Id. at 1.

                                  24   In September and November 2015, CMS conducted a recertification and complaint survey of

                                  25   Theranos’ Newark lab. Id. at 2. According to Holmes, usually a state agency carries out

                                  26   recertification surveys, but in this case CMS decided to carry out the survey “due to the media

                                  27   attention Theranos was receiving at the time and due to complaints CMS had received about

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         16
                                           Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 17 of 100




                                   1   Theranos.”4 Id. at 2 (citing Saharia Decl., Ex. 34, Dkt. No. 584 at 2-3). Holmes suggests “[i]t was

                                   2   unusual for CMS both to conduct the survey and to send ‘central office personnel . . . out on the

                                   3   Theranos survey.” Id. (citing Saharia Decl., Ex. 34, Dkt. No. at 3).

                                   4           On January 25, 2016, CMS issued a letter and a Form 2567 summarizing the findings of

                                   5   the survey. Id. These documents stated that “Theranos’ California laboratory was in violation of

                                   6   various CLIA requirements,” and “warned Theranos that if it did not remediate these deficiencies

                                   7   within 10 days, CMS would impose sanctions.” Id. at 3. Subsequently, Theranos and CMS

                                   8   engaged in communications that included Theranos’ “outlin[ing] steps it was taking to resolve

                                   9   CMS’s claimed deficiencies.” Id. (citing Saharia Decl., Ex. 27, Dkt. No. 583-1 at 2). CMS did

                                  10   impose sanctions on Theranos’ Newark laboratory. Id. (citing Saharia Decl., Ex. 30, Dkt. No.

                                  11   583-4). Shortly thereafter, CMS surveyed Theranos’ Arizona laboratory, cited it for various CLIA

                                  12   violations and imposed sanctions. Id. (citing Saharia Decl., Exs. 31-33, Dkt. No. 584-1, 584-2).
Northern District of California
 United States District Court




                                  13   Theranos appealed both sets of sanctions, but Theranos and CMS made settlements before the

                                  14   adjudication of these appeals.5 Id.

                                  15           Holmes moves to exclude “evidence relating to the findings of surveys of Theranos’

                                  16   clinical laboratories conducted by [CMS] in 2015 and 2016, including survey findings and

                                  17   sanctions imposed by CMS.” Holmes 574 Mot. at 1. Holmes argues that the evidence of CMS

                                  18   survey findings and sanctions should be excluded as irrelevant, unfairly prejudicial, and

                                  19   inadmissible hearsay.

                                  20           Relatedly, the Government moves to include “CMS’[s] January 26, 2016 Form CMS-2567,

                                  21   Statement of Deficiencies.” United States’ Mots. In Limine (“Gov’t Mot.”) at 8-10, Dkt. No. 588.

                                  22   The Government argues that the January 26, 2016 Form CMS-2567, Statement of Deficiencies—

                                  23   which appears to fall within the set of CMS evidence Holmes moves to exclude—should be

                                  24

                                  25   4
                                         Holmes suggests that, in making this decision, CMS may have been influenced by Wall Street
                                  26   Reporter John Carreyrou. Dkt. No. 574 at 2, n. 1 (citing Saharia Decl., Ex. 34 at 3).
                                       5
                                         Evidence regarding these settlements and “the remedial measures that Theranos . . . adopted in
                                  27   response to the CMS survey findings” are the subjects of a separate motion(s) to exclude evidence.
                                       Dkt. No. 574 at 3, n. 1.
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        17
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 18 of 100




                                   1   admitted for reasons that overlap with the arguments provided in the Government’s opposition to

                                   2   Holmes’s motion to exclude the CMS survey. See Gov’t Opp’n to Holmes 675 Mot. (“Gov’t 574

                                   3   Opp’n”), Dkt. No. 675. Accordingly, the Court will focus on the arguments both parties made

                                   4   regarding Holmes’s motion to exclude the evidence of CMS survey findings and sanctions. The

                                   5   outcome of this analysis is also determinative of the arguments pertaining to the Government’s

                                   6   MIL No. 6 to admit the January 2016 CMS form.

                                   7                    Relevance
                                   8          The Court finds that the evidence of CMS survey findings and sanctions meets Rule 401’s

                                   9   low bar for relevancy. Although the purpose of the CMS survey was not to assess either the

                                  10   accuracy or reliability of Theranos technology, the CMS survey findings and sanctions indicate

                                  11   violations of federal regulations that themselves are meant to ensure, among other things, the

                                  12   accuracy and reliability of certain kinds of clinical laboratory work. The evidence therefore
Northern District of California
 United States District Court




                                  13   appears to be relevant to questions about Holmes’s state of mind, intent, and knowledge regarding

                                  14   the alleged misrepresentations about the accuracy and reliability of Theranos’ blood tests.

                                  15          Holmes cites PG&E, where a court found that a report by the National Transportation

                                  16   Safety Board was inadmissible in an action against a company because, even though the report

                                  17   noted regulatory violations made by the company, the report did not pertain to the allegations

                                  18   against the company. 178 F. Supp. 3d 927 (N.D. Cal. 2016). That case, however, is

                                  19   distinguishable for the reasons the Government articulates. In PG&E, the court excluded a report

                                  20   about a company’s culpability for causing an explosion because the company’s alleged obstruction

                                  21   of the investigation was at issue, not the explosion. Id. at 947–48. Whereas a report about a

                                  22   company’s role in causing an explosion may not be relevant to that company’s alleged obstruction

                                  23   of an investigation, a report indicating a company’s CLIA violations may be relevant to that

                                  24   company’s alleged misrepresentations of the accuracy and reliability of its products.

                                  25          Holmes also argues that the evidence of CMS survey findings and sanctions cannot be

                                  26   used to show her intent for alleged actions that occurred prior to the CMS surveys, because there

                                  27   is no showing that she was aware of the information in the reports. The argument misconstrues

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        18
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 19 of 100




                                   1   the Government’s point. The Government is not arguing that Holmes’s actual knowledge of the

                                   2   evidence of CMS survey findings and sanctions indicates that Holmes must have known she was

                                   3   participating in a fraudulent scheme. The Government is instead arguing that the evidence tends

                                   4   to show Holmes’s state of mind, knowledge, and intent regarding her representations to investors

                                   5   regarding the accuracy and reliability of Theranos’ technology.

                                   6                    Unfair prejudice
                                   7          Holmes argues that the evidence of CMS survey findings and sanctions is unfairly

                                   8   prejudicial, raising the same points she stated to argue relevancy, which the Court will not revisit

                                   9   here. Holmes makes the additional argument that the potential for unfair prejudice is great

                                  10   primarily because (1) the jury will put special weight on the CMS survey findings and (2) the jury

                                  11   might improperly equate CMS’s findings with the government’s allegation that Theranos

                                  12   technology was not capable of producing accurate and reliable results. Holmes is particularly
Northern District of California
 United States District Court




                                  13   concerned with the Government’s repeated references to the CMS’s finding of “immediate

                                  14   jeopardy.” Holmes cites to United States v. Wolf, 820 F.2d 1499, 1504 (9th Cir. 1987), United

                                  15   States v. White Eagle, 721 F.3d 1108, 1114 (9th Cir. 2013), United States v. Christo, 614 F.2d

                                  16   486, 492 (5th Cir. 1980), and United States v. Riddle, 103 F.3d 423, 431 (5th Cir. 1997).

                                  17          The Court does not see that the evidence in question raises the same kind of unfair

                                  18   prejudice concerns indicated in Wolf, White Eagle, and Christo. In each of these cases except

                                  19   Riddle, the courts found Rule 403 violations when parties relied on evidence of violations of civil

                                  20   regulations to prove similar criminal violations. Here, the Government is attempting to introduce

                                  21   evidence of violations of civil regulations for the purposes of showing Holmes’s state of mind,

                                  22   intent, and knowledge, not for the purpose of arguing that Holmes is guilty of committing a

                                  23   criminal violation parallel to the civil violations indicated by the CMS survey findings and

                                  24   sanctions. Riddle is inapposite because in that case the court found that the evidence in question

                                  25   was largely irrelevant to the charges brought. 103 F.3d at 431. Having weighed the risk of unfair

                                  26   prejudice against the probative value of the evidence, the Court at this time finds that the evidence

                                  27   is more probative than prejudicial.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         19
                                           Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 20 of 100




                                   1                    Inadmissible hearsay

                                   2           Holmes argues that evidence of CMS survey findings and sanctions is hearsay. Holmes’s

                                   3   arguments are effectively the same hearsay arguments made with respect to the FDA inspection

                                   4   evidence, and the Court will not address them again here.6 See supra Section III.B. Holmes relies

                                   5   on an additional case, United States v. Murgio, No. 15-cr-769(AJN), 2017 WL 365496, at *7, 9

                                   6   (S.D.N.Y. Jan. 20, 2017), in support of her hearsay objection; however, the case is distinguishable.

                                   7   In Murgio, the court found that the evidence alleged to be hearsay not only included legal

                                   8   conclusions and evaluative conclusions, but also was itself based partially on evidence not directly

                                   9   observed by the relevant public agency. See id. at *9–10 (“[T]he Government itself admits that

                                  10   the findings in the [evidence alleged to be inadmissible hearsay] are based upon (1) the [agency’s]

                                  11   own observations and records gathered during the course of [the] examinations . . . and (2) the

                                  12   [agency’s] independent evaluation of evidence gathered in the criminal investigation, which the
Northern District of California
 United States District Court




                                  13   Government supplied to the [agency].” (internal quotation marks removed)). Moreover, Murgio

                                  14   appears to follow the Second Circuit’s relatively expansive reading of the ‘law-enforcement

                                  15   personnel’ exclusion of Rule 803(8)(A)(ii), which contrasts with the Ninth Circuit’s more narrow

                                  16   reading. Compare Ruffin, 575 F.2d at 356 with Fryberg, 854 F.3d at 1132.

                                  17           For the reasons given above, the Court DENIES Holmes’s motion to exclude the evidence

                                  18   arising out of the CMS surveys in question. The Court GRANTS the Government’s motion to

                                  19   admit the January 26, 2016 Form CMS-2567, Statement of Deficiencies. The Court acknowledges

                                  20   the possibility for further side bar discussions on this matter, should parties wish to specify certain

                                  21   exhibits within this collection of evidence and make new arguments as to why these particular

                                  22   exhibits should still be excluded.

                                  23

                                  24   6
                                         Holmes raises one additional argument: that the Evidence of CMS Survey Findings and
                                  25   Sanctions itself contains out-of-court statements made by Theranos personnel that are inadmissible
                                       hearsay within hearsay. In response, the Government argues that the statements by Theranos
                                  26   employees that were included in CMS’s Form 2567 report are not inadmissible hearsay because
                                       the statements were authorized admissions and statements of an agent or employee within the
                                  27   meaning of Federal Rule of Evidence 80[1](d)(2). This argument is addressed later in the context
                                       of the Government’s MIL No. 8.
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         20
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 21 of 100



                                                D.    Holmes’s MIL to Exclude Evidence Relating to Theranos’ Interactions with
                                   1                  Government Regulatory Agencies (Dkt. No. 575)
                                   2          Holmes moves to exclude certain evidence relating to Theranos’ interactions with

                                   3   government agencies. Holmes’s Mot. in Limine to Exclude Certain Evidence Relating to

                                   4   Theranos’ Interactions with Government Regulatory Agencies Under Rules 401-404 and 801-803

                                   5   (“Holmes 575 Mot.”), Dkt. No. 575, at 1. Specifically, she seeks to exclude three categories of

                                   6   evidence involving two agencies over a period of two years: (1) an on-site inspection performed

                                   7   by the California Department of Public Health (“CDPH”) in December 2013; (2) interactions

                                   8   between Theranos representatives and the Centers for Medicare & Medicaid Studies (“CMS”) in

                                   9   September 2015; and (3) Theranos’ decision to employ a CMS-qualified laboratory director, Dr.

                                  10   Sunil Dhawan, in 2014 and 2015. Id. Holmes also refers to a fourth category of evidence that

                                  11   includes unidentified evidence of representations made by Theranos to other regulatory

                                  12   organizations. See id. at 16. The Court addresses each category in turn.
Northern District of California
 United States District Court




                                  13                 1. Evidence relating to the December 2014 CDPH inspection
                                  14          Under the Clinical Laboratory Improvement Amendments Act of 1988 (“CLIA”), 42

                                  15   U.S.C. § 263a, CMS regulates all laboratory testing performed on human samples in the United

                                  16   States. Holmes 575 Mot. at 2. CMS deputizes certain accreditation responsibilities to qualified

                                  17   state agencies—in California, the CDPH’s Laboratory Field Services section is responsible for

                                  18   accreditation and compliance of CLIA-certified laboratories. Id. As part of the accreditation and

                                  19   compliance process, CDPH generally performs biennial onsite inspections for CLIA laboratories

                                  20   in California. Id.

                                  21          In December 2013, CDPH inspected a Theranos laboratory. See id. at 5. Pursuant to this

                                  22   inspection, CDPH produced a report that identified three deficiencies, which the Government

                                  23   seeks to introduce this report as evidence probative of Holmes’s state of mind, intent, and

                                  24   knowledge regarding the status of Theranos’ laboratories and technology. Id. (citing Decl. of

                                  25   Amy Saharia in Support of Holmes’s Mots. in Limine and Daubert Mots. to Exclude Expert

                                  26   Testimony (“Saharia Decl.”), Dkt. No. 579, Ex. 2 at 12–13 (Apr. 3, 2020 Gov’t Supp. Rule 404(b)

                                  27   Notice)). The Government also seeks to introduce (1) an FBI report summarizing an interview of

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        21
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 22 of 100




                                   1   a Theranos CLIA lab employee, and (2) an email from Theranos employee Daniel Young to then-

                                   2   laboratory director Adam Rosendorff. Id. (citing Saharia Decl., Ex. 3 at 13, 65). The Government

                                   3   seeks to introduce this memorandum and email as evidence probative of Holmes’s state of mind,

                                   4   intent, and knowledge, under the theory that the memorandum and email show that Balwani and

                                   5   others “misled an inspector into believing that the Theranos CLIA laboratory was limited to a

                                   6   single area.” Id. (citing Saharia Decl., Ex. 1 at 7 (Mar. 6, 2020 Gov’t Rule 404(b) Notice)).

                                   7          Holmes argues that the CDPH inspection evidence should be excluded as irrelevant under

                                   8   Rules 401 and 402, as unfairly prejudicial under Rule 403, as improper propensity evidence under

                                   9   Rule 404, and inadmissible hearsay.

                                  10                          Relevance
                                  11          Holmes argues the evidence is irrelevant for four reasons. First, she argues the CDPH

                                  12   report does not indicate that Holmes made misrepresentations about Theranos’ ability to provide
Northern District of California
 United States District Court




                                  13   accurate and reliable results. Holmes 575 Mot. at 6. Second, Holmes contends the CDPH

                                  14   inspection findings do not tend to show that Theranos was unable to provide accurate and reliable

                                  15   results. Id. (citing Saharia Decl., Ex. 3 at 65). Third, Holmes says the Government has not

                                  16   sufficiently shown that the alleged misleading of the CDPH inspector amounted to a false

                                  17   representation, or that Holmes had sufficient knowledge or intent regarding that incident. Id. at 7–

                                  18   8. Fourth, Holmes contends that “the evidence relating to . . . Balwani’s supposed directions to

                                  19   staff [allegedly misleading the CDPH inspector] does not bear on the accuracy and reliability of

                                  20   Theranos’ test results,” suggesting that any directions regarding where to lead an inspector may

                                  21   have been made for legitimate and regulation-compliant reasons, such as avoiding the disruption

                                  22   of lab work. Id. at 8–9.

                                  23          Holmes’s arguments go to the weight of the evidence, not admissibility. The Court finds

                                  24   that the CDPH inspection evidence is relevant under Rule 401. The CDPH report appears to

                                  25   indicate violations of federal regulations that themselves are meant to ensure, among other things,

                                  26   the accuracy and reliability of certain kinds of clinical laboratory work. The fact that the CDPH

                                  27   later noted that the violations had been addressed satisfactorily does not negate the report’s

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         22
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 23 of 100




                                   1   probative value regarding Holmes’s state of mind, intent, and knowledge as to the accuracy and

                                   2   reliability of Theranos’ laboratory procedures and blood tests. The FBI memorandum and

                                   3   Young’s email also appear relevant to and probative of her knowledge, intent, notice, and absence

                                   4   of mistake regarding the status and capabilities of Theranos’ laboratories and technology.

                                   5   Holmes’s position at Theranos and her pre-inspection communications with Young connect her to

                                   6   the email.

                                   7                          Unfair prejudice
                                   8          Holmes argues that the CDPH inspection evidence is unfairly prejudicial under Rule 403

                                   9   because it may give the jurors the “misimpression that the laboratory was unsafe” or confuse the

                                  10   jurors with “industry-specific jargon.” Holmes 575 Mot. at 9–10. In particular, she says that

                                  11   without an expert witness to properly interpret and contextualize the report, the jury would

                                  12   “overestimate its probative value by equating regulatory citations with proof of fraud . . . .”
Northern District of California
 United States District Court




                                  13   Holmes Reply Br. in Supp. of Holmes’s 575 Mot. (“Holmes 575 Reply”), Dkt. No. 718, at 9–10.

                                  14   Holmes relies on United States v. Riddle, in which the Fifth Circuit held that the district court

                                  15   erred in permitting extensive evidence about a federal regulator’s appraisal of a bank’s general

                                  16   health and its failure to comply with regulations. 103 F.3d 423, 431 (5th Cir. 1997).

                                  17          The Court finds that the evidence in question does not raise the same unfair prejudice

                                  18   concerns indicated in Riddle. In that case the court found that the evidence in question was largely

                                  19   irrelevant to the charges brought. See id. As described above, the Court has determined that the

                                  20   CDPH report is relevant. While the CDPH report may contain technical information that may be

                                  21   difficult for jurors to interpret, such a challenge is unavoidable in a case involving purportedly

                                  22   innovative and advanced technology. Having weighed the risk of unfair prejudice against the

                                  23   probative value of the evidence, the Court at this time finds the CDPH inspection evidence is more

                                  24   probative than prejudicial. The parties will have the opportunity to examine and cross-examine

                                  25   witnesses to clarify and assist the jury in understanding the evidence.

                                  26                          Inadmissible character and propensity evidence
                                  27          Holmes argues that the CDPH inspection evidence should be excluded under Rule 404.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         23
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 24 of 100




                                   1   See Holmes 575 Mot. at 10. She references Rule 401 arguments, suggesting that “[t]he

                                   2   [G]overnment’s theory of relevance hinges on propensity: the notion that, because others at

                                   3   Theranos allegedly misled CDPH officials in December 2013, [Holmes] is more likely to have

                                   4   possessed the specific intent to defraud investors and patients as alleged in the indictment.” Id.

                                   5   Holmes contends that the evidence in question does not qualify as “inextricably intertwined” with

                                   6   the charged crime under the Ninth Circuit’s interpretation of the concept as articulated in United

                                   7   States v. Vizcarra-Martinez, 66 F.3d 1006 (9th Cir. 1995). Dkt. No. 718 at 5 (citing Vizcarra-

                                   8   Martinez, 66 F.3d at 1012–13). Instead, she argues more generally that the evidence in question is

                                   9   “classic other-acts evidence that should be excluded as irrelevant or unfairly prejudicial.” Id.

                                  10          Assuming without deciding that the CDPH inspection evidence does not meet the Ninth

                                  11   Circuit’s interpretation of the term “inextricably intertwined” with the charged crime, the evidence

                                  12   as described nevertheless appears probative of Holmes’s intent, state of mind, and knowledge.
Northern District of California
 United States District Court




                                  13   Specifically, the evidence has a tendency to show her state of mind regarding Theranos’

                                  14   interactions with regulatory agencies, the extent to which she knew or should have known that

                                  15   Theranos was failing to meet certain federal regulations, and whether she intended to mislead

                                  16   investors regarding the accuracy and reliability of Theranos’ technology. The Court therefore

                                  17   declines to exclude the evidence on Rule 404 grounds at this time.

                                  18                          Inadmissible hearsay
                                  19          Holmes argues that the CDPH inspection evidence is inadmissible hearsay in violation of

                                  20   Rule 803(8), as the report constitutes “factual findings from a legally authorized investigation” and

                                  21   it is not being used in a civil case or against the government in a criminal case. Holmes 575 Mot.

                                  22   at 10–11. This argument is effectively the same hearsay argument Holmes made in her motions in

                                  23   limine concerning FDA inspection evidence and evidence of CMS survey findings and sanctions.

                                  24   Holmes 573 Mot.; Holmes 574 Mot.

                                  25          The Court declines to exclude the CDPH inspection evidence on hearsay grounds at this

                                  26   time for the same reasons it denied Holmes’s MILs to exclude FDA inspection evidence and

                                  27   evidence of CMS survey findings and sanctions. See supra Section III.B, C. The evidence in

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         24
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 25 of 100




                                   1   question appears to be objective observations, rather than the factual findings of an investigation.

                                   2   The CDPH inspector, in carrying out the duties of inspecting the Theranos lab, did not make

                                   3   observations in an adversarial setting that raises doubts about the reliability of the observations.

                                   4   The inspector who carried out the inspection was not part of a criminal division of the CDPH. The

                                   5   collection of the CDPH inspection evidence appears to have been routine, ministerial, and non-

                                   6   adversarial. See Orellana-Blanco, 294 F.3d at 1150.

                                   7          Moreover, as explained in the Court’s ruling on the Government’s MIL No. 8, see infra

                                   8   Section IV.H, the Court sees insufficient reason at this time to exclude the statements of Theranos

                                   9   employees captured within or in response to the CDPH report. The statements as described satisfy

                                  10   Federal Rule of Evidence 801(d)(2).

                                  11                2. Evidence relating to Theranos’ September 2015 communications with CMS
                                  12          In September 2015, Theranos provided to CMS a document (“the CMS Letter”) stating
Northern District of California
 United States District Court




                                  13   that the company’s decision to use different devices in its CLIA laboratory “does not reflect on the

                                  14   reliability or accuracy of any platform.” Holmes 575 Mot. at 11 (citing Saharia Decl., Ex. 3 at 64).

                                  15   The Government seeks to introduce this letter as Rule 404(b) evidence indicating an “intent to

                                  16   defraud” and “consciousness that full regulatory scrutiny would expose that Theranos’

                                  17   [proprietary device] was unable to provide accurate and reliable test results.” Id. (citing Saharia

                                  18   Decl., Ex. 3 at 65); see also Gov’t Opp’n to Holmes’s 576 Mot. (“Gov’t 575 Opp’n”), Dkt. No.

                                  19   677, at 14. Holmes contends that the CMS Letter is irrelevant, unfairly prejudicial under Rule

                                  20   403, and introduced for improper propensity arguments. Holmes 575 Mot. at 11–12.

                                  21                          Relevance
                                  22          Holmes argues that the CMS Letter is irrelevant for two reasons. Holmes 575 Mot. at 11–

                                  23   12. First, she says that the Government has not connected her to the statement in the CMS Letter.

                                  24   Id. at 11–12. Second, Holmes contends that the Government has not shown that the CMS Letter

                                  25   evinces an intent to defraud or consciousness of guilt, but rather may indicate only negligence or

                                  26   some other “less culpable mental state.” Id. at 12. In response, the Government points to

                                  27   evidence that Holmes monitored and directed Theranos’ responses to the CMS survey. Gov’t 575

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         25
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 26 of 100




                                   1   Opp’n at 13–14 (citing Dkt. No. 596 at THER-2566768–769). The Government asserts that the

                                   2   CMS Letter is “an admission that Theranos was not even using its blood analyzer at the time of

                                   3   the [CMS] survey,” which tended to show that the technology was not as Holmes claimed it was

                                   4   to investors and that Theranos could not consistently produce accurate and reliable tests. Id.

                                   5          The Court finds that the CMS Letter meets Rule 401’s low bar for relevance. Holmes’s

                                   6   communications with Theranos employees and her involvement in the inspection process

                                   7   sufficiently links her to the CMS Letter, such that the CMS Letter is probative of Holmes’s state

                                   8   of mind, knowledge, intent, and lack of mistake regarding the alleged misrepresentation of the

                                   9   accuracy and reliability of Theranos’ technology. The CMS Letter also appears relevant for its

                                  10   truth—that is, it is relevant because it indicates the nature and extent of Theranos’ use of its

                                  11   analyzer, a piece of technology about which Holmes made various representations. The Court

                                  12   agrees with the Government that Miller and Brown are inapposite. For the purposes of
Northern District of California
 United States District Court




                                  13   determining the relevancy of the CMS Letter, it is not necessary for the Court to decide here

                                  14   whether the Government has sufficiently established a foundation for making a hearsay exclusion

                                  15   argument. The Court finds no reason to exclude the evidence as irrelevant at this time.

                                  16                          Unfair prejudice
                                  17          Holmes argues that the CMS Letter would be unfairly prejudicial under Rule 403 in that its

                                  18   admission would “invite[] the jury to convict based on the acts of persons other than [Holmes],”

                                  19   since the Government has not connected Holmes to the CMS Letter. See Holmes 575 Mot. at 12–

                                  20   13. Holmes also complains that “it would mislead and confuse the jury to admit this document

                                  21   into evidence without substantial context on the responsibilities of CMS, the requirements under

                                  22   the CLIA statute, implementing regulations and relevant guidance, the nature of the specific

                                  23   disclosure requests made by CMS to Theranos, and the legal justification for those requests.” Id.

                                  24          As discussed above, the Court finds that the Government has sufficiently linked Holmes to

                                  25   the CMS Letter for the purposes of introducing the CMS Letter. The CMS Letter also appears

                                  26   relevant for its truth. While the evidence may be complicated and may require contextualization,

                                  27   such challenges are inevitable for a case involving allegations of misrepresentations of purportedly

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         26
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 27 of 100




                                   1   advanced technology. Moreover, communications from Theranos to CMS regarding the use of

                                   2   Theranos’ technology, or lack thereof, appears probative as to Holmes’s knowledge of the

                                   3   accuracy and reliability of Theranos’ technology. Therefore, the Court at this time declines to

                                   4   exclude the CMS Letter. The probative value of the evidence outweighs any potential prejudicial

                                   5   effect to Holmes.

                                   6                         Inadmissible character and propensity evidence
                                   7          Holmes argues that the CMS Letter should be excluded per Federal Rule of Evidence 404

                                   8   because the Government has not shown that the CMS Letter is connected to Holmes and has not

                                   9   explained how the CMS Letter “constitute[s] a false or misleading representation under CMS

                                  10   regulations.” Holmes 575 Mot. at 13 (internal quotation marks omitted). Holmes argues that “this

                                  11   evidence does little more than show propensity, [i.e.], suggest that because [Holmes’] associates

                                  12   may have committed one ‘bad act,’ [Holmes] is likely to have committed another.” Id.
Northern District of California
 United States District Court




                                  13          For the reasons stated above, the Court finds that the Government has sufficiently

                                  14   demonstrated Holmes’s connection to the CMS Letter. To the extent that the CMS Letter

                                  15   indicates a prior bad act, the Court finds that the CMS Letter as described is probative of Holmes’s

                                  16   intent, state of mind, and knowledge. Specifically, the CMS Letter has a tendency to show

                                  17   Holmes’s state of mind regarding Theranos’ interactions with the regulatory agencies, the extent to

                                  18   which Holmes knew or should have known that Theranos’ technology had deficiencies, and

                                  19   whether Holmes intended to mislead investors regarding the accuracy and reliability of Theranos’

                                  20   technology. The evidence also appears relevant for its truth. The Government does not appear to

                                  21   argue that the CMS Letter indicates that Holmes made a misrepresentation and therefore Holmes

                                  22   has a propensity for making misrepresentations or that the CMS Letter is admissible because it

                                  23   indicates a violation of CMS regulations.

                                  24                3. Evidence relating to the hiring and retention of Dr. Dhawan
                                  25          In addition to regulating laboratory practices, CMS administers regulations concerning

                                  26   laboratory personnel, including laboratory directors. 42 C.F.R. § 493.1443. The Government

                                  27   seeks to introduce evidence concerning the employment of Dr. Sunil Dhawan, Theranos’ former

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        27
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 28 of 100




                                   1   laboratory director. Holmes 575 Mot. at 13. Holmes now seeks to exclude this evidence as

                                   2   irrelevant, unfairly prejudicial, and introduced for improper propensity arguments. Id. at 13–16.

                                   3                          Relevance
                                   4          Holmes argues that the Dhawan evidence is irrelevant under Rule 401. Holmes 575 Mot.

                                   5   at 13–15. She asserts that the Government fails to show that the employment of Dr. Dhawan

                                   6   amounted to a violation of CMS regulations, and that even if the Government had so

                                   7   demonstrated, the evidence in question would still not be relevant for what she believes are

                                   8   “inflammatory Rule 404(b) purposes.” Holmes 575 Reply at 14. She contends that the

                                   9   employment of Dr. Dhawan does not reveal anything about her control of Theranos.

                                  10          The Government responds that it intends to introduce this evidence not to show that

                                  11   Holmes violated CMS regulations, but rather for her intent and state of mind. Gov’t 575 Opp’n at

                                  12   11, 12. The Government argues that Defendants’ decisions to hire Balwani’s friend who was
Northern District of California
 United States District Court




                                  13   previously in private practice rather than a laboratory manager, give him little responsibility pay

                                  14   him handsomely, and often not require him to be present at the laboratory all indicate that

                                  15   Defendants were not serious about keeping a professional laboratory and/or had a desire to place

                                  16   someone they could control in the position. See id.

                                  17          The Court finds that the Dhawan evidence meets the low bar for relevance under Rule 401,

                                  18   because the evidence has a tendency to show Holmes’s state of mind and intent regarding alleged

                                  19   misrepresentations about Theranos’ technology. Specifically, the evidence tends to show

                                  20   Holmes’s state of mind regarding the management of Theranos’ CLIA laboratory, and whether

                                  21   Holmes intended to mislead investors regarding the accuracy and reliability of Theranos’

                                  22   technology. As the Government correctly observes, the evidence need not indicate a regulatory

                                  23   violation in order to be relevant. The Court finds Holmes is sufficiently connected to the hiring of

                                  24   Dhawan for the evidence of Dhawan’s employment to be relevant.

                                  25                          Unfair prejudice
                                  26          Holmes argues that the Dhawan evidence is unfairly prejudicial, misleading, and confusing

                                  27   under Rule 403. See Holmes 575 Mot. at 15. Holmes argues that the evidence the Government

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        28
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 29 of 100




                                   1   seeks to introduce is unfair because it “preys on lay impressions of the role a lab director should

                                   2   play, rather than what the law actually requires.” Id.

                                   3          Although the Government does not directly address Rule 403 arguments in its opposition

                                   4   brief, the Court finds the Government’s arguments on relevance and probity persuasive. See Gov’t

                                   5   575 Opp’n at 11–12. Having weighed the risk of unfair prejudice against the probative value of

                                   6   the evidence, the Court finds that the evidence is more probative than prejudicial at this time. The

                                   7   Court does not find that the Dhawan evidence is meant to, or is likely to, mislead a jury about the

                                   8   nature of a lab director’s role. In contrast, the probative value of the evidence as Holmes’s state of

                                   9   mind and intent is clear.

                                  10                          Inadmissible character and propensity evidence
                                  11          Holmes argues that the Dhawan evidence should be excluded under Rule 404 for reasons

                                  12   similar to her arguments concerning Rule 401. See Holmes 575 Mot. at 16 (referencing
Northern District of California
 United States District Court




                                  13   “foregoing reasons [given in the motion]”; citing Brown, 880 F.2d at 1016). Holmes argues that

                                  14   the Government seeks to introduce this “bad act” as evidence that Holmes failed to properly

                                  15   address problems in Theranos’ CLIA laboratory. See Holmes 575 Reply at 8–9 (citing Gov’t 575

                                  16   Opp’n at 11, 12). This argument is similar to her argument concerning the CDPH inspection

                                  17   evidence, stating that the evidence in question does not qualify as “inextricably intertwined [with

                                  18   the charged crime]” under the Ninth Circuit’s interpretation of the concept. Id. at 5 (citing

                                  19   Vizcarra-Martinez, 66 F.3d at 1012–13).

                                  20          The Dhawan evidence does not appear to indicate a prior bad act. To the extent that it

                                  21   does, and regardless of whether the evidence meets the Ninth Circuit’s interpretation of the term

                                  22   “inextricably intertwined” with the charged crime, the evidence as described appears probative of

                                  23   Holmes’s state of mind and intent. Specifically, the evidence tends to show her state of mind

                                  24   regarding the management of Theranos’ CLIA laboratory, and whether she intended to mislead

                                  25   investors regarding the accuracy and reliability of Theranos’ technology. The Government does

                                  26   not appear to argue that the Dhawan evidence is admissible because it indicates a violation of

                                  27   CMS regulations that in turn reveals a propensity for Holmes to engage in other wrongdoing. The

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         29
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 30 of 100




                                   1   Court declines to exclude the evidence on Rule 404 grounds at this time.

                                   2                 4. Evidence relating to other unidentified regulatory agencies
                                   3           Holmes asserts that the Government’s Rule 404(b) correspondence included a notice of

                                   4   intent to introduce evidence relating to “representations made to FDA, CMS, CDPH, and other

                                   5   regulatory organizations.” Holmes 575 Mot. at 16 (citing Saharia Decl., Ex. 1 at 7; Ex. 2 at 12;

                                   6   Ex. 3 at 63) (internal quotation marks omitted). Because the Government has failed to identify

                                   7   any of the unspecified “other regulatory organizations,” Holmes seeks to exclude such evidence.

                                   8   See id.; Fed. R. Evid. 404(b)(2)(A) (requiring “reasonable notice of the general nature of any . . .

                                   9   evidence that the prosecutor intends to offer at trial”).

                                  10           Neither the Government’s opposition brief nor Holmes’s reply address this issue further.

                                  11   The Court will not issue a broad exclusion at this time. If the Government seeks to introduce

                                  12   evidence not yet disclosed, it must provide notice to Holmes and the Court and include its reasons
Northern District of California
 United States District Court




                                  13   for late disclosure. The Court will revisit the issue with counsel at the appropriate time.

                                  14                 5. Summary
                                  15           For the reasons given above, the Court DENIES the motion to exclude certain evidence

                                  16   relating to Theranos’ interactions with government agencies. The Court acknowledges the

                                  17   possibility for further discussions on these matters, should the parties wish to specify certain

                                  18   exhibits under this broad category of evidence and offer new arguments as to why those particular

                                  19   exhibits should still be excluded.

                                  20            E.    Holmes’s MIL to Exclude Evidence of Remedial Measures and Settlements
                                                      (Dkt. No. 572)
                                  21
                                               Holmes requests an “order precluding the [G]overnment from introducing any evidence of
                                  22
                                       subsequent remedial measures taken by Theranos, including voiding or refunding of tests, and the
                                  23
                                       settlements with CMS and the Arizona Attorney General Office.” Holmes’s Mot. in Limine to
                                  24
                                       Exclude Evidence of Remedial Measures and Settlements Under Rules 401-403, 407, and 408
                                  25
                                       (“Holmes 572 Mot.”), Dkt. No. 572, at 10. For the reasons stated below, the motion is granted in
                                  26
                                       part.
                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          30
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 31 of 100



                                                    1. CMS findings and settlement
                                   1
                                              On January 25, 2016, CMS issued a letter to Theranos summarizing its finding of a recent
                                   2
                                       review of Theranos’ laboratory in Newark, California, pursuant to the CLIA which specifies the
                                   3
                                       legal requirements for engaging in medical testing and is broadly administered under the CMS.
                                   4
                                       Saharia Decl., Ex. 12. The letter stated that as a result of the onsite survey of the laboratory, “it
                                   5
                                       was determined that [Theranos] is not in compliance with all of the Conditions required for
                                   6
                                       certification in the CLIA program.” Id. at 2. In addition, the letter stated:
                                   7
                                                      [I]t was determined that the deficient practices of the laboratory pose
                                   8                  immediate jeopardy to patient health and safety. (Immediate jeopardy
                                                      is defined by the CLIA regulations as a situation in which immediate
                                   9                  corrective action is necessary because the laboratory’s non-
                                                      compliance with one or more Condition-level requirements has
                                  10                  already caused, is causing, or is likely to cause, at any time, serious
                                                      injury or harm, or death, to individuals served by the laboratory or to
                                  11                  the health and safety of the general public.)
                                  12   Id. The letter listed five CMS findings Theranos was instructed to correct. Id. at 1–2. Three of
Northern District of California
 United States District Court




                                  13   the condition-level requirements concerned issues with Theranos laboratory personnel. Id. at 1.

                                  14   The other two condition-level requirements concerned Theranos’ compliance with CLIA

                                  15   regulations governing laboratory issues. Id.

                                  16          The letter included a 121-page “Form CMS-2567” with a list of numerous deficiencies.

                                  17   The Government highlights five of the listed deficiencies:

                                  18                  (1) Theranos ran patient tests after failing QC (ECF No. 581-1 at 43-
                                                      46); (2) QC results for multiple assays, for weeks on end, were at least
                                  19                  two standard deviations from the mean (id. at 45-46); (3) QC results
                                                      for multiple assays had coefficients of variation as high as 63.8% (id.
                                  20                  at 55-56); (4) the overall percentage of QC samples on all tests on all
                                                      devices was at or in excess of 20% (id. at 57-58); and (5) accuracy,
                                  21                  precision, reportable range, and allowable bias for multiple assays did
                                                      not meet even Theranos’s criteria (id. at 80-81).
                                  22
                                       Gov’t Opp’n to Holmes’s 572 Mot. (Gov’t 572 Opp’n”), Dkt. No. 673, at 3.
                                  23
                                              CMS did not include any findings regarding the accuracy or reliability of Theranos’ blood
                                  24
                                       tests. CMS warned Theranos that if it did not provide “a credible allegation of compliance and
                                  25
                                       acceptable evidence of correction documenting that the immediate jeopardy has been removed and
                                  26
                                       that action has been taken to correct all of the Condition-level deficiencies” within 10 days, CMS
                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          31
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 32 of 100




                                   1   would impose sanctions. Saharia Decl., Ex. 12 at ECF p. 3.

                                   2             In a letter to CMS dated April 1, 2016, Theranos Laboratory Director Dr. Kingshuk Das

                                   3   stated:

                                   4                    The laboratory has undertaken aggressive corrective actions. For
                                                        example, out of an extreme abundance of caution and based on its
                                   5                    dissatisfaction with prior [quality assurance] oversight the laboratory
                                                        . . . voided all results reported for the assays run on the Theranos
                                   6                    Proprietary System 3.5 (TPS) in 2014 and 2015 and all reported
                                                        PT/INR tests run on the Siemens Advia BCS XP instrument [from]
                                   7                    October 2014 through September of 2015.
                                   8   Saharia Decl., Ex. 27, Dkt. No. 583-1 at ECF p. 3. Elsewhere in the letter, Dr. Das stated:

                                   9                    The laboratory has conducted a thorough re-review of QC data for
                                                        each assay run on the TPS 3.5 from January 1, 2014 until the TPS 3.5
                                  10                    was fully retired in early-August 2015. As explained further in the
                                                        attached patient assessment analysis, the laboratory is not satisfied
                                  11                    with its old quality assessment’s program’s ability to effectively flag
                                                        and promptly address QC imprecision, QC failures, and QC trends
                                  12                    with the TPS 3.5. . . . Based upon its re-review of QC data for the TPS
Northern District of California
 United States District Court




                                                        3.5, the laboratory has determined that its prior QA program failed to
                                  13                    satisfactorily address these types of QC issues for assays run on the
                                                        TPS 3.5 in 2014 and 2015. As corrective action, the laboratory has,
                                  14                    out of an extreme abundance of caution, voided results reported for
                                                        assays run on the TPS 3.5 in 2014 and 2015.”
                                  15

                                  16   Id. at ECF pp. 14–15.

                                  17             Despite Theranos’ corrective actions, CMS imposed sanctions. Theranos appealed the

                                  18   sanctions, and on April 14, 2017, CMS entered a civil settlement (“the CMS Settlement”) with

                                  19   Theranos, Dr. Sunil Dhawan, and Balwani. The preamble to the CMS Settlement recited, among

                                  20   other things, that Dr. Dhawan directed the Newark Laboratory during the relevant period; that

                                  21   Balwani owned the Newark Lab; that Theranos had decided to close the Newark Laboratory; that

                                  22   “Theranos, Dhawan, and Balwani, in order to avoid the costs and burden of litigation, and without

                                  23   admitting or contesting the underlying actions, desire to settle this matter and acknowledge that

                                  24   the imposition of sanctions against Theranos, Dhawan, and Balwani is solely as described in the

                                  25   Agreement.” Saharia Decl., Ex. 29, Dkt. No. 583-3 at ECF pp. 2–3. The CMS Settlement: (i)

                                  26   resolved all outstanding legal and regulatory proceedings between CMS and Theranos; (ii)

                                  27   reduced Theranos’ total civil monetary penalty to $30,000; (iii) prevented Theranos from owning

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          32
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 33 of 100




                                   1   or operating a clinical lab for two years; (iv) withdrew CMS’s revocation of Theranos’ CLIA

                                   2   operating certificates; and (v) withdrew Theranos’ appeal of CMS’s sanctions. Id. Holmes was

                                   3   not a party to the CMS Settlement.

                                   4                 2. Arizona Attorney General’s Office settlement
                                   5           After the CMS Settlement, the Arizona Attorney General’s Office (“AGO”) brought a

                                   6   consumer fraud action against Theranos that also resolved through a settlement. The Arizona

                                   7   AGO alleged that:

                                   8                   1) Between 2013 and 2016, Defendant sold approximately
                                                          1,545,339 blood tests to approximately 175,940 Arizona
                                   9                      consumers, which yielded 7,862,146 test results.
                                  10                   2) Defendant ultimately voided or corrected approximately
                                                          834,233, or 10.6% of these test results.
                                  11
                                                       3) The sales of the blood tests were made without the informed
                                  12                      consent of the consumers because Defendant misrepresented,
Northern District of California
 United States District Court




                                                          omitted, and concealed material information regarding its testing
                                  13                      service’s methodology, accuracy, reliability, and essential
                                                          purpose.
                                  14
                                                       4) Defendant intended for its customers to rely on its
                                  15                      misrepresentations, omissions, and concealments in their
                                                          decision to purchase its testing services.
                                  16

                                  17   Saharia Decl., Ex. 28, Dkt. No. 583-2 at ECF p. 3. Theranos expressly denied the Arizona AGO’s

                                  18   allegations. Id. The settlement with the Arizona AGO included a consent decree (“the Arizona

                                  19   Settlement”) requiring that Theranos: (i) not own, operate, or direct any CLIA lab in Arizona for

                                  20   two years; and (ii) pay $4.65 million in consumer restitution. Id. at 4. Theranos reimbursed each

                                  21   Arizona customer the full amount paid for testing—regardless of whether the results were voided

                                  22   or corrected. Id. at 5.

                                  23                 3. The Government’s proffer of evidence
                                  24           The Government notified Holmes of its intent to introduce evidence of Theranos’ voiding

                                  25   of test results “to show Theranos was unable to produce accurate and reliable test results.” Saharia

                                  26   Decl., Ex. 3, Dkt. No. 580-2 at ECF p. 5. The Government’s Rule 404(b) notice specifically

                                  27   points to five Theranos customers who allegedly received voided test results. Id. at 3–6. The

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        33
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 34 of 100




                                   1   Government also asserts that “[e]vidence Theranos voided tests is an admission its prior

                                   2   statements [regarding the accuracy and reliability of Theranos technology] were false.” Id. at 69.

                                   3   The Government also intends to introduce evidence of voided tests to show “Defendants’ intent to

                                   4   defraud patients by depriving them of the information they believed they would receive when

                                   5   patronizing Theranos’[] services.” Id. at 75–76. Holmes also expects the Government to

                                   6   introduce evidence of Theranos’ decision to provide refunds to customers as part of the Arizona

                                   7   Settlement to show that Theranos’ technology was not capable of producing accurate and reliable

                                   8   test results. See Dkt. No. 267 at 2–3.

                                   9                4. Evidence of Theranos’ voiding of tests
                                  10                          Rule 407
                                  11          Under Rule 407, evidence of subsequent remedial measures is not admissible to prove

                                  12   culpable conduct by the party taking those measures or “a defect in a product or its design,” but is
Northern District of California
 United States District Court




                                  13   admissible for another purpose, such as impeachment. Fed. R. Evid. 407. The purpose of Rule

                                  14   407 is to encourage parties to improve safety conditions “without fear that subsequent measures

                                  15   will be used as evidence against them.” Gauthier v. AMF, Inc., 788 F.2d 634, 637 (9th Cir. 1986).

                                  16   “An exception to Rule 407 is recognized for evidence of remedial action mandated by superior

                                  17   governmental authority . . . because the policy goal of encouraging remediation would not

                                  18   necessarily be furthered by exclusion of such evidence.” O’Dell v. Hercules, Inc., 904 F.2d 1194,

                                  19   1204 (8th Cir. 1990); see also In re Aircrash in Bali, Indonesia, 871 F.2d 812, 817 (9th Cir. 1989)

                                  20   (“The purpose of Rule 407 is not implicated in cases involving subsequent measures in which the

                                  21   defendant did not voluntarily participate. . . . In this case, Pan Am’s management, although to be

                                  22   commended for its cooperation, nonetheless was legally obligated to cooperate with the FAA’s

                                  23   investigation.”).

                                  24          Here, Holmes relies on Rule 407 to support her argument that Theranos made a voluntary

                                  25   decision to void test results, and therefore evidence of the void test results is inadmissible to prove

                                  26   culpability—i.e., to prove the Government’s allegation that she falsely stated that Theranos’ tests

                                  27   were accurate and reliable and as an admission that their prior statements about Theranos’

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         34
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 35 of 100




                                   1   technology were false. In contrast, the Government relies on the exception to Rule 407, asserting

                                   2   that the voiding of blood tests was not voluntary. Thus, the applicability of Rule 407 turns on

                                   3   whether Theranos’ decision to void the test results was voluntary or involuntary—an issue the

                                   4   parties strongly dispute.

                                   5          There is evidence in the record to support both parties’ position. Holmes cites to a portion

                                   6   of a FDA Office of Criminal Investigation interview with CMS employee Sarah Bennett that

                                   7   states, “Theranos made the decision to void the test results; CMS didn’t tell them to do that.”

                                   8   Saharia Decl., Ex. 34, Dkt. 584-3 at ECF p. 7. Read in isolation, this statement tends to support

                                   9   Holmes’s position. When it is read in a fuller context, however, it also lends support to the

                                  10   Government’s position that CMS required Theranos to cooperate with the inspection, to take

                                  11   immediate action to fix deficiencies, to remove the immediate jeopardy Theranos was causing

                                  12   patients, and to come into condition-level compliance:
Northern District of California
 United States District Court




                                  13                  In Theranos’s written responses to CMS in which they attempted to
                                                      show they had corrected the cited deficiencies, Theranos would send
                                  14                  CMS a copy of a faxed sheet saying something was corrected along
                                                      with a corrected report, but CMS could never marry the two together;
                                  15                  so, CMS never knew if Theranos actually notified all of their affected
                                                      patients. Bennett said that over 50,000 patient test results were
                                  16                  implicated. To date, CMS doesn’t know if all of the affected patients
                                                      have been notified. Theranos made the decision to void the test
                                  17                  results; CMS didn’t tell them to do that. CMS tells the laboratory they
                                                      must fix a deficiency and the laboratory decides how they’re going to
                                  18                  fit it.
                                  19   Id. Even if Theranos had a choice in how to “fix” the deficiency, it was nonetheless required to

                                  20   address the deficiency.

                                  21          Holmes asserts separately that Theranos did not void tests in response to CMS’s January

                                  22   2016 finding of immediate jeopardy, but rather took that step voluntarily months after the 10-day

                                  23   deadline to cure. Id., Ex. 27 at 3. This argument overlooks the fact that CMS found Theranos’

                                  24   initial response to the January 2016 finding insufficient and that “the evidence did not support a

                                  25   credible allegation of compliance.” Id., Ex. 27 at 1; Saharia Decl., Ex. 34 at 6. CMS sent

                                  26   Theranos another letter in March 2016 that “tells them exactly why their response was not

                                  27   credible.” Id., Ex. 34 at 6. Theranos’ April 1, 2016 letter notifying CMS of the decision to void

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        35
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 36 of 100




                                   1   tests was sent in response to CMS’s March letter. Therefore, the timing of Theranos’ decision to

                                   2   void tests does not, without more, suggest that the decision was entirely voluntary.

                                   3           Because there is a factual dispute over the voluntariness of Theranos’ decision to void

                                   4   tests, it is premature for the Court to decide now whether evidence of the voided tests must be

                                   5   precluded under Rule 407.

                                   6                          Rule 403
                                   7           Holmes next contends that evidence of the invalidated test results is irrelevant because it

                                   8   was the product of an investigation into whether Theranos deviated from lab operating procedures

                                   9   and documentation, not from a finding that the tests were inaccurate or unreliable or that

                                  10   Theranos’ tests negatively affected a statistically significant number of customers. Moreover,

                                  11   Holmes contends that evidence of the invalidated test results will confuse the issues in the case

                                  12   and invite the jury to assume that Theranos admitted that the testing data was invalid—an
Northern District of California
 United States District Court




                                  13   assumption Holmes contends would be misleading and highly prejudicial.

                                  14           The Court agrees with the Government that Holmes’s decision to void blood tests is

                                  15   relevant. She made the decision to void tests in the context of discussions with CMS regarding

                                  16   deficiencies in lab procedures, including quality controls and quality assurance programs. These

                                  17   deficiencies were so serious that CMS found that the Theranos lab posed “immediate jeopardy to

                                  18   patient health and safety.” Id., Ex. 12 at 1. It is reasonable to infer that test results from a lab

                                  19   fraught with quality control and quality assurance issues are, at a minimum, unreliable. And it is

                                  20   reasonable to infer that Theranos’ decision to void the test results after CMS issued its findings is

                                  21   an implicit acknowledgement that the test results were unreliable.

                                  22           Holmes argues that Theranos did not specifically admit its lab produced inaccurate results.

                                  23   Nevertheless, that is a reasonable inference from Theranos’ decision to void test results. As the

                                  24   Government points out, if Holmes had confidence in the test results, or if she could ascertain the

                                  25   correct value, there would have been no need to void the test results. Indeed, the Form CMS-2567

                                  26   indicates that Theranos was able to ascertain corrected values for certain tests. See id., Ex. 12 at

                                  27   ECF p. 80 (“VitD, HCG[,] and SHBG validation reports included ‘Theranos-corrected’ results”).

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          36
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 37 of 100




                                   1          Holmes offers alternative explanations for voiding the tests, including that it was “due to

                                   2   uncertainty with how prior lab leadership operated the laboratory and in an abundance of caution.”

                                   3   Holmes 572 Mot. at 4. Holmes attempted “to show a willingness to take seriously the cited issues

                                   4   in the Report, the majority of which concerned negligent lab practices such as failure to maintain

                                   5   proper documentation—issues that the [G]overnment’s own witness stated are common among

                                   6   laboratories.” Id. Although Holmes may have alternative explanations for voiding the tests that

                                   7   are unrelated to the accuracy and reliability of the tests, the fact remains that the circumstances

                                   8   surrounding the decision to void the tests are relevant to show whether Theranos was able to

                                   9   produce reliable and accurate test results. As such, evidence of Theranos’ decision to void tests

                                  10   meets the “very low bar” of Rule 401. United States v. Rodriguez-Soler, 773 F.3d 289, 293–94

                                  11   (1st Cir. 2014) (relevancy requirement is “a very low bar” that “is not very hard to meet”).

                                  12          Holmes next cites PG&E for the proposition that evidence of remedial measures a
Northern District of California
 United States District Court




                                  13   government agency imposes on a defendant is unduly prejudicial. 178 F. Supp. 3d 927. In

                                  14   PG&E, the defendant was charged with, among other things, violating federal safety standards for

                                  15   transportation of natural gas by pipeline. The court excluded remedial measures that the

                                  16   California Public Utilities Commission (“CPUC”)—“an authoritative government agency”—

                                  17   specifically ordered, reasoning that although remedial measures aimed at charged Pipeline Safety

                                  18   Act regulations would be highly probative, there was a substantial risk that the jury might assume

                                  19   that if CPUC imposed the remedial measures, then PG&E “is deserving of punishment.” Id. at

                                  20   949. The court concluded that this risk substantially outweighed the probative value of the CPUC

                                  21   remedial measures. Id. (citing Angelo v. Bacharach Instrument Co., 555 F.2d 1164, 1176 (3rd Cir.

                                  22   1977)). Although evidence of Theranos’ decision to void test results has some potential to be

                                  23   unduly prejudicial, this case is distinguishable from PG&E in that Holmes has taken the position

                                  24   that CMS did not require Theranos to void the test results; rather, Holmes asserts that Theranos

                                  25   did so voluntarily—a position that undercuts Holmes’s claim of prejudice.

                                  26          Holmes’s most persuasive argument is that admitting evidence of Theranos’ decision to

                                  27   void tests would be unfairly prejudicial because that decision was not made until 2016 and

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         37
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 38 of 100




                                   1   therefore is not probative of her intent during 2010-2015—the years that are the subject of the

                                   2   indictment. The Court shares Holmes’s concern that the jury could convict her for failing to

                                   3   uncover laboratory issues, a negligence standard, rather than for knowingly misrepresenting false,

                                   4   material information during the charged conspiracy.

                                   5          Moreover, Holmes raises other legitimate concerns about admitting Theranos’ decision to

                                   6   void test results, including (a) confusion of the issues because Theranos’ lab practices were not

                                   7   placed at issue in the indictment, and (b) undue consumption of time because it would require

                                   8   Holmes to present extensive evidence about the decision to void the tests, including the regulatory

                                   9   backdrop for CMS’s actions.

                                  10          Accordingly, the Court defers ruling on the admissibility of Theranos’ decision to void test

                                  11   results until the Government makes a proffer of evidence that clearly ties the events in 2016 to the

                                  12   charged conduct, as well as presents a factual basis for its assertion that Theranos’ decision was
Northern District of California
 United States District Court




                                  13   involuntary for purposes of Rule 407.

                                  14                5. CMS Settlement and Arizona Settlement
                                  15          Rule 408 limits the admission of evidence of compromise offers and negotiations. It

                                  16   provides:
                                                      (a) Prohibited Uses. Evidence of the following is not admissible –
                                  17                      on behalf of any party – either to prove or disprove the validity
                                                          or amount of a disputed claim or to impeach by a prior
                                  18                      inconsistent statement or a contradiction:
                                  19                          (1) furnishing, promising, or offering – or accepting,
                                                                  promising to accept, or offering to accept – a valuable
                                  20                              consideration in compromising or attempting to
                                                                  compromise the claim; and
                                  21
                                                              (2) conduct or a statement made during compromise
                                  22                              negotiations about the claim – except when offered in a
                                                                  criminal case and when the negotiations related to a
                                  23                              claim by a public office in the exercise of its regulatory,
                                                                  investigative, or enforcement authority.
                                  24
                                                      (b) Exceptions. The court may admit this evidence for another
                                  25                      purpose, such as proving a witness’s bias or prejudice, negating
                                                          a contention of undue delay, or proving an effort to obstruct a
                                  26                      criminal investigation or prosecution.
                                  27   Fed. R. Evid. 408. “Rule 408 is designed to ensure that parties may make offers during settlement

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         38
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 39 of 100




                                   1   negotiations without fear that those same offers will be used to establish liability should settlement

                                   2   efforts fail.” Rhoades v. Avon Prods., 504 F.3d 1151, 1161 (9th Cir. 2007). If, however,

                                   3   statements made during settlement are introduced for a purpose unrelated to liability, then “the

                                   4   policy underlying Rule 408 is not injured.” Id.

                                   5          In response to Holmes’s motion, the Government represents that it does not presently

                                   6   intend to offer evidence of the CMS Settlement or the Arizona Settlement. The parties also agree

                                   7   that Rule 408(a)(2) makes an exception for statements made in negotiations related to a claim by a

                                   8   public office in the exercise of its regulatory, investigative, or enforcement authority when offered

                                   9   in a criminal case. See Holmes 572 Mot. at 6; Gov’t 572 Opp’n at 8. Thus, statements by

                                  10   Theranos and Holmes to the Arizona AGO in the course of its investigation and CMS in the

                                  11   course of its survey and subsequent proceedings are not subject to exclusion under Rule 408. At

                                  12   present, the Government has not identified any such statements that it seeks to admit.
Northern District of California
 United States District Court




                                  13          Because the Government does not oppose Holmes’s motion to exclude the two settlements,

                                  14   the Court grants her motion. Holmes’s motion for an order precluding the Government from

                                  15   introducing any evidence of subsequent remedial measures taken by Theranos, including voiding

                                  16   or refunding of tests, and the settlements with CMS and the Arizona AGO is GRANTED in part.

                                  17   The Government is precluded from introducing the CMS Settlement and the Arizona Settlement

                                  18   (including the refunds associated with the Arizona Settlement). The Court DEFERS any ruling as

                                  19   to the admissibility of statements by Theranos and Holmes to the Arizona AGO in the course of its

                                  20   investigation and CMS in the course of its survey and subsequent proceedings. As to the

                                  21   admissibility of Theranos’ decision to void the tests, the Court DEFERS ruling until the

                                  22   Government proffers evidence to show the voluntariness of Theranos’ decision and to tie the

                                  23   events in 2016 to the charged conduct.

                                  24            F.    Holmes’s MIL to Exclude Certain News Articles (Dkt. No. 578)
                                  25
                                              Holmes moves to exclude certain news articles under Federal Rules of Evidence 403 and
                                  26
                                       802. Holmes’s Mot. in Limine to Exclude Certain News Articles Under Rule 403 and 802
                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         39
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 40 of 100




                                   1   (“Holmes 578 Mot.”), Dkt. No. 578. Holmes seeks a blanket order excluding over fifty articles by

                                   2   journalists not testifying at trial. Id. at 1. The Court held a hearing on this motion on May 6,

                                   3   2021. May 6, 2021 Hr’g Tr., Dkt. No. 794. Having considered the parties’ papers, the arguments

                                   4   made at the hearing, and the relevant legal authority, the Court issues the following order.

                                   5                    Articles not specifically identified and submitted to the Court
                                   6          Holmes generally seeks a broad exclusion of “over 50 articles” written by “journalists who

                                   7   will not testify at trial” (those being “journalists other than Mr. Parloff and Dr. Topol”). Holmes

                                   8   578 Mot. at 1. Holmes only specifically identified and submitted to the Court seven of the fifty

                                   9   plus articles. “The failure to specify the evidence that a motion in limine seek[s] to exclude

                                  10   constitutes a sufficient basis upon which to deny th[e] motion.” Shenwick v. Twitter, Inc., No. 16-

                                  11   cv-05314-JST, 2021 WL 1232451, at *12 (N.D. Cal. Mar. 31, 2021) (quoting Bullard v.

                                  12   Wastequip Mfg. Co. LLC, No. 14-CV-01309-MMM (SSx), 2015 WL 13757143, at *7 (C.D. Cal.
Northern District of California
 United States District Court




                                  13   May 4, 2015) (internal quotations omitted)). It would be premature to address a motion in limine

                                  14   when the defendant has not identified any “particular objectionable statement” she seeks to

                                  15   preclude. Engman v. City of Ontario, No. EDCV 10–284 CAS (PLAx), 2011 WL 2463178, at *4

                                  16   (C.D. Cal. June 20, 2011).

                                  17          Given that Holmes largely fails to identify the evidence that would be excluded should her

                                  18   motion be granted, the Court DENIES the motion without prejudice as to all the articles not

                                  19   specifically identified and filed with the motion and its accompanying declarations and exhibits.

                                  20   The Court next addresses the specifically identified articles in turn.

                                  21                    Articles specifically identified and submitted to the Court (Saharia Decl., Ex.
                                                        48, Dkt. No. 586)
                                  22
                                                              “Blood, Simpler” (Saharia Decl., Ex. 48 at ECF pp. 32-49)
                                  23
                                              “Blood, Simpler” appeared in the December 15, 2014 issue of The New Yorker. Saharia
                                  24
                                       Decl., Ex. 48. It was published ten months prior to the article from The Wall Street Journal
                                  25
                                       (“WSJ”) which the Government says “exposed” Holmes’s alleged fraud. Gov’t Opp’n to
                                  26
                                       Holmes’s 578 Mot. (“Gov’t 578 Opp’n”), Dkt. No. 667, at 2. The Government intends to use
                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         40
                                           Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 41 of 100




                                   1   articles published prior to the WSJ article for the non-hearsay purposes of showing “the favorable

                                   2   press coverage of Theranos” in the public realm prior to the discovery of the fraud, and the

                                   3   articles’ effects on the readers. Id. Additionally, the Government claims that Holmes and/or her

                                   4   employees disseminated some articles published prior to that WSJ article to potential investors and

                                   5   the public, though there is no indication in the record that the “Blood, Simpler” article was among

                                   6   them.

                                   7           News articles themselves are generally held to be inadmissible hearsay as to their content.

                                   8   Larez v. Los Angeles, 946 F.2d 630, 642 (9th Cir. 1991). Articles that feature quotations from

                                   9   people other than their authors constitute hearsay within hearsay when the article and the

                                  10   quotations within are offered to prove the truth of the matter asserted, and therefore the articles

                                  11   and the quotations within are inadmissible unless both levels of hearsay fall under an exception to

                                  12   the rule against hearsay. See id.
Northern District of California
 United States District Court




                                  13           The Government relies on judicial notice cases to provide support for its assertion that

                                  14   articles can be used to show the favorable press coverage available in the public realm. Generally,

                                  15   when courts take judicial notice of what information is “available in the public realm,” they take

                                  16   notice of the fact that articles on the topics in question were written7, and do not take notice of the

                                  17   actual articles or their contents. In cases involving a market fraud theory,8 courts take judicial

                                  18   notice of articles and/or their contents to show what information was available to the market, as all

                                  19   information available to the public impacts the market and stock prices regardless of whether

                                  20   people actually rely and act on that information. Because the Government intends to use the

                                  21

                                  22   7
                                         Von Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 960 (9th Cir.
                                  23   2010), overruled on other grounds by Galbraith v. Cty. of Santa Clara, 307 F.3d 1119, 1125–26
                                       (9th Cir. 2002); Ochoa v. Santa Clara Cty. Office of Educ., No. 16-cv-03283-HRL, 2017 U.S.
                                  24   Dist. LEXIS 131658, at *4–5 (N.D. Cal. Aug. 17, 2017).
                                       8
                                  25     Basic Inc. v. Levinson, 485 U.S. 224, 244–47 (1988) (discussing the admission of news articles
                                       because they show what information the market was aware of, which—regardless of its truth—
                                  26   impacts the market, and adopting fraud on the market theory); Heliotrope Gen., Inc. v. Ford Motor
                                       Co., 189 F.3d 971, 981 n.18 (9th Cir. 1999) (taking judicial notice “that the market was aware of
                                  27   the information contained in news articles” and of the contents of the articles).

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          41
                                           Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 42 of 100




                                   1   article itself and show that it had an effect on the reader(s)—investors and/or consumers were

                                   2   influenced by and/or relied on that information when making decisions—the judicial notice cases

                                   3   the Government cites are not applicable here.

                                   4           However, articles offered not for the truth of the matter asserted but to show their effect on

                                   5   the reader are not hearsay and are therefore not subject to exclusion. See, e.g., United States v.

                                   6   Payne, 944 F.2d 1458, 1472 (9th Cir. 1991) (statement introduced not for the truth of the matter

                                   7   but rather to show the effect on the listener was not hearsay). Thus, the use of the article “Blood,

                                   8   Simpler” to show its effect on the reader constitutes a non-hearsay use.

                                   9           Holmes argues that admission of this particular (overall positive) article would be unfairly

                                  10   prejudicial, given the author’s “subjective opinions”9 about Holmes and quoted statements10 of

                                  11   concern and skepticism in the article. “The term ‘unfair prejudice,’ as to a criminal defendant,

                                  12   speaks to the capacity of some concededly relevant evidence to lure the factfinder into declaring
Northern District of California
 United States District Court




                                  13   guilt on a ground different from proof specific to the offense charged.” Old Chief, 519 U.S. at

                                  14   180. Evidence is unfairly prejudicial if it has “an undue tendency to suggest decision on an

                                  15   improper basis, commonly, though not necessarily, an emotional one.” Id. (citation and internal

                                  16   quotation marks omitted). Neither statements about Holmes’s appearance or mannerisms nor

                                  17   claims of concern or skepticism suggest guilt or innocence on an improper basis, and they would

                                  18   not provide the jury with grounds to make a determination that goes against offense-specific proof.

                                  19   Therefore, admission of this article would not be unfairly prejudicial.

                                  20           Holmes also argues generally that admission of any article would result in confusion of the

                                  21   issues. This particular article largely contains information about Holmes and her family’s history,

                                  22

                                  23   9
                                        Holmes says the author has “subjective opinions” about “how Ms. Holmes presents both in her
                                  24   physical presentation and how she presents when talking to rooms full of people.” May 6, 2021
                                       Hr’g Tr., Dkt. No. 794, at 99:4-8.
                                  25   10
                                          One quotation Holmes finds troubling is the statement “some observers are troubled by
                                  26   Theranos’[] secrecy.” May 6, 2021 Hr’g Tr., Dkt. No. 794, at 99:2-3. Holmes is also concerned
                                       about “quotes from Quest Diagnostics executives taking issue with several of Theranos’[] claims
                                  27   about its technology and [their] saying broadly that fingerstick blood tests aren’t reliable for
                                       clinical diagnostic tests.” Id. at 99:9-12.
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        42
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 43 of 100




                                   1   her mission in founding Theranos, and the company’s work and goals, with a few questions and

                                   2   statements of concern or skepticism. This largely biographical article will not cause confusion of

                                   3   the issues regarding Holmes’s alleged fraud.

                                   4           Because any prejudicial effect is outweighed by the article’s high probative value for the

                                   5   purpose stated—showing its effect on readers—there is no basis for this article’s exclusion under

                                   6   Rule 403. A limiting instruction will issue at the appropriate time. The Court DENIES the

                                   7   motion as to the “Blood, Simpler” article.

                                   8                           Remaining six identified articles (Saharia Decl., Ex. 48 at ECF pp. 2–
                                                               31, 50–58)
                                   9
                                               The Government stated it intends to use articles published between 2015 and 2016 “that
                                  10
                                       portray Theranos negatively” only “sparingly,” and not for the truth of the matter asserted in the
                                  11
                                       articles but for the non-hearsay purpose of providing “context” for subsequent events. Gov’t 578
                                  12
Northern District of California




                                       Opp’n at 8 (emphasis added). In particular, the Government states that the jury’s review of the
 United States District Court




                                  13
                                       WSJ article11 that “exposed Theranos’[] deception” is “necessary in order to understand Holmes’s
                                  14
                                       response to that reporting in the months that followed—a time period that saw Holmes double
                                  15
                                       down on her fraud and make additional misleading statements about recent press coverage.” Id. at
                                  16
                                       8.
                                  17
                                               However, for the articles to provide context, one would need to look past the mere
                                  18
                                       existence of the articles to the contents of the articles for their truth. If the authors of these articles
                                  19
                                       do not testify to the articles’ contents, the articles are inadmissible as hearsay, unless they fall
                                  20
                                       within an exception to the rule against hearsay.
                                  21
                                               If “the inference the plaintiff [seeks] to draw[] depend[s] on the truth of [the third party’s]
                                  22
                                       statement,” the statement is hearsay, regardless of the purpose for which the party proffering the
                                  23
                                       evidence offers it. Mahone v. Lehman, 347 F.3d 1170, 1173 (9th Cir. 2003) (quotation and
                                  24
                                       internal quotation marks omitted). But “[i]f the significance of an out-of-court statement lies in
                                  25

                                  26
                                  27
                                       11
                                         The Government calls this article an “important landmark . . . [that] shows when knowledge of
                                       the alleged fraud became public.” May 6, 2021 Hr’g Tr., Dkt. No. 794, at 110:9-11.
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                      43
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 44 of 100




                                   1   the fact that the statement was made and not in the truth of the matter asserted, then the statement

                                   2   is not hearsay.” Calmat Co. v. U.S. Dep’t of Labor, 364 F.3d 1117, 1124 (9th Cir. 2004). For the

                                   3   statement to truly be offered for a non-hearsay purpose, its significance must come solely from the

                                   4   fact the statement was made, and the truth of the statement must be entirely irrelevant.

                                   5          The inference the Government seeks to draw depends on the truth of the articles’ contents.

                                   6   The Government intends to show that, because the articles’ contents were true, Holmes “double[d]

                                   7   down” on the fraud. Thus presented, the articles’ significance lies not in the fact they were

                                   8   written, but in the truth of the matter asserted within them. These articles and their contents are

                                   9   inadmissible hearsay (and hearsay within hearsay) not subject to any exception. Therefore, the

                                  10   Court GRANTS the motion as to the remaining six articles.

                                  11          For the foregoing reasons, the Court DENIES the motion without prejudice as to the

                                  12   articles not specifically identified and filed with the motion and its accompanying declarations and
Northern District of California
 United States District Court




                                  13   exhibits. Regarding the articles specifically identified and submitted to the Court, the Court

                                  14   DENIES the motion as to the “Blood, Simpler” article (Saharia Decl., Ex. 48 at ECF pp. 32–49)

                                  15   and GRANTS the motion as to the other six articles (Id. at ECF pp. 2–31, 50–58).

                                  16           G.     Holmes’s MIL to Exclude Evidence of Settlements (Dkt. No. 571)
                                  17          Holmes moves to exclude evidence regarding civil or regulatory settlements entered into

                                  18   by Theranos, Holmes, or Balwani, including evidence regarding the negotiation of those

                                  19   settlements and any evidence pertaining to Theranos’ ongoing civil litigation.12 Holmes’s Mot. in

                                  20   Limine to Exclude Evidence of Settlements Under Rules 401-403 and 408 (“Holmes 571 Mot.”),

                                  21   Dkt. No. 571. Holmes is party to multiple lawsuits arising from Theranos’ alleged fraudulent

                                  22   schemes, some of which have settled and some of which continue to be litigated. See Partner

                                  23   Invs. v. Theranos, Inc., (defendants agreed to settle the litigation with a payment); Colman v.

                                  24   Theranos, Inc., Case No. 16-CV-6822-NC, Dkt. No. 314 (N.D. Cal. July 24, 2018) (defendants

                                  25   agreed to a stipulation leading to the dismissal of the case); see also Jan. 8, 2021 Decl. of AUSA

                                  26
                                       12
                                  27     The Court took the motion under submission on the papers after the parties did not request oral
                                       argument.
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                     44
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 45 of 100




                                   1   Robert S. Leach in Supp. of United States’ Opp’ns to Def.’s Mots. in Lim. (“Leach Opp’ns

                                   2   Decl.”), Dkt. No. 679, Ex. 2 ( settlement agreement with investor Keith Rupert Murdoch); id., Ex.

                                   3   3 at THPFM0003022508 (discussing defendants’ negotiated agreement with Safeway in which

                                   4   Safeway released its claims against Theranos in return for a payment); Walgreens Co. v. Theranos,

                                   5   Inc., No. 16-CV-1040-RGA, Dkt. No. 26 (D. Del. Aug. 25, 2017) (stipulated dismissal upon

                                   6   settlement); SEC v. Holmes, No. 18-CV-1602-EJD, Dkt. Nos. 9, 10 (N.D. Cal. Mar. 27, 2018)

                                   7   (defendants agreed to settle allegations against them by paying monetary penalties in addition to

                                   8   agreeing to reduce corporate voting rights and individual equity); In re Ariz. Theranos, Inc. Litig.,

                                   9   No. 16-CV-2138 HRH (D. Ariz.) (ongoing class action litigation against defendants).

                                  10           Holmes argues against the inclusion of settlement evidence on three grounds. First, she

                                  11   contends that Rule 408 prohibits any evidence of settlements and settlement negotiation. Even if

                                  12   Rule 408 does not apply, Holmes says such evidence of settlements is irrelevant under Rules 401
Northern District of California
 United States District Court




                                  13   and 402. Holmes notes that neither she nor Theranos ever admitted liability in those settlements,

                                  14   nor did they admit to any of the allegations in the complaints of the lawsuits. Finally, Holmes

                                  15   argues that the prejudicial nature of the settlement evidence substantially outweighs any minimal

                                  16   probative value, rendering such evidence inadmissible under Rule 403. Specifically, she contends

                                  17   that admission of settlement evidence would lead to jury confusion, improperly influence the jury

                                  18   into believing that the settlements show a consciousness of guilt, or create prolonged unnecessary

                                  19   litigation on collateral matters during the trial.

                                  20           The Government agrees that neither party should use evidence of settlements to prove the

                                  21   validity or invalidity of a disputed claim and maintains that any order should be limited to

                                  22   prohibiting the use of settlement agreements for that purpose. Nonetheless, the Government

                                  23   opposes the motion insofar as it seeks to prevent the Government from using settlement evidence

                                  24   for purposes not prohibited by Rule 408, namely using conduct or statements from past litigation

                                  25   that are outside the scope of “compromise negotiations,” using settlement evidence that arose from

                                  26   a public office exercising its enforcement authority, and for cross-examination purposes.

                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                            45
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 46 of 100




                                   1          Rule 408 governs the admissibility of evidence of conduct or statements made during

                                   2   settlement negotiations. It provides that such evidence is not admissible when offered to prove

                                   3   liability but may be admitted for other purposes. Fed. R. Evid. 408; see also Rhoades, 504 F.3d at

                                   4   1161. Other purposes for which settlement evidence is admissible and not prohibited under Rule

                                   5   408 can include “proving a witness’s bias or prejudice.” See Rhoades, 504 F.3d at 1161 (citing

                                   6   United States v. Technic Servs., Inc., 314 F.3d 1031, 1045 (9th Cir. 2002)).

                                   7          Turning to the settlement evidence that Holmes seeks to prohibit in its entirety, Rule

                                   8   408(b) is clear that there are instances in which settlement evidence is permissible, particularly

                                   9   when “proving a witness’s bias or prejudice.” Fed. R. Evid. 408(b). Assuming that such evidence

                                  10   does not run afoul of any other Federal Rule of Evidence (e.g., Rule 403), the Government is

                                  11   entitled to use such settlement evidence for purposes permissible under Rule 408(b). Gov’t Opp’n

                                  12   to Holmes’s 571 Mot. (“Gov’t 571 Opp’n”), Dkt. No. 671, at 3, Dkt. No. 671 (“Cross-examination
Northern District of California
 United States District Court




                                  13   of witnesses may make one or more of the Settlement Agreements relevant to a witness’s bias or

                                  14   credibility.”). The Government suggests that it may seek to introduce Theranos’ settlement

                                  15   agreements with Safeway and Walgreens to rebut any potential argument that Safeway or

                                  16   Walgreens believed that Theranos performed adequately under their service agreements. Id. at 4.

                                  17   It remains to be seen whether any of these scenarios will come to pass. At this stage of the

                                  18   proceedings, a broad limitation on the Government’s ability to fully cross-examine witnesses

                                  19   would be inappropriate in the absence of information on exactly how and for what purpose any

                                  20   potential settlement evidence may elicited.

                                  21          Furthermore, Rule 408 provides that does not bar “conduct or a statement made during

                                  22   compromise negotiations . . . related to a claim by a public office in the exercise of its regulatory,

                                  23   investigative, or enforcement authority.” Fed. R. Evid. 408(a)(2). The Securities and Exchange

                                  24   Commission (“SEC”) qualifies as such a public office. Thus, evidence relating to Holmes’s

                                  25   conduct or statements made during the compromise negotiations with the SEC fall squarely within

                                  26   Rule 408’s public office exception and are not inadmissible under Rule 408—although such

                                  27   evidence may still be inadmissible for other reasons, such as unfair prejudice under Rule 403.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         46
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 47 of 100




                                   1   However, a Rule 403 analysis cannot be conducted in a vacuum without knowing how and for

                                   2   what purpose the evidence is offered.

                                   3          Because Rule 408 permits certain comment on ongoing litigation when unrelated to a

                                   4   compromise offer or negotiation, the Court declines at this time to completely bar the Government

                                   5   from commenting on or presenting evidence related to Holmes’s ongoing civil litigation. The

                                   6   Government is not precluded from its use of Holmes’s compromise negotiations with the SEC as

                                   7   conduct or statements made during settlement negotiations with a public entity exercising its

                                   8   enforcement authority, as those communications do not fall under Rule 408’s prohibitions.

                                   9   Finally, the Court reserves judgment on the remainder of Holmes’s motion as it pertains to the

                                  10   Government’s desire to potentially use settlement evidence for impeachment purposes. The

                                  11   motion is DEFERRED.

                                  12           H.     Holmes’s MILs to Exclude Anecdotal Evidence of Test Results, Customer
Northern District of California
 United States District Court




                                                      Impact, Expert Testimony of Physician Witnesses, and the Laboratory
                                  13                  Information System (Dkt. Nos. 561, 562, 563)
                                  14          As evidence of the scheme to defraud doctors and patients alleged above, the Government

                                  15   anticipates presenting testimony from approximately eleven patients who received inaccurate tests

                                  16   from Theranos and nine treating physicians whose patients received inaccurate tests from

                                  17   Theranos, all during the period of the charged conspiracy.

                                  18          In separate motions in limine, Holmes seeks to preclude these witnesses from providing

                                  19   “anecdotal testimony” regarding inaccurate results or testimony regarding the ramifications of

                                  20   inaccurate results on customers. Holmes’s Mot. in Limine to Exclude Evidence of Anecdotal Test

                                  21   Results Under Rules 401-403 (“Holmes 563 Mot.”), Dkt. No. 563; Holmes’s Mot. in Limine to

                                  22   Exclude Customer Impact Evidence Under Rules 401-403 (“Holmes 562 Mot.”), Dkt. No. 562.

                                  23   Holmes further seeks to exclude the expert physician witnesses entirely. Holmes’s Mot. in Limine

                                  24   to Exclude Expert Opinion Testimony of Fact/Percipient Witnesses Under Rules 401-403 and 702

                                  25   (“Holmes 561 Mot.”), Dkt. No. 561. Relatedly, the Government’s MIL No. 10 seeks to admit

                                  26   testimony from these (and perhaps other) patient witnesses regardless of whether those patients

                                  27   paid for their test themselves. Gov’t Mot. at 20–24.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                       47
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 48 of 100




                                   1          Because these motions raise overlapping arguments as to relevance and prejudice, the

                                   2   Court addresses all four together as follows.

                                   3                    Anecdotal evidence of test results (Dkt. No. 563)
                                   4          As noted above, the Government plans to introduce testimony from both patients and

                                   5   physicians who received inaccurate test results from Theranos during the period of the charged

                                   6   conspiracy. Holmes seeks to exclude all such “anecdotal” testimony as irrelevant and unduly

                                   7   prejudicial under Rules 401-403.

                                   8                          Relevance
                                   9          Holmes argues that anecdotal patient or physician testimony about inaccurate results does

                                  10   not “tend to prove that ‘Theranos’s technology was, in fact, not capable of consistently producing

                                  11   accurate and reliable results.’” Holmes 563 Mot. at 5 (quoting TSI ¶ 16). According to Holmes,

                                  12   Theranos generated 7 to 10 million test results for patients. Both parties agree that all blood tests,
Northern District of California
 United States District Court




                                  13   regardless of laboratory, produce some amount of expected error. See generally Saharia Decl., Ex.

                                  14   6 (Expert Report of Stephen Master explaining that some “bias” or deviation from pure accuracy

                                  15   “is a normal and expected feature of laboratory tests”). Holmes argues that the Government

                                  16   “cannot show that its anecdotal examples fall outside the expected error rate for laboratories; [and]

                                  17   it cannot show that Theranos’ error rate was meaningfully different than that of other

                                  18   laboratories.” Holmes 563 Mot. at 5. Thus, Holmes concludes that evidence of individual

                                  19   inaccurate results, without more, does not tend to prove that Theranos tests were inaccurate or

                                  20   unreliable overall, and is therefore not relevant to proving that her statements were false.

                                  21          The Court does not find this argument persuasive. The Government alleges that Holmes

                                  22   committed fraud by making misrepresentations about the accuracy and reliability of Theranos’

                                  23   tests, inducing customers to pay for tests. Testimony describing patients’ inaccurate test results,

                                  24   therefore, tends to prove the fraud by showing that patients did not get what they paid for.

                                  25   Although these eleven inaccurate results may not amount to statistical proof that the Theranos
                                       tests were generally inaccurate, the Court finds that consideration to affect the weight of the
                                  26
                                       evidence, not its admissibility. Evidence of even one inaccurate result tends to show that
                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         48
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 49 of 100




                                   1   Theranos was producing inaccurate results, even if it does not fully prove the point. Holmes is

                                   2   correct to conclude that this evidence does not demonstrate that Theranos tests produced

                                   3   inaccurate results at an unacceptable rate, but that does not render the “anecdotal” testimony

                                   4   irrelevant.

                                   5           Holmes next argues that the patient testimony should be excluded because there is no
                                       evidence about what caused the erroneous results. Inaccurate results might stem from
                                   6
                                       mishandling, human error, patient-specific conditions like diet, or any number of other potential
                                   7
                                       factors. A juror “cannot draw any conclusions about causation from isolated, anecdotal examples
                                   8
                                       of incorrect or unexpected blood tests.” Id. Holmes cites to Daubert decisions in which courts
                                   9
                                       found various expert opinions unreliable because they were based on “anecdotal” evidence. For
                                  10
                                       example, she cites Vollrath Co. v. Sammi Corp., 9 F.3d 1455, 1462 (9th Cir. 1993), an antitrust
                                  11
                                       case in which the plaintiff alleged attempted monopolization of the “stainless steel steamer”
                                  12
Northern District of California




                                       market. The Vollrath court found that the expert’s opinion that stainless steel steamers could be
 United States District Court




                                  13
                                       treated as a product distinct from other steamers such that they constituted a market of their own to
                                  14
                                       be unpersuasive, in part because “[t]here was no detailed examination of market data or any
                                  15
                                       analysis of cost . . . The opinion was based on limited anecdotal evidence.” Id.
                                  16
                                               The plaintiff in Vollrath, however, was required to define and prove the relevant market
                                  17   and the parties’ market share as an element of the monopolization claim, which necessarily
                                  18   required concrete market data and analysis. The same is not true in the present case. Causation is
                                  19   not an element of wire fraud that the Government must prove. Each time a Theranos customer
                                  20   allegedly paid for an accurate and reliable blood test based on Holmes’s representations and did
                                  21   not receive such a test, that experience on its own is evidence of the fraud.
                                  22           Moreover, because expert witnesses are intended to help the jury understand the facts,
                                  23   courts act as a gatekeeper to ensure that experts’ opinion of those facts is reliable and based on

                                  24   sound scientific methodology. Holmes in this case appears to be arguing that the Court should

                                  25   similarly act as a gatekeeper to prevent the Government from presenting fact evidence and

                                  26   argument that is not based on sound scientific methodology. That is not the Court’s role. The

                                  27   Court, therefore, finds the Daubert-related cases Holmes cites distinguishable.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         49
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 50 of 100




                                   1                           Prejudice

                                   2           Holmes further asserts that “[e]ven if these anecdotes had some minimal probative value,

                                   3   the Rule 403 considerations would substantially outweigh that probative value.” Holmes 563 Mot.

                                   4   at 5. Rule 403 allows the Court to exclude relevant evidence if its probative value is “substantially

                                   5   outweighed by the danger of unfair prejudice, confusion of the issues, or misleading the jury.”

                                   6   Fed. R. Evid. 403.

                                   7           Holmes argues that the patient testimony could confuse and mislead the jury about what is

                                   8   at issue in this case. “The jury will be tempted to infer from this evidence that Theranos was

                                   9   incapable of generating accurate and reliable test results—even though one cannot reliably draw

                                  10   that inference from this evidence.” Holmes 563 Mot. at 6. Testimony about eleven inaccuracies

                                  11   (out of millions of tests) may have relatively low probative value towards proving that the tests

                                  12   were inaccurate overall, but for the same reason, they are unlikely to create unfair prejudice.
Northern District of California
 United States District Court




                                  13           Finally, Holmes objects that patient and physician testimony about receiving inaccurate

                                  14   test results are likely to be emotional and therefore highly prejudicial. For example, one proposed

                                  15   patient witness would potentially testify about receiving test results indicating that she had

                                  16   miscarried, when in fact, she later found out her pregnancy was still viable. As discussed further

                                  17   with respect to Holmes’s motion to exclude evidence of customer impact below, the Court agrees

                                  18   with Holmes that such testimony would be unfairly prejudicial and of limited probative value.

                                  19   Evidence is unfairly prejudicial when it has “an undue tendency to suggest decision on an

                                  20   improper basis, commonly, though not necessarily, an emotional one.” See PG&E, 178 F. Supp.

                                  21   3d at 941 (citing Old Chief, 519 U.S. at 180). While the fact of inaccurate test results in itself is

                                  22   relevant to proving that Theranos tests were unreliable, the collateral consequences of receiving an

                                  23   inaccurate test result are not.

                                  24           The Court finds that anecdotal evidence of test results is relevant and admissible.

                                  25   Accordingly, the Court DENIES the Motion. Patients, physicians, and other witnesses who may

                                  26   testify about receiving test results will not be permitted to testify about any physical, financial, or

                                  27   emotional harm they may have experienced beyond simply paying for the test.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          50
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 51 of 100




                                   1                     Evidence of customer impact (Dkt. No. 562)

                                   2           Holmes brings this separate motion seeking to exclude evidence of collateral emotional

                                   3   effects suffered by Theranos customers who believe that they received erroneous results as well as

                                   4   hypothetical harms that can result from medical decisions based on erroneous results. Holmes

                                   5   notes that because this is a wire fraud case, the only harm that is relevant to the case is the

                                   6   financial harm allegedly caused by paying for an unreliable test.

                                   7           As an initial matter, the Government recognizes, as it must, that Rule 403 would

                                   8   undoubtedly “step in” at some point to prevent certain evidence of such collateral consequence.

                                   9   See May 5, 2021 Hr’g Tr., Dkt. No 793, at 150:25–151:4. The Government nevertheless argues

                                  10   that this type of testimony must be allowed for three reasons: (1) customers experienced harm in

                                  11   the form of not only pure financial loss but also by not receiving the “benefit of the bargain” that

                                  12   they expected to receive, namely the ability to make timely and important medical decisions; (2)
Northern District of California
 United States District Court




                                  13   some evidence of impact on customers is relevant to show materiality; and (3) customer impact is

                                  14   relevant to Holmes’s fraudulent intent.

                                  15           The Court generally agrees with Holmes that the limited relevance and high risk of

                                  16   prejudice likely to result from evidence about the impact of inaccurate results; however, the Court

                                  17   also agrees with the Government that the Court need not take an “all or nothing” approach. At the

                                  18   May 5, 2021 hearing, the Court engaged in a line-drawing exercise with the parties, which

                                  19   Government counsel summarized as follows:

                                  20                   Mr. Schenk: . . . If I can repeat back what the court said? I think if
                                                       a patient were to take the stand and say, to use the court’s example, I
                                  21                   received a Theranos test and I thought I had cancer, or I thought I
                                                       had a severe condition, and one thing I did in response to it was to
                                  22                   go get other tests, and after I received a second test and then
                                                       consulted with my physician, I determined, or my physician told me
                                  23                   I didn’t have cancer. I think that’s appropriate and the court could
                                                       limit it there. I agree with the Court, there is not the need then for
                                  24                   the patient to say, there was two weeks between those two tests and
                                                       here’s how I felt during those two weeks.
                                  25

                                  26   May 5, 2021 Hr’g Tr., Dkt. No. 793, at 156:3–157:22. Holmes also agreed that as to the Rule 403

                                  27   analysis, “that is potentially a fair line to draw.” Id. at 157:4-10.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          51
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 52 of 100




                                   1          Accordingly, the Court GRANTS Holmes’s motion to the extent it seeks to exclude

                                   2   emotional, graphic, or otherwise inflammatory evidence relating to the impact or potential impact

                                   3   on customers of inaccurate test results.

                                   4                    Expert testimony of physician witnesses (Dkt. No. 561)
                                   5          As noted above, the Government has disclosed as experts nine medical professionals

                                   6   whose patients received allegedly inaccurate Theranos tests results during the period of the

                                   7   charged conspiracy. Holmes seeks to exclude testimony from these doctors because the doctors

                                   8   do not meet the standards for expert witness testimony under Rule 702, and their testimony is

                                   9   irrelevant and unfairly prejudicial. She further contends that the testimony should be excluded

                                  10   because the Government failed to provide adequate disclosures regarding the proposed testimony

                                  11   under Federal Rule of Criminal Procedure16.

                                  12                          Rule 702
Northern District of California
 United States District Court




                                  13          Holmes argues that pursuant to Rule 702, (1) these witnesses are not qualified to testify

                                  14   about the accuracy and reliability of Theranos tests overall, and (2) the opinions that they are

                                  15   qualified to give—i.e., opinions about their patients’ specific test results—are irrelevant to this

                                  16   case. In its opposition brief, the Government clarified that it did not intend for the physician

                                  17   witnesses to opine about the accuracy or reliability of the tests overall, explaining that “the doctors

                                  18   on the [G]overnment’s expert list will be called primarily as fact witnesses to testify about their

                                  19   experiences reviewing certain results from Theranos in connection with patients under their care.”

                                  20   Gov’t Opp’n to Holmes’s 561 Mot. (“Gov’t 561 Opp’n”), Dkt. No. 660, at 3. The Government

                                  21   further clarified that the physicians’ testimonies will be limited to the specific results their own

                                  22   patients received from Theranos. The physicians will only act as expert witnesses to the extent

                                  23   they provide background information that the jury needs in order to understand the use and

                                  24   significance of the blood test being discussed and to explain why the doctor believed the test

                                  25   results to be inaccurate.

                                  26          At the hearing on this motion, the Government affirmed these representations; however,

                                  27   the parties diverged on whether the physicians would be permitted to conclude that an inaccurate

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          52
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 53 of 100




                                   1   test result was due to “lab error.” See May 5, 2021 Hr’g Tr., Dkt. No. 73, at 112:4–115:21.

                                   2   Because of the possible confusion involved in attributing an inaccurate result to “lab error,” the

                                   3   Court finds it unnecessary for these physicians to use that particular phrase. More broadly, as

                                   4   established at the hearing, the physicians are not permitted to testify about accuracy or reliability

                                   5   of testing overall or about any flaw in the Theranos technology. Id. at 115:17-20.

                                   6          Holmes also challenged certain physician’s ability to provide any testimony about whether

                                   7   even an individual test results was inaccurate based on the physician’s background and experience.

                                   8   The Court finds that a physician may testify about her patients’ test results and her conclusions

                                   9   about those results as a matter of fact, not opinion, even where they involve an explanation of the

                                  10   witness’s medical judgment. Holmes may challenge the physician’s credibility or judgment

                                  11   through cross-examination. The Court finds no need for a Daubert hearing to assess these

                                  12   physicians’ ability to offer what is essentially factual testimony.
Northern District of California
 United States District Court




                                  13                           Relevance
                                  14          Holmes’s relevance arguments as to the physician witnesses is substantially the same as

                                  15   her relevance arguments with respect to anecdotal evidence, discussed above. The difference is

                                  16   that these witnesses are offered as both fact and expert witnesses, meaning that not only must their

                                  17   testimony be relevant, but their opinions must also “fit the case.” Daubert v. Merrell Dow

                                  18   Pharms., Inc. (Daubert II), 43 F.3d 1311, 1321 n.17 (9th Cir. 1995); Messick v. Novartis Pharms.

                                  19   Corp., 747 F.3d 1193, 1196 (9th Cir. 2014) (expert testimony “logically advance[] a material

                                  20   aspect of the proposing party’s case”) (citation omitted).

                                  21          For the same reasons that the Court concluded that anecdotal evidence of inaccurate test

                                  22   results is relevant, the Court finds that the physician testimony sufficiently “fits” the questions that

                                  23   the jury must answer.

                                  24                           Prejudice
                                  25          Holmes argues that even if this expert testimony has some probative value, it should be

                                  26   excluded under Rule 403 because that value is outweighed by the prejudicial effect of the

                                  27   emotional charged anecdotes that these witnesses may share. Specifically, Holmes argues that the

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          53
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 54 of 100




                                   1   experts should not be permitted to hypothesize about “the potentially catastrophic medical

                                   2   consequences that could follow from inaccurate blood tests that were not flagged as inaccurate—

                                   3   even though those hypothetical consequences did not occur in this case.” Holmes 561 Mot. at 20.

                                   4          For example, the Government anticipates that Dr. Szmuc might provide testimony

                                   5   concerning the potential consequences of ectopic pregnancies, including rupturing, significant

                                   6   hemorrhaging “or the worst-case scenario of patient death.” Dr. Linnerson might similarly testify

                                   7   that in cases of ectopic pregnancy, a doctor “must poison the embryo and cause it to dissolve in

                                   8   the tube to avoid danger to the mother.” Id. at 21.

                                   9          The Court finds these excerpts to be of little value to the jury and to present a significant

                                  10   risk of unfair prejudice. Much of this potential testimony is covered by the Court’s ruling on

                                  11   customer impact evidence outlined above. For the same reasons and for the avoidance of doubt,

                                  12   the physicians will not be permitted to testify about emotional, graphic, or inflammatory harms
Northern District of California
 United States District Court




                                  13   that could hypothetically result from an inaccurate blood test. The physicians will, however, be

                                  14   permitted to provide general background on a test, including what it is used for, when it is

                                  15   prescribed, and what medical decisions may flow from the results.

                                  16                         Rule 16
                                  17          Lastly, Defendant argues that the Government has failed to provide adequate disclosures

                                  18   about the physician witnesses pursuant to Federal Rule of Criminal Procedure 16. Rule 16

                                  19   requires the government to provide a “written summary of any testimony that the government

                                  20   intends to use under Rules 702, 703, or 705 of the Federal Rules of Evidence during its case-in-

                                  21   chief at trial.” Fed. R. Crim. P. 16(a)(1)(G). The “summary provided . . . must describe the

                                  22   witness’s opinions [and] the bases and reasons for those opinions.” Id.; see also United States v.

                                  23   Cervantes, No. CR 12-792 YGR, 2015 WL 7734281, at *2 (N.D. Cal. Dec. 1, 2015) (“Rule 16

                                  24   requires that the government summarize each specific opinion to be offered along with the basis

                                  25   for it.”). This requirement “is intended to minimize surprise that often results from unexpected

                                  26   expert testimony, [to] reduce the need for continuances, and to provide the opponent with a fair

                                  27   opportunity to test the merit of the expert’s testimony through focused cross-examination.” Fed.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         54
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 55 of 100




                                   1   R. Crim. P. 16 advisory committee’s note to 1993 amendment.

                                   2          The Government served its Rule 16 summaries on March 6, 2020. Holmes asserts that for

                                   3   a number of the physicians, these disclosures do not identify the number of patients the physician

                                   4   will testify about, the patient names, or the test results on which the physician is basing the

                                   5   opinions. According to Holmes, she repeatedly requested that the government provide more

                                   6   information to no avail. In July 2020, Holmes moved to compel adequate summaries. Dkt. No.

                                   7   435. At the hearing on that motion, the Court stated that “it may be necessary to have the

                                   8   government offer additional information in regards to some of the witness’s testimony and the

                                   9   basis and reasons if that testimony is going to leave and move from treatment into other opinions

                                  10   that they wish to speak about.” July 20, 2020 Hr’g Tr., Dkt. No. 463, at 59:12-18; see also id. at

                                  11   59:26–60:3 (“I do think that the government is going to be required to produce some additional

                                  12   foundational information and background on some of this testimony.”). The Court did not rule on
Northern District of California
 United States District Court




                                  13   the motion because the Government’s decision to issue a superseding indictment would require

                                  14   revised disclosures in any event. See id. at 60:4-9.

                                  15          The Government maintains that it has provided the Defendant with all of the information

                                  16   available to it. The Government claims that there is no deficiency of information with respect to

                                  17   Drs. Zachman, Burnes, Couvaras, and Asin, though it acknowledges that “there is still information

                                  18   outstanding from several of these providers regarding the specific patients who received inaccurate

                                  19   Theranos tests.” Gov’t 561 Opp’n at 9. The Government further argues that it has made

                                  20   significant efforts to obtain the missing information but that these doctors are under extraordinary

                                  21   demands due to the pandemic. In its January 8, 2021 opposition brief, the Government noted that

                                  22   it “plans to serve Rule 17 subpoenas on the medical service providers immediately” and requested

                                  23   that the Court defer ruling on the motion until the witnesses have had time to produce the

                                  24   requested information. As of the May 6, 2021 hearing, the Government had not served Rule 17

                                  25   subpoenas, and had provided some but not all of Holmes’s requested additional information.

                                  26          The Court agrees with Holmes that the disclosures are lacking in information necessary for

                                  27   her to adequately prepare for trial. The Government has represented that it will make every effort

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         55
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 56 of 100




                                   1   to timely supplement the disclosures. May 5, 2021 Hr’g Tr., Dkt. No. 793, at 105:25–106:2 (“It is

                                   2   our plan to continue those efforts [to obtain information] and also to provide updated disclosure to

                                   3   the defense listing the new details that we have obtained from those doctors”). In light of the

                                   4   Government’s representation and the time remaining before trial, the Court finds no need to

                                   5   exclude any testimony on the basis of an inadequate disclosure at this stage.

                                   6          The Court, therefore, DENIES Holmes’s motion without prejudice, subject to renewal

                                   7   should the Government fail to provide updated disclosures in advance of trial.

                                   8                    Laboratory Information System
                                   9          Animating much of the conversation about the relevancy of anecdotal testimony in general

                                  10   is Holmes’s overarching argument that the Government lacks the necessary scientific evidence to

                                  11   prove the scientific proposition that Theranos tests were inaccurate and unreliable. According to

                                  12   Holmes, the Government lacks that information because of its failure to investigate and preserve
Northern District of California
 United States District Court




                                  13   the Laboratory Information System (“LIS”) database—a bespoke database that housed, among

                                  14   other things, all patient test results and all quality control data at Theranos. According to the

                                  15   Government, Theranos improperly destroyed that database while it was subject to a grand jury

                                  16   subpoena without providing a working copy of the database to the Government.

                                  17          The parties generally dispute the importance of the database to the Government’s case.

                                  18   Compare May 5, 2021 Hr’g Tr., Dkt. No. 793, at 47:20-21 (defense counsel stating that the

                                  19   “failure to obtain this evidence is a gaping hole in the Government’s case”), with id. at 82:15-16

                                  20   (Government counsel stating that “the LIS was not critical to the charging in this case nor is it

                                  21   critical to the proof at trial”). The parties also dispute the factual background leading up to the

                                  22   deconstruction of the LIS database. See Gov’t 561 Opp’n at 2–8; Holmes Reply Br. in Supp. of

                                  23   Holmes’s 561 Mot. (“Holmes 561 Reply”), Dkt. No. 575 at 7–20.

                                  24          The Court need not wade into the disputed issue of fault at this stage. The questions

                                  25   presently before the Court are (1) whether to preclude evidence of the destruction of the LIS

                                  26   database offered by the Government in its case-in-chief (see Holmes’s Mot. in Limine to Exclude

                                  27   Bad Acts and False or Misleading Statements of Theranos Agents and Employees (“Holmes 565

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         56
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 57 of 100




                                   1   Mot.”), Dkt. No. 565, at 4); (2) whether to preclude Holmes from raising the Government’s failure

                                   2   to obtain the LIS evidence in her defense; and (3) if Holmes is permitted to raise such a defense,

                                   3   whether the Government will then be permitted to offer evidence of Theranos’ destruction of the

                                   4   database in response. The Court address each in turn.

                                   5          First, the Government has argued that large-scale statistical analysis of Theranos’ test

                                   6   results is not necessary to prove the elements of wire fraud in this case. See, e.g., id. at 79:10–80:9

                                   7   (Government explaining that while the LIS database would have been a “powerful tool” to identify

                                   8   patient victims and identify which assays Theranos was running and when, “the Government has

                                   9   been able to capture that information in various other ways”); id. at 80:14–81:2 (stating that “this

                                  10   case is not about overall failure rate” nor about “determining what percentage of Theranos’ tests

                                  11   were inaccurate”). Moreover, the Government has not presented any evidence tending to show

                                  12   Holmes’s involvement in what the Government would characterize as the nefarious destruction of
Northern District of California
 United States District Court




                                  13   the LIS database. As discussed in more detail above on Holmes’s MIL regarding Rule 404(b)

                                  14   evidence, the Government must establish some connection between an alleged bad act and Holmes

                                  15   before evidence of that bad act becomes relevant. Thus, the Court finds that evidence tending to

                                  16   show Theranos’ nefarious destruction of the LIS database, without more, is not relevant under

                                  17   Rules 401 and 404(b). The Court GRANTS Holmes’s motion to exclude such evidence without

                                  18   prejudice. The Government may seek to introduce such evidence upon a foundational showing

                                  19   establishing a connection to Holmes.

                                  20          Second, the Government argues that Holmes should not be permitted to argue that the

                                  21   Government’s evidence is “anecdotal” because it failed to conduct a statistical analysis of

                                  22   Theranos test results. The Government contends that such an analysis is not necessary, would

                                  23   likely not have been possible on the LIS database, and risks misleading the jury about what the

                                  24   Government is required to prove. Holmes maintains that fundamentally, she must be permitted to

                                  25   argue that the Government has failed to meet its burden of proof in this case. The Court agrees.

                                  26   Holmes has a right to put on a defense of her choosing, including an argument that the

                                  27   Government has failed to meet its burden of proof. See, e.g., Conde v. Henry, 198 F.3d 734, 739

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         57
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 58 of 100




                                   1   (9th Cir. 2000) (“precluding [defendant’s] attorney from arguing his theory of the defense in

                                   2   closing arguments” “violated [defendant’s] right to counsel”); United States v. Solorio-Soto, 300

                                   3   F. App’x 487, 488–90 (9th Cir. 2008) (limitation on cross-examination “prevented [defendant]

                                   4   from arguing” that government’s Rule 404(b) evidence did not establish element of the offense

                                   5   and violated his right to present a complete defense).

                                   6          The Court declines to preclude Holmes from raising the lack of “statistical” or “scientific”

                                   7   evidence as a defense, from characterizing that missing evidence as critical to the Government’s

                                   8   case, or from arguing about the statistical insignificance of individual patient or physician

                                   9   testimony. Thus, to the extent the Government’s opposition brief seeks to preclude Holmes from

                                  10   offering such arguments, the Court denies that request.

                                  11          Finally, the question remains whether, if Holmes argues that the LIS database is

                                  12   unavailable because of the Government’s failure to obtain it, that argument opens the door to the
Northern District of California
 United States District Court




                                  13   Government presenting evidence of Theranos’ culpability in the destruction of the LIS. At the

                                  14   motion hearing, the Court expressed its preliminary view that an argument of this nature from the

                                  15   Holmes would likely introduce a fact issue for the jury to decide. Whether it is necessary for the

                                  16   jury to hear evidence regarding fault in the destruction of the database will depend on what

                                  17   arguments Holmes raises at trial and whether she seeks any sort of jury instruction on the issue.

                                  18   The Court will defer ruling on this question unless and until it becomes relevant at trial.

                                  19                    Summary
                                  20          In conclusion, the Court finds evidence of anecdotal testimony relevant and admissible,

                                  21   and therefore DENIES Holmes’s motion to exclude evidence of anecdotal test results.

                                  22          The Court GRANTS Holmes’s motion to exclude customer impact evidence, but will

                                  23   permit witnesses to testify in accordance with the parameters laid out above.

                                  24          The Court DENIES Holmes’s motion to exclude expert physician witnesses without

                                  25   prejudice to renewal if the Government fails to timely supplement its Rule 16 disclosures.

                                  26          Finally, the Court further GRANTS Holmes’s motion to preclude evidence of Theranos’

                                  27   involvement in the destruction of the LIS database, unless and until the Government lays a proper

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         58
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 59 of 100




                                   1   foundation at trial or Holmes puts the factual dispute in issue.

                                   2             I.   Holmes’s MIL to Exclude Bad Acts and False or Misleading Statements of
                                                      Theranos Agents and Employees (Dkt. No. 565)
                                   3
                                              Holmes moves to preclude the Government from introducing “evidence of bad acts or false
                                   4
                                       or misleading statements of Theranos agents or employees other than her alleged co-conspirators
                                   5
                                       and alleged accomplices, at least absent a sufficient advance showing from the [G]overnment
                                   6
                                       pursuant to Rule 104.” Holmes Reply Br. in Supp. of Holmes’s 565 Mot. (“Holmes 565 Reply”),
                                   7
                                       Dkt. No. 708, at 4; see also Holmes 565 Mot. Holmes contends that the evidence is irrelevant, and
                                   8
                                       even if it has some probative value, the combined prejudice, confusion, and time lost in mini-trials
                                   9
                                       resulting from admitting the evidence would together substantially outweigh the limited probative
                                  10
                                       value. In particular, Holmes provides the following examples of anticipated evidence and
                                  11
                                       arguments regarding Theranos agents and employees that she contends the Government has not
                                  12
Northern District of California




                                       connected to any knowledge or conduct on her part.
 United States District Court




                                  13
                                                      1. “The government identifies the experiences of seven patients as
                                  14                     evidence that Ms. Holmes knew Theranos was unable to provide
                                                         accurate and reliable test results, [sic] but it does not identify any
                                  15                     evidence that Ms. Holmes was ever informed about three of
                                                         these patients’ experiences. Ex. 3 at 5-6 (Sept. 28, 2020 Rule
                                  16                     404(b) Notice). For example, with respect to R.G., the
                                                         government claims only that ‘[n]umerous employees reporting to
                                  17                     Holmes and Balwani became aware of the test.’ Id. at 6.”
                                  18                  2. “The government again alleges that ‘Defendants and their
                                                         agents made statements directly to doctors in connection with
                                  19                     Theranos’s tests and specific results.’ Ex. 3 at 12-15 (emphasis
                                                         added). This portion of the supplemental 404(b) disclosure
                                  20                     identifies numerous statements by unidentified ‘Theranos
                                                         representatives’ that the government intends to introduce.
                                  21                     Illustrative examples include the following: id. at 12 (‘A
                                                         Theranos representative told Dr. Jessica Bramstedt that Theranos
                                  22                     would conduct micro-testing on blood samples drawn from the
                                                         fingertip; that Theranos was equivalent to other major labs like
                                  23                     LabCorp and Sonora Quest, and that when Theranos lost its lab
                                                         license, it was merely a slap on the wrist that would have a
                                  24                     temporary effect on the company.’(internal quotation marks
                                                         omitted); id. (‘Theranos representative Kimberly Alfonzo told
                                  25                     Dr. Gerald Asin that Theranos could do all blood tests with a
                                                         fingerstick draw . . .’); id. (‘A Theranos sales representative told
                                  26                     Dr. Nathan Matthews that Theranos’s testing was accurate . . .’);
                                                         id. at 13 (‘Theranos representatives told Dr. Steve Linnerson that
                                  27                     the company’s device was FDA-approved and that it had met all
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         59
                                       Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 60 of 100



                                                     the national laboratory standards . . .’); id. at 14 (‘Results from
                                   1                 each of these types of HbA1c tests were provided to doctors
                                                     without explanation as to the types of analyzers used to conduct
                                   2                 the assays, creating a situation where doctors did not have the
                                                     information they needed to place the results in context.’).”
                                   3
                                                  3. “The government makes various allegations related to Theranos’
                                   4                 process for setting reference ranges that have no connection to
                                                     Ms. Holmes (or Mr. Balwani). Id. at 71.”
                                   5
                                                  4. “The government alleges that ‘[w]hen Theranos obtained critical
                                   6                 test results for chloride, it conducted a redraw and/or rerun rather
                                                     than reporting the critical value,’ with no connection to Ms.
                                   7                 Holmes. Id. at 73.”
                                   8              5. “According to the government, ‘Results from . . . HbA1c tests
                                                     were provided to doctors without explanation as to the types of
                                   9                 analyzers used to conduct the assays, creating a situation where
                                                     doctors did not have the information they needed to place the
                                  10                 results in context. This was especially problematic in situations
                                                     where a single patient had multiple Theranos assays conducted
                                  11                 using different methods, yielding different results that falsely
                                                     suggested to the doctor that the patient’s analyte values had
                                  12                 changed. This was the case with a patient treated by Dr. Phelan,
Northern District of California
 United States District Court




                                                     who was the subject of internal emails at Theranos.’ The
                                  13                 government does not tie this allegation to Ms. Holmes.”
                                  14              6. “The government asserts, in inflammatory language, that
                                                     Theranos ‘senior managers’ destroyed Theranos’ database of
                                  15                 patient data in 2018. Id. at 79-80. According to the government,
                                                     Theranos produced the database to the government but failed to
                                  16                 provide a password needed to access the database; Theranos
                                                     employees and consultants then dissembled the hardware that
                                  17                 housed the database. Id. The government claims that these
                                                     actions ‘place the government’s evidence in context as part of a
                                  18                 larger fraud scheme, one which Theranos was attempting to hide
                                                     and conceal even after the indictment in this case.’ Id. at 81.
                                  19                 The government does not tie these wild accusations to Ms.
                                                     Holmes, nor could it, as Ms. Holmes had not been part of
                                  20                 company management for several months and had no
                                                     involvement in responding to these requests.”
                                  21
                                                  7. “The government alleges that acts by David Boies, a lawyer for
                                  22                 Theranos and Ms. Holmes, and by Theranos’ then-General
                                                     Counsel Heather King are evidence of Ms. Holmes’ mental state.
                                  23                 Specifically, it alleges that ‘[o]n or about September 8, 2015,
                                                     David Boies, at Theranos’s direction, wrote to the Editor-in-
                                  24                 Chief of Dow Jones [which publishes the Wall Street Journal] in
                                                     an attempt to quash [journalist John] Carreyrou’s pending story’
                                  25                 on Theranos. Id. at 60. The government further alleges that
                                                     ‘[o]n or about October 8, 2015, Boies and Heather King
                                  26                 (Theranos’s General Counsel) spoke to the Dow Jones’ Editor-
                                                     in-Chief and others in an attempt to quash Carreyrou’s pending
                                  27                 story.’ Id. The government makes no allegation about Ms.
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                    60
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 61 of 100



                                                          Holmes’ role in these actions.”
                                   1
                                       Holmes 565 Mot.at 3–4.
                                   2
                                              It is well settled that “guilt” is an “individual and personal” matter, and thus vicarious
                                   3
                                       liability “has no place in the criminal law as our Rules of Evidence recognize.” United States v.
                                   4
                                       Cadden, No. 14-10363-RGS, 2018 WL 2108243, at *6 (D. Mass. May 7, 2018); see also Lady J.
                                   5
                                       Lingerie, Inc. v. City of Jacksonville, 176 F.3d 1358, 1367 (11th Cir. 1999) (“[D]ue process
                                   6
                                       prohibits the state from imprisoning a person without proof of some form of personal
                                   7
                                       blameworthiness more than [an agency relationship].”). A defendant may be liable for the actions
                                   8
                                       of another in only limited circumstances, such as where there is conspiracy liability. United States
                                   9
                                       v. Tarallo, 380 F.3d 1174, 1184 (9th Cir. 2004), amended, 413 F.3d 928 (9th Cir. 2005). Evidence
                                  10
                                       of “guilt by association” is improper. See United States v. Dunn, 640 F.2d 987, 989 (9th Cir.
                                  11
                                       1981) (vacating conviction where government “concentrated on the criminal convictions of other
                                  12
Northern District of California




                                       members of [defendant’s] family” and impeached witness through “the crimes of her brother”).
 United States District Court




                                  13
                                              Here, the Government does not specifically address the so-called bad acts, with one
                                  14
                                       exception. Instead, the Government focuses on actions that it alleges Holmes took herself. For
                                  15
                                       example, the Government intends to call witnesses at trial to testify about Holmes’s role in
                                  16
                                       assembling and approving materials that went to potential and actual investors in the company.
                                  17
                                       These materials contain the numerous allegedly false and misleading statements about Theranos’
                                  18
                                       technology, including the number of tests it could perform and the level of accuracy it could
                                  19
                                       achieve. The Government also intends to present testimony from investors regarding their
                                  20
                                       conversations with Holmes and the ways she misled them about the regulatory status of Theranos
                                  21
                                       and the military’s purported use of the company’s analyzer. Holmes also repeated to members of
                                  22
                                       the media the allegedly false statements she delivered to potential investors.
                                  23
                                              The Government also intends to present evidence of Holmes’s role in responding to
                                  24
                                       customer inquiries. For example, the Government intends to present evidence that in August
                                  25
                                       2014, Holmes directed Theranos employees regarding how to respond to customer inquiries about
                                  26
                                       withheld test results. Specifically, Theranos representatives were to respond that “CO2 results
                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         61
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 62 of 100




                                   1   were not reported due to temporary unavailability of this test for this sample” and note that the

                                   2   company was growing as fast as it could. Gov’t Opp’n to Holmes 565 Mot. (“Gov’t 565 Opp’n”),

                                   3   Dkt. No. 662, at 3. In February 2015, Holmes allegedly approved a script for Theranos

                                   4   representatives to use when explaining changes to its Complete Metabolic Panel (CMP) tests to

                                   5   customers.

                                   6           The problem with the Government’s argument is Holmes’s motion is not directed to

                                   7   evidence of her role in preparing materials for investors, her presentations to investors, or to her

                                   8   personal engagement with the media. Nor is Holmes’s motion directed to evidence of her role in

                                   9   responding to customer inquiries. And indeed, evidence of Holmes’s direct participation in these

                                  10   activities is relevant to the alleged fraud. See, e.g., United States v. Blitz, 151 F.3d 1002, 1006

                                  11   (9th Cir. 1998) (evidence of personal contact with prospective victims was sufficient to sustain

                                  12   conviction for knowing participation in fraudulent scheme); United States v. Lothian, 976 F.2d
Northern District of California
 United States District Court




                                  13   1257, 1267–68 (9th Cir 1992) (evidence that defendant made misrepresentations to customers

                                  14   about company was sufficient to prove fraud); United States v. Peters, 962 F.2d 1410, 1414 (9th

                                  15   Cir. 1992) (upholding conviction for fraud because appellant knew of complaints from victims

                                  16   about money they were promised, continued to do administrative tasks, and deposited fraudulently

                                  17   acquired checks). Rather, Holmes seeks to exclude “bad acts” that she contends the Government

                                  18   has not connected to her.

                                  19           The only other evidence the Government proffers to connect Holmes to the “bad acts” is

                                  20   her status as founder and CEO of Theranos. The Government contends that Holmes was involved

                                  21   in virtually every aspect of the company and that she possessed final authority over decisions on

                                  22   virtually any issue facing the company. In other words, Holmes exerted “influence” over all facets

                                  23   of the company’s operations. Gov’t 565 Opp’n at 3. For example, the Government contends that

                                  24   as CEO, Holmes was the primary contact for David Boies, and therefore “[i]t is implausible that

                                  25   Defendant did not play a significant role in influencing Boies’s actions during that time period.”

                                  26   Id. at 5.

                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         62
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 63 of 100




                                   1          The Government’s proffered evidence is not enough to connect Holmes to Boies. To do so

                                   2   would invite the jury to potentially find Holmes vicariously liable for the actions of others based

                                   3   on nothing more than her “influence.” The only case the Government cites in support of this

                                   4   “influence” theory is United States v. Ciccone, 219 F.3d 1078, 1083–85 (9th Cir. 2000). But the

                                   5   Government’s attempt to analogize this case to Ciccone is strained. In Ciccone, the owner of a

                                   6   telemarking company designed a “pitch” for his solicitors to use in order to persuade people to

                                   7   send money to his company. Id. at 1080. On appeal, the defendant argued that there was

                                   8   insufficient evidence to permit a jury to convict because he did not call the victims; his solicitors

                                   9   did. Id. at 1084. The Ninth Circuit rejected that argument because there was evidence in the

                                  10   record that he did make some calls himself, and even if he did not himself make the calls, “[t]he

                                  11   defendant need not personally have mailed the letter or made the telephone call; the offense may

                                  12   be established where one acts with the knowledge that the prohibited actions will follow in the
Northern District of California
 United States District Court




                                  13   ordinary course of business or where the prohibited acts can reasonably be foreseen.” Id. at 184

                                  14   (quoting Lothian, 976 F.2d at 1262). Ciccone in no way suggests that the defendant was convicted

                                  15   based on evidence of his “influence” over his company. The Government may attempt to hold

                                  16   Holmes liable for her own acts, as in Ciccone. But it cannot attribute the acts of others to her

                                  17   without evidence that causally connects her with those actions. Lady J. Lingerie, 176 F.3d at

                                  18   1367; see also United States v. Rank, 805 F.2d 1037, at *4 (6th Cir. 1986) (“declin[ing] to adopt

                                  19   the government’s theory, akin to a respondeat superior basis for criminal liability” for president

                                  20   and CEO of a company in a mail fraud case).

                                  21          Perhaps in implicit recognition of the need for evidence of a causal connection between

                                  22   Holmes and the so-called “bad acts,” the Government represents that it is likely that further trial

                                  23   preparation will lead to former Theranos employees who “will have additional information about

                                  24   the control Defendant had over employee’s knowledge of key facts and their responses to

                                  25   questions other posed about the company.” Gov’t 565 Opp’n at 5. Because pretrial preparation is

                                  26   ongoing, the Court is not inclined to issue a pretrial order precluding evidence of all “bad acts.”

                                  27   Nevertheless, it is incumbent upon the Government to come forward with proof of a sufficient

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         63
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 64 of 100




                                   1   connection between Holmes and each “bad act” so that the Court may assess the relevance and

                                   2   potential prejudice of each “bad act.” Fed. R. Evid. 104(b) (“When the relevance of evidence

                                   3   depends on whether a fact exists, proof must be introduced sufficient to support a finding that the

                                   4   fact does exist.”). Further, Rule 104(c)(3) requires a hearing out of the presence of the jury to

                                   5   consider whether the Government has presented sufficient evidence of a connection to justify

                                   6   admissibility of any particular bad act, to avoid Rule 403 issues. Fed. R. Evid. 104(c)(3) (“The

                                   7   court must conduct any hearing on a preliminary question so that the jury cannot hear it if . . . (3)

                                   8   justice so requires.”); see also United States v. Evans, 728 F.3d 953, 957 (9th Cir. 2013)

                                   9   (describing a Rule 104 pretrial hearing for such a purpose in the proceedings below). This

                                  10   approach will “insure[] that the jury will not be tainted by hearing prejudicial evidence—or

                                  11   learning of its existence—until the [Government] has demonstrated that it will be able to provide

                                  12   an adequate foundation for admission.” United States v. Branch, 970 F.2d 1368, 1371 (4th Cir.
Northern District of California
 United States District Court




                                  13   1992).

                                  14             Holmes’s motion is DEFERRED pending the Government’s establishment of the

                                  15   necessary foundation for the evidence it seeks to introduce.

                                  16        J.         Holmes’s MIL to Exclude Evidence of Theranos’ Trade Secrets Practices (Dkt.
                                                       No. 566)
                                  17
                                                 Holmes next moves to preclude the Government from introducing evidence of Theranos’
                                  18
                                       trade secrets practices. Holmes’s Mot. in Limine to Exclude Evidence of Theranos’ Trades
                                  19
                                       Secrets Practices Under Rules 401-404 (“Holmes 566 Mot.”), Dkt. No. 566. The motion primarily
                                  20
                                       concerns three categories of evidence about Holmes playing a role in: (1) fostering a culture of
                                  21
                                       secrecy and forcing employees and others to sign non-disclosure agreements; (2) restricting access
                                  22
                                       to laboratory areas within Theranos; and (3) threatening or intimidating employees or former
                                  23
                                       employees. See Saharia Decl., Ex. 1, Dkt. No. 580 at 4–6. The Government states evidence
                                  24
                                       related to these categories “tends to show consciousness of guilt and tends to show a belief that
                                  25
                                       transparency would expose the falsity of what [Holmes] claimed to investors, patients, and
                                  26
                                       others.” See id., Ex. 3, Dkt. No. 580-2 at 55, 57, 63. Moreover, the Government stated at the
                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         64
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 65 of 100




                                   1   hearing that it “wants to offer this evidence to say that these were practices at Theranos to prevent

                                   2   the discovery of the fraud.” May 6, 2020 Hr’g Tr., Dkt. No. 794, at 46:24–47:1.

                                   3          Holmes argues that these actions largely reflect common measures that California law

                                   4   requires companies like Theranos to adopt to protect their trade secrets. According to Holmes,

                                   5   evidence concerning Theranos’ trade secrets practices has no probative value and will confuse,

                                   6   mislead, and prejudice the jury because the noticed categories of evidence merely depict a

                                   7   company protecting its trade secrets. Holmes also argues that these categories of evidence are

                                   8   inadmissible character evidence under Rule 404(b) because they are too different and unrelated to

                                   9   the charged offense.

                                  10          The Court first addresses Holmes’s Rule 404(b) argument. Although Holmes correctly

                                  11   notes that evidence of another act is admissible evidence of intent only if the other act is “similar

                                  12   to the offense charged,” a review of the three categories suggests that this evidence should not be
Northern District of California
 United States District Court




                                  13   considered “acts” for purposes of Rule 404(b). United States v. Mayans, 17 F.3d 1174, 1181 (9th

                                  14   Cir. 1994). The Ninth Circuit has held that “evidence should not be considered ‘other crimes’ or

                                  15   ‘other act’ evidence within the meaning of Rule 404(b) if ‘the evidence concerning the ‘other’ act

                                  16   and the evidence concerning the crime charged are inextricably intertwined.’” United States v.

                                  17   Dorsey, 677 F.3d 944, 951 (9th Cir. 2012) (quoting United States v. Soliman, 813 F.2d 277, 279

                                  18   (9th Cir. 1987)). This doctrine applies when the acts in question are so interwoven with the

                                  19   charged offense that they should not be treated as other crimes or acts for purposes of Rule 404(b).

                                  20   There are generally two categories of cases in which the Ninth Circuit has concluded that “other

                                  21   act” evidence is inextricably intertwined with the charged crime and therefore need not meet the

                                  22   requirements of Rule 404(b). Vizcarra-Martinez, 66 F.3d at 1012. First, evidence constituting a

                                  23   part of the transaction that serves as the basis for the criminal charge is admissible. Id. Second,

                                  24   “other act” evidence may be admissible if necessary to permit the prosecutor to offer a coherent

                                  25   and comprehensible story regarding the commission of the crime. Id. at 1012–13. “[I]t is

                                  26   obviously necessary in certain cases for the government to explain either the circumstances under

                                  27   which particular evidence was obtained or the events surrounding the commission of the crime.”

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         65
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 66 of 100




                                   1   Id.

                                   2          Under these authorities, even if the identified categories of evidence dealing with trade

                                   3   secrets practices at issue were not part of the crime charged, they are not subject to exclusion

                                   4   because they allow the Government to offer a coherent and comprehensible story regarding the

                                   5   commission of the charged crime. The Government seeks to introduce this evidence to show that

                                   6   these practices at Theranos were intended to prevent the discovery of the alleged fraud. These acts

                                   7   relate to the alleged scheme to defraud as a whole.

                                   8          Moreover, much of the evidence discussed in these categories is evidence that can be

                                   9   introduced not as Rule 404(b) evidence but as factual evidence. In particular, former employees

                                  10   of Theranos may testify largely about their observations and experiences while working at the

                                  11   company. Their personal experiences and observations related to some of the trade secrets

                                  12   practices Theranos implemented is not inadmissible character evidence for this purpose.
Northern District of California
 United States District Court




                                  13          The Court finds that Rule 403 does not prohibit the admission of this evidence. The

                                  14   evidence the Government anticipates it will introduce is highly probative of a specific element of

                                  15   the charged offense—namely, Holmes’s alleged scheme to defraud and the steps she took to

                                  16   continue the scheme. Holmes argues that presentation of evidence concerning Theranos’ trade

                                  17   secrets practices would create a series of mini-trials as she would be unduly forced to introduce

                                  18   expert testimony to try to establish that Theranos’ trade secrets practices were not improper. This

                                  19   disagreement about particular trade secrets practices and when and how they were employed is a

                                  20   factual dispute. Additionally, although evidence related to threatening or intimidating employees

                                  21   or former employees of Theranos may be prejudicial, the evidence is relevant as to how Holmes

                                  22   was operating the company and therefore does not rise to the level of unfair prejudice. Finally, the

                                  23   Court does note that for some of these practices, it will be incumbent upon the Government to

                                  24   come forward with a sufficient connection between Holmes and Theranos’ implementation of

                                  25   particular trade secrets practices, including threatening and intimidating employees or former

                                  26   employees of the company.

                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         66
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 67 of 100




                                   1          For these reasons, Holmes’s motion to exclude evidence of Theranos’ trade secrets

                                   2   practices is DENIED at this time. Holmes may raise pertinent objections at trial if the

                                   3   Government has not established a sufficient connection between Holmes and Theranos’ trade

                                   4   secrets practices.

                                   5            K.    Holmes’s MIL to Exclude Certain Evidence and Argument Regarding Third-
                                                      Party Testing Platforms (Dkt. No. 576)
                                   6

                                   7          In this motion Holmes moves to exclude evidence and argument that Theranos “tampered

                                   8   with” and “concealed” commercially available third-party diagnostic testing platforms. Holmes’s

                                   9   Mot. in Limine to Exclude Certain Evidence and Argument Regarding Third-Party Testing

                                  10   Platforms Under Rules 401-403, 404(b), and 702 (“Holmes 576 Mot.”), Dkt. No. 576. Holmes,

                                  11   however, is not arguing that the Government should be precluded from introducing evidence

                                  12   related to the modifications or the tests run on the modified testing platforms. Rather, Holmes
Northern District of California
 United States District Court




                                  13   argues the Government should be precluded from insinuating there was anything improper about

                                  14   such modifications or that the modifications violated the manufacturer’s specifications or from

                                  15   presenting any evidence of the same. Id. at 4. Additionally, Holmes asserts the Government

                                  16   should be precluded from suggesting that the measures Theranos implemented to protect these

                                  17   trade secrets were improper or an attempt to “conceal” information. Id.

                                  18          The Government responded in its opposition and at the hearing that it does not intend to

                                  19   introduce testimony or argument that Theranos’ modifications of third-party analyzers violated

                                  20   industry standards or manufacturer agreements, or that those modifications were wrong or

                                  21   unethical in and of themselves. Gov’t Opp’n to Holmes’s 576 Mot. (“Holmes 576 Opp’n”), Dkt.

                                  22   No. 666, at 2; May 6, 2021 Hr’g Tr., Dkt. No. 794 at 65:9-12. Still, while the Government will be

                                  23   able to present evidence related to modifications Theranos made to third-party testing platforms,

                                  24   the use of the phrase “tampered” goes beyond the scope of proposed witness testimony and

                                  25   opinions related to third-party testing platform modifications. The Government has not presented

                                  26   any opinions from qualified experts under Rule 702 to establish whether and to what extent certain

                                  27   modifications to third-party testing platforms may be considered “tampering.”

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                       67
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 68 of 100




                                   1           Thus, while the Government can introduce evidence related to the modifications or the

                                   2   tests run on third-party platforms, it will not be able to frame its evidence and argument in a way

                                   3   to suggest the third-party platforms were “tampered” with until and unless that has been proven by

                                   4   appropriate evidence.

                                   5           Holmes also argues the Government should be precluded from introducing evidence about

                                   6   what was or was not “concealed” or shared with manufacturers of the third-party testing platforms.

                                   7   Holmes contends there is no probative value to this evidence, and it will only serve to unfairly

                                   8   prejudice her for conduct related to protecting trade secrets. For similar reasons discussed in

                                   9   Holmes motion to exclude evidence about Theranos’ trade secrets practices, the Court finds this

                                  10   type of fact evidence to be probative and not so unfairly prejudicial it outweighs the probative

                                  11   value. Theranos’ use of third-party platforms and what Holmes and Theranos disclosed about its

                                  12   use correlates to key events at issue in this case. The Court, therefore, finds evidence relating to
Northern District of California
 United States District Court




                                  13   what Theranos disclosed and did not disclose about modifications to third-party platforms is

                                  14   relevant and not unfairly prejudicial.

                                  15           Accordingly, the Court GRANTS IN PART and DENIES IN PART Holmes’s motion to

                                  16   exclude certain evidence and argument regarding third-party testing platforms.

                                  17            L.     Holmes’s MIL to Exclude Evidence of Alleged Blaming and Vilifying of
                                                       Competing Companies and Journalists (Dkt. No. 577)
                                  18
                                  19           The Government intends to present evidence under Rule 404(b) that Defendants blamed or

                                  20   vilified competing companies and journalists. See Holmes’s Mot. in Limine to Exclude Evidence

                                  21   of Alleged Blaming and Vilifying of Competing Companies and Journalists Under Rules 401-403

                                  22   and 404 (“Holmes 577 Mot.”), Dkt. No. 577. Specifically, the Government identifies five acts that

                                  23   it intends to introduce at trial:

                                  24           1) A Theranos employee will testify that Holmes and Balwani led a group of employees
                                  25              in a chant of “Fuck you, Sonora Quest,” with the implication that competitors such as
                                                  Sonora Quest and Quest were “behind the questioning of Theranos.” Saharia Decl.,
                                  26              Ex. 3 at 59.

                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         68
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 69 of 100




                                              2) A Walgreens employee will testify that Holmes stated that “Theranos’ competitors
                                   1             were sending people into Walgreens to order esoteric blood tests in order to throw off
                                   2             the blood draw percentages.” Id. at 61.

                                   3          3) Another Walgreens employee will testify that “Balwani advised Walgreens that the
                                                 reasons for the high number of venous blood draws included the cartridges not being
                                   4             ready for tests that were being ordered, LabCorp and Quest sending people in to order
                                                 tests which required venous blood draws, and doctors ordering esoteric tests.” Id. at
                                   5
                                                 61–62.
                                   6
                                              4) A Theranos employee will testify that he learned at “an all-hands meeting” of an
                                   7             impending WSJ article by John Carreyrou. At that meeting, “the attendees were told
                                                 the article made several allegations that were false, and that this story was being
                                   8             pushed by LabCorp and Quest.” Id. at 62.
                                   9
                                              5) A Theranos employee will testify that Holmes and Balwani led a group of employees
                                  10             in a chant of “Fuck you, Carreyrou.” Id. at 59.

                                  11   Holmes argues that this evidence is irrelevant under Rules 401, 402 and 404, and that if the
                                  12   Government intends to introduce this evidence under Rule 404(b) as false statements, the
Northern District of California
 United States District Court




                                  13   Government has not complied with its obligation to identify evidence of falsity under Criminal
                                  14   Local Rule 16-1(c)(3). Holmes 577 Mot. at 3–4; Holmes Reply Br. in Supp. of Holmes’s 577
                                  15   Mot. (“Holmes 577 Reply”), Dkt. No. 720, at 1–4.
                                  16          The Government concedes that the evidence concerning “Fuck you” chants is “somewhat
                                  17   inflammatory,” but argues that Holmes’s “extreme response to media criticism” is probative of her
                                  18   “mens rea and consciousness of guilt.” Gov’t Opp’n to Holmes 577 Mot. (“Gov’t 577 Opp’n”),
                                  19   Dkt. No. 678, at 3–4. With respect to the statements Defendants made to Walgreens employees
                                  20   and the all-hands meeting concerning the impending WSJ article, the Government contends such
                                  21   statements are admissible “to provide ‘a coherent and comprehensible story regarding the
                                  22   commission of the crime’” and that they are probative of Holmes’s intent, knowledge, and
                                  23   consciousness of guilt. Id. at 4–5 (quoting United States v. DeGeorge, 380 F.3d 1203, 1220 (9th
                                  24   Cir. 2004)).
                                  25          The Court agrees with Holmes that the chants have little probative value as to whether
                                  26   Theranos’ technology was accurate or reliable, or whether Holmes made false statements to
                                  27   investors or customers. Fed. R. Evid. 401, 402. Whatever minimal probative value this evidence
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                       69
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 70 of 100




                                   1   offers is outweighed by the potential for prejudice. Fed. R. Evid. 403.

                                   2          As to the statements made at the all-hands meeting regarding the WSJ article and the

                                   3   statements Defendants made to Walgreens employees, the Court finds significant the

                                   4   Government’s inability to point to any evidence in its Rule 404(b) disclosure showing that those

                                   5   statements were false. The Government says only that “[t]he evidence at trial will show that these

                                   6   are misrepresentations, made to Walgreens in an attempt to explain why Theranos was failing to

                                   7   do what it claimed it could do” and that “[t]hese misrepresentations are therefore inextricably

                                   8   intertwined with the alleged investor fraud and should be admitted.” Gov’t 577 Opp’n at 4

                                   9   (emphasis original). The Government does not explain what evidence will prove falsity, and the

                                  10   Court therefore cannot say at this time whether the statements should be excluded. The Court

                                  11   declines the Government’s invitation to allow the Government to escape its Criminal Local Rule

                                  12   16-1(c)(3) obligations by admitting the statements as part of an overall narrative, particularly when
Northern District of California
 United States District Court




                                  13   the Government has not adequately explained why statements about potential sabotage by

                                  14   Theranos competitors tends to shed any light on investor fraud.

                                  15          Accordingly, the Court GRANTS Holmes’s motion as to the chants, but DEFERS ruling

                                  16   on the statements to Walgreens employees and the all-hands meeting statements.

                                  17           M.     Holmes’s MIL to Exclude Evidence of Alleged Violations of Industry
                                                      Standards and Government Regulations (Dkt. No. 569)
                                  18
                                  19          In this motion, Holmes seeks to exclude evidence regarding Theranos’ purported

                                  20   “[v]iolations of industry standards and government regulations or rules regarding research and

                                  21   development procedures, medical devices and clinical laboratory practices.” Holmes’s Mot. in

                                  22   Limine to Exclude Evidence of Alleged Violation of Industry Standards and Government

                                  23   Regulations Under Rules 401-403 (“Holmes 569 Mot.”), Dkt. No. 569, at 1–2 (citing Saharia

                                  24   Decl., Ex. 1, Dkt. No. 580 at 7). The Government’s 404(b) notice states, “[i]n furtherance of their

                                  25   scheme to defraud, Defendants disregarded and failed to conform to industry standards as well as

                                  26   government regulations or rules regarding research and development procedures, medical devices

                                  27   and clinical laboratory standards.” Saharia Decl., Ex. 1, Dkt. No. 580 at 7. Specifically, Holmes

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        70
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 71 of 100




                                   1   seeks to exclude any testimony offered suggesting that Theranos violated any industry standard or

                                   2   federal regulation. See May 4, 2021 Hr’g Tr., Dkt. No. 792, at 170:14-18.

                                   3          Holmes, for example, points to the Government’s intent to introduce as part of Dr.

                                   4   Rosendorff’s testimony, evidence that after Theranos began using the Theranos blood analyzer

                                   5   (“Edison 3.5”) in the CLIA lab in November 2013, Dr. Rosendorff advised Balwani by email: “we

                                   6   are currently not compl[iant] in terms of CLIA law.” See Leach Opp’ns Decl., Ex. 45, Dkt. No.

                                   7   681-9. Dr. Rosendorff also highlighted how Theranos had not established the upper end of

                                   8   reportable reference ranges for tests. Id. Holmes has identified four subcategories of evidence

                                   9   disclosed by the Government she believes are at issue in this motion and should not be introduced

                                  10   to suggest Theranos violated industry standards or federal regulations : (1) research and

                                  11   development validation studies; (2) clinical trials; (3) CMS and CDPH reports and

                                  12   correspondence; (4) Theranos’ control over its laboratory. Holmes 569 Mot. at 4–5. To support
Northern District of California
 United States District Court




                                  13   her request, Holmes argues that (1) the Government’s evidence of alleged violations of industry

                                  14   standards and government regulations requires impermissible legal opinions and (2) alleged

                                  15   violations of industry standards and government regulations are irrelevant and prejudicial.

                                  16                     The Government’s evidence of alleged violations of industry standards and
                                                         federal regulations does not require impermissible legal opinions
                                  17

                                  18          Holmes is correct that experts may interpret and analyze factual evidence but may not

                                  19   testify about the law. See S.E.C. v. Capital Consultant, LLC, 397 F.3d 733, 749 (9th Cir. 2005).

                                  20   Indeed, testimony that is “couched . . . in the form of a legal conclusion—ostensibly based on

                                  21   what appears to be [the witness’] own survey of state laws . . . is improper and must be excluded.”

                                  22   Lukov v. Schindler Elevator Corp., No. 5:11–cv–00201 EJD, 2012 WL 2428251, at *2 (N.D. Cal.

                                  23   June 26, 2012).

                                  24          Here, however, the Government is not seeking to introduce impermissible legal opinions

                                  25   related to important legal questions for the case. Instead, The Government want to introduce

                                  26   evidence, like Dr. Rosendorff’s statements about CLIA regulations and industry standards,

                                  27   because they are relevant to central issues regarding notice to Holmes and her state of mind.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        71
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 72 of 100




                                   1   Specifically, the Government seeks to use Dr. Rosendorff’s statements about Theranos’

                                   2   compliance with industry standards and federal regulations to introduce into evidence how

                                   3   Holmes responded when these issues were brought to her attention by Theranos’ laboratory

                                   4   director. Gov’t Opp’n to Holmes 569 Mot. (“Gov’t 569 Opp’n”), Dkt. No. 670, at 5–6. Citing

                                   5   United States v. Graf, 610 F.3d 1148, 1164 (9th Cir. 2010), the Government argues this purpose is

                                   6   consistent with Ninth Circuit case law. In Graf, the court affirmed admission of statements

                                   7   relating to legal conclusions communicated to a defendant because the evidence was relevant to

                                   8   the defendant’s state of mind. 610 F.3d at 1164.

                                   9          Accordingly, while the Government cannot offer evidence detailing violations of industry

                                  10   standards or government regulations solely to support an element of the charged offense, the Court

                                  11   will allow statements made to Holmes which concerned perceived violations of industry standards

                                  12   and government regulations to be admitted. A curative instruction will be given to the jury
Northern District of California
 United States District Court




                                  13   dictating that this evidence is being offered only to show notice was given to Holmes and her state

                                  14   of mind. The evidence will not be introduced for the purpose of establishing that Theranos’

                                  15   laboratory practices violated industry standards or government regulations.

                                  16                    Evidence of alleged violations of industry standards and federal regulations
                                                        is relevant and not unduly prejudicial
                                  17

                                  18          Because the Government asserts that evidence relating to alleged violations of industry

                                  19   standards and government regulations relates to Holmes’s knowledge and response to certain

                                  20   laboratory conditions, Holmes’s Rules 401 and 403 arguments lack merit. Each of the

                                  21   subcategories identified by Holmes concern aspects of Theranos’ laboratory practices, and are

                                  22   probative because of the notice given to Holmes about different aspects of the lab and her state of

                                  23   mind after she was given notice. The TSI pointedly puts this evidence at issue. The Court’s

                                  24   curative instruction to the jury also helps to eliminate the risk of undue prejudice.

                                  25          Accordingly, the Court DENIES Holmes’s motion to exclude evidence of alleged

                                  26   violations of industry standards and government regulations.

                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          72
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 73 of 100



                                                N.    Holmes’s MIL to Exclude Theranos Customer Service Spreadsheets (Dkt. No.
                                   1                  570)
                                   2          Holmes moves on hearsay, prejudice, and improper character evidence grounds to preclude

                                   3   the Government from introducing Theranos’ customer-service spreadsheets, which purportedly

                                   4   contain summaries of various customer-service communications. Holmes’s Mot. in Limine to

                                   5   Exclude Theranos’ Customer-Service Spreadsheets Under Rules 401-404 and 801-803 (“Holmes

                                   6   570 Mot.”), Dkt. No. 570. The Government intends to offer these spreadsheets to demonstrate

                                   7   that Holmes “knew that Theranos’ tests . . . suffered from accuracy problems that rendered them

                                   8   unreliable and not suitable for informing clinical treatment decisions.” Saharia Decl., Ex. 1, Dkt.

                                   9   No. 580 at 2; id, Ex. 3, Dkt. No. 580-2.

                                  10          The Government opposes this motion, rejecting Holmes’s argument that the customer-

                                  11   service spreadsheets are hearsay (and their contents double hearsay). According to the

                                  12   Government, the customer-service spreadsheets are admissible as business records and probative
Northern District of California
 United States District Court




                                  13   of Holmes’s intent to defraud because they help show that Holmes had notice of “shortcomings”

                                  14   with the technology she was marketing to patients. Gov’t Opp’n to Holmes’s 570 Mot. (“Gov’t

                                  15   570 Opp’n”), Dkt. No. 665, at 1. Holmes argues the Government has not established she

                                  16   reviewed, was familiar with, or even had access to the spreadsheets. Holmes 570 Mot. at 6. In

                                  17   addition, Holmes argues the Court should preclude the Government from introducing the

                                  18   customer-service spreadsheets at trial pursuant to Rule 403. Id. at 7. In contrast, the Government

                                  19   argues Holmes is prematurely seeking to have the Court sustain objections to the purported

                                  20   business records before the Government has had the opportunity to obtain certificates of business

                                  21   records or call custodians at trial to meet the Federal Rule of Evidence 803(6) standard and lay

                                  22   foundation for how Holmes was kept informed of customer complaints. Gov’t 570 Opp’n at 3–5.

                                  23          Under Rule 803(6), business records fall within an exception to the hearsay rule. For a

                                  24   document to be considered a business record, the following criteria must be satisfied: “(A) the

                                  25   record was made at or near the time by--or from information transmitted by--someone with

                                  26   knowledge; (B) the record was kept in the course of a regularly conducted activity of a business,

                                  27   organization, occupation, or calling, whether or not for profit; (C) making the record was a regular

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        73
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 74 of 100




                                   1   practice of that activity; (D) all these conditions are shown by the testimony of the custodian or

                                   2   another qualified witness, or by certification that complies with Rule 902(11) or (12) or with a

                                   3   statute permitting certification; and (E) the opponent does not show that the source of information

                                   4   or the method or circumstances of preparation indicate a lack of trustworthiness.” Fed. R. Evid.

                                   5   803(6).

                                   6             The Court cannot rule on the business records issue until trial. The Government states it

                                   7   intends to introduce the proper custodians and certificates and lay foundation connecting these

                                   8   spreadsheets to Holmes at trial. Gov’t 570 Opp’n at 3–5. The Court does find, however, that the

                                   9   contents of the spreadsheets, i.e., the purported summaries of customer communications, can be

                                  10   introduced to show notice. Such evidence would not run afoul of Rule 801(c) because it would

                                  11   not be offered for the truth of the matter asserted that there were “shortcomings” with Theranos’

                                  12   technology. See White v. Ford Motor Co., 312 F.3d 998, 1009 (9th Cir. 2002) (upholding the use
Northern District of California
 United States District Court




                                  13   of customer reports to show notice without concluding that the reports were admissible for their

                                  14   truth); see also United States v. Moseley, 890 F.3d 9, 13 (2d Cir. 2020) (evidence of “complaints

                                  15   which were called to a defendant’s attention” are “relevant to the issue of the defendant’s intent.”).

                                  16             Although specific customer complaints included in the spreadsheets that focus on

                                  17   Theranos’ testing cannot be considered to prove the truth of the matter asserted, complaints about

                                  18   Theranos’ technology can be admissible to show Theranos received such complaints. Moreover,

                                  19   this evidence could help establish Holmes state of mind or knowledge related to specific

                                  20   allegations in the TSI.

                                  21             With respect to Holmes’s Rule 403 objection, her knowledge or notice is an essential

                                  22   element of the alleged scheme to defraud. However, introduction into evidence of the specific

                                  23   details of the customer complaints that address Theranos’ tests would be a waste of time, could

                                  24   confuse and mislead the jury, and be prejudicial to Holmes. Accordingly, the Court would only

                                  25   allow the Government to present evidence that customer complaints focusing on Theranos’ tests

                                  26   exist but will not be allowed to introduce the specific details of the complaints. The Court would

                                  27   also give the jury a limiting instruction that such evidence is admissible only for the purpose of

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          74
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 75 of 100




                                   1   establishing Holmes’s notice of those complaints and cannot be used to establish there were actual

                                   2   issues with Theranos’ technology or for any other purpose.

                                   3          Accordingly, the Court declines to issue an order broadly precluding the customer-service

                                   4   spreadsheets or evidence that those summaries of customer communications about Theranos’

                                   5   testing technology exists and DEFERS ruling until trial.

                                   6           O.     Holmes’s MIL to Exclude Certain Rule 404(b) Evidence for Lack of Expert
                                                      Support (Dkt. No. 564)
                                   7

                                   8          Holmes next moves to exclude three subcategories of evidence disclosed in the

                                   9   Government’s Rule 404(b) notice dealing with aspects of Theranos’ laboratory practices: (1)

                                  10   multiplexing test results and disregarding outliers to mask inconsistency; (2) improperly setting

                                  11   and altering reference ranges; and (3) withholding important information from doctors and

                                  12   patients. See generally Holmes’s Mot. in Limine to Exclude Certain Rule 404(b) Evidence For
Northern District of California
 United States District Court




                                  13   Lack of Expert Support Under Rules 401-403 and 701-702 (“Holmes 564 Mot.”), Dkt. No. 564.

                                  14          Holmes argues the Government cannot prove that Theranos’ laboratory practices violated

                                  15   industry standards or were otherwise improper in part because these are issues “based on

                                  16   scientific, technical, other specialized knowledge,” that require expert testimony. Fed. R. Evid.

                                  17   701. Holmes adds that the Government has disclosed no such expert testimony and that no expert

                                  18   will be able to opine that these aspects of Theranos’ laboratory practices rendered Theranos’ tests

                                  19   inaccurate or unreliable. Thus, this evidence is irrelevant, any connection between this evidence

                                  20   and Holmes’s intent is speculative, and the Court should exclude it under Rules 401-403 and 701-

                                  21   702.

                                  22          Although included in the Government’s Rule 404(b) notice, the Court recognizes the

                                  23   majority of evidence within these three subcategories as fact evidence not necessitating evaluation

                                  24   under Rule 404(b). These subcategories also correlate to key allegations raised in the TSI, or are

                                  25   probative to what Holmes’s knew about laboratory practices and not unduly prejudicial.

                                  26                    Multiplexing test results and disregarding outliers to mask inconsistency
                                  27          With respect to the use of “multiplexing,” the Government alleges that Theranos “operated

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        75
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 76 of 100




                                   1   its analyzers according to a protocol that included running each individual test [six] times [on a

                                   2   given sample in parallel] and then multiplexing the test results in order to drive the final, reported

                                   3   result.” Saharia Decl., Ex. 1 at 8. When a patient’s sample was inserted into the Theranos device,

                                   4   six pipette tips would simultaneously draw six portions of blood from the larger sample. Each of

                                   5   those six portions would then be tested for the target analyte, i.e., the substance that was being

                                   6   measured. Those six tests would then yield six results. Theranos’ algorithm would then review the

                                   7   set of six numerical values and discard any that were outliers. The remaining values were then

                                   8   averaged, and the combined average value was reported to the patient. According to the

                                   9   Government, “this approach tended to mask consistency problems with Theranos’ tests.” Id. In

                                  10   support, the Government relies on statements regarding the efficacy of multiplexing made by

                                  11   Theranos’ former lab director Dr. Adam Rosendorff. For example, Dr. Rosendorff would testify

                                  12   that the multiplexing process he used in real time as Theranos’ laboratory director was “not good
Northern District of California
 United States District Court




                                  13   laboratory practice,” “not ideal,” and that “it would be better to run the assay a single time using a

                                  14   highly accurate and reliable method, and report that result.” Saharia Decl., Ex. 3 (Sept. 28, 2020

                                  15   Gov’t Suppl. Rule 404(b) Notice); ; see also id., Ex. 5 at 13 (Rosendorff’s belief that “[t]his

                                  16   process was not ideal because it may have tended to increase the appearance of precision beyond a

                                  17   lab test’s true performance” (emphasis added)).

                                  18          Holmes argues this evidence would require an expert opinion rooted in sufficient data and

                                  19   a reliable methodology, to prove that Theranos’ multiplexing method actually masked precision

                                  20   problems with Theranos’ tests. See Fed. R. Evid. 702; Daubert v. Merrell Dow Pharms., Inc., 509

                                  21   U.S. 579 (1993). The Court does not agree, because an explanation of what multiplexing entailed

                                  22   does not involve the application of any technical algorithms or procedures. Dr. Rosendorff’s

                                  23   background as a laboratory director gives him a sufficient basis on which to present his

                                  24   observations and beliefs about Theranos’ use of multiplexing and his experience employing the

                                  25   method. Moreover, the change in Dr. Rosendorff’s view of the multiplexing method is not a basis

                                  26   to disqualify him from testifying about multiplexing. Holmes is entitled to explore these issues on

                                  27   cross-examination. Accordingly, the Court finds that a blanket exclusion of evidence relating to

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         76
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 77 of 100




                                   1   Theranos’ multiplexing method is not warranted at this time.

                                   2                    Improperly setting and altering reference ranges
                                   3          For reference ranges, the Court also does not believe evidence the Government intends to

                                   4   offer on this topic requires expert analysis. The Government revealed in its 404(b) notice that Dr.

                                   5   Rosendorff may testify that he was involved in setting reference ranges for Theranos tests. Dr.

                                   6   Rosendorff may testify that Theranos launched its clinical testing services in 2013 without

                                   7   conducting a formal reference range study to determine the appropriate reference range values

                                   8   because Theranos was “in a hurry” to launch, and that it would have been preferable to establish

                                   9   reference ranges before the launch. Saharia Decl., Ex. 3 at 71-72. Separately, Dr. Rosendorff may

                                  10   testify that Holmes and Balwani were resistant to the idea of establishing and disclosing reference

                                  11   ranges that were specific for Theranos’ capillary blood tests and distinct from the venous sample

                                  12   tests that Theranos ran on third-party devices. Id.
Northern District of California
 United States District Court




                                  13          This testimony is based on Dr. Rosendorff’s percipient observations while at Theranos as

                                  14   well as his judgment and experience as a certified laboratory director. Because the evidence will

                                  15   not be introduced to argue that Theranos’ reference ranges were violating industry standards, the

                                  16   introduction of a scientific basis and methodology pursuant to Rule 702 is not needed. Therefore,

                                  17   the Court declines to issue a blanket exclusion of evidence relating to Theranos’ reference ranges.

                                  18                    Withholding important information from doctors and patients
                                  19          Lastly, the Government seeks to introduce evidence that Theranos “withheld” from doctors

                                  20   and patients information such as “what type of analyzer had been used for a given test,” “the fact

                                  21   that Theranos’ tests were not FDA approved,” that Theranos “relied on third-party analyzers for

                                  22   many of its tests.” Saharia Decl., Ex. 1 at 8. In its supplemental disclosure, the Government

                                  23   explains that Dr. Rosendorff advocated stating on laboratory reports whether the blood was

                                  24   collected by fingerstick or venous draw, but this was ultimately not done. Id., Ex. 3 at 74.

                                  25   Holmes argues this evidence should be excluded because the Government has not disclosed any

                                  26   reliable opinion to establish Theranos did anything improper or that its practices had any impact

                                  27   on the adequacy and reliability of its technology.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        77
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 78 of 100




                                   1           For reasons discussed above, the Court finds that evidence regarding information Theranos

                                   2   allegedly withheld from doctors and patients should not be excluded for lack of expert opinion.

                                   3   The evidence presented is fact evidence about information Theranos disclosed and did not disclose

                                   4   to investors and patients. Although the Court notes Holmes’s argument that the Government

                                   5   cannot use this evidence to establish Theranos was violating industry standards without proper

                                   6   expert opinion, the jury can consider what decisions Holmes and Theranos made about certain

                                   7   disclosures when evaluating Holmes’s intent and the alleged scheme to defraud. Thus, because the

                                   8   evidence will be used as fact evidence, a blanket order at this stage excluding evidence relating to

                                   9   withheld information is not warranted.

                                  10           Accordingly, the Court DENIES Holmes’s motion to exclude certain Rule 404(b)

                                  11   evidence for lack of expert support.

                                  12            P.    Holmes’s MIL to Exclude Evidence and Argument as to the Purported
Northern District of California
 United States District Court




                                                      Inaccuracy or Unreliability of Tests Not Identified in the Bill of Particulars
                                  13                  (Dkt. No. 568)
                                  14           Holmes next moves to preclude the Government from introducing at trial evidence and

                                  15   argument regarding the purported inaccuracy and unreliability of tests not identified in the

                                  16   Government’s Bill of Particulars.13 See generally Holmes’s Mot. in Limine to Exclude Evidence

                                  17   and Argument by the Government as to the Purported Inaccuracy or Unreliability of Tests Not

                                  18   Identified in the Bill of Particulars (“Holmes 568 Mot.”), Dkt. No. 568. Holmes is not seeking a

                                  19   blanket ruling precluding any mention of other tests offered by Theranos that were not included in

                                  20   the Government’s Bill of Particulars. Holmes Reply Br. in Supp. of Holmes’s 568 Mot. (“Holmes

                                  21   568 Reply”), Dkt. No. 711, at 2. Rather, for tests not listed in the Bill of Particulars, Holmes

                                  22   requests that the Court require the Government to provide notice of exhibits and testimony related

                                  23   to these unidentified tests so that any anticipated issues can be raised outside of the presence of the

                                  24   jury.

                                  25

                                  26
                                       13
                                  27     The Court took the motion under submission on the papers after the parties did not request oral
                                       argument.
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                     78
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 79 of 100




                                   1          Recognizing that Holmes should not be forced to prepare unnecessary defenses for

                                   2   evidence the Government would not raise at trial, the Court ordered the Government to identify

                                   3   “the particular tests that the Government claims Theranos was not capable of consistently

                                   4   producing.” Dkt. No. 330 at 16 (citing United States v. Bortnovsky, 820 F.2d 572, 574 (2d. Cir.

                                   5   1987)). The Government’s March 2020 Bill of Particulars (“the Bill of Particulars”) identified

                                   6   twenty-five tests. Dkt. No. 377 at 25. The TSI also listed the same twenty-five tests. TSI ¶ 16.

                                   7   In June 2020, however, the Government’s initial exhibit list included several exhibits which

                                   8   addressed tests not identified in the Bill of Particulars. Holmes states that the potential evidence

                                   9   addressing additional unlisted tests comes in many different forms including exhibits and potential

                                  10   witness testimony discussing test results data, individual patient results, and reruns of certain tests.

                                  11   Holmes 568 Mot. at 2.

                                  12          The Government responds that it has no plans to introduce evidence or argument about
Northern District of California
 United States District Court




                                  13   tests, other than those disclosed in the indictment, for the purpose of “attacking their accuracy and

                                  14   reliability.” Gov’t Opp’n to Holmes 568 Mot. (“Gov’t 568 Opp’n”), Dkt. No. 664, at 2.

                                  15   Nevertheless, the Government argues evidence regarding additional tests is still admissible for

                                  16   purposes unrelated to the accuracy and reliability of those tests. Id. The Government explains

                                  17   evidence related to additional unlisted tests could be used to demonstrate the number and types of

                                  18   tests that Theranos offered at a given time and which devices and methods Theranos used to

                                  19   perform those tests. Id. at 3. Similarly, the Government contends that evidence referencing

                                  20   additional unlisted tests is relevant to the extent it shows Theranos’ general practices in connection

                                  21   with developing, offering, conducting, and reporting results of its assays. Id. at 3. The Court finds

                                  22   that the Government should not be precluded from introducing all evidence related to additional

                                  23   unlisted tests. Indeed, Holmes recognizes that there may be permissible purposes for the

                                  24   introduction of such evidence, which still comport with the Court’s Order directing a Bill of

                                  25   Particulars about the tests that the Government claims Theranos was not capable of consistently

                                  26   producing. Holmes 568 Reply at 2.

                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          79
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 80 of 100




                                   1           Accordingly, Holmes’s motion to exclude evidence and argument regarding tests not listed

                                   2   in the Bill of Particulars is GRANTED. The Government is precluded from introducing any

                                   3   evidence or argument regarding the purported inaccuracy and unreliability of tests not identified in

                                   4   the Government’s Bill of Particulars. The Government may still introduce evidence or testimony

                                   5   about tests not listed in the Bill of Particulars for purposes unrelated to the accuracy and reliability

                                   6   of those tests. The Government shall provide notice of exhibits or testimony that may involve

                                   7   tests not identified in the Bill of Particulars prior to their introduction so that the parties and Court

                                   8   can address any issues, in the context of specific evidence, outside the presence of the jury.

                                   9   IV.     GOVERNMENT’S MOTIONS IN LIMINE AND RELATED DEFENSE MOTIONS

                                  10           A.    MIL No. 1 to Preclude Defendant from Offering an Improper Defense of
                                                     Blaming Her Victims and Selective Prosecution
                                  11

                                  12           The Government moves to preclude Holmes from offering a defense of blaming her
Northern District of California
 United States District Court




                                  13   victims for failing to exercise greater diligence in their dealings with Theranos. Gov’t Mot. The

                                  14   Government further seeks to preclude Holmes from introducing a related defense regarding the

                                  15   Government’s selective prosecution of Holmes and Theranos amongst a range of similar abuses

                                  16   perpetuated by other Silicon Valley startups. Holmes opposes both arguments asserted in the

                                  17   Government’s motion. Holmes’s Opp’n to Gov’t Mots. In Limine (“Holmes Opp’n”), Dkt. No.

                                  18   659. The Court addresses each argument in turn.

                                  19                 1. Victim blaming
                                  20           The Government first argues that a fraud victim’s naiveté or gullibility is not a defense to

                                  21   criminal charges under federal fraud statutes. According to the Government, excluding this

                                  22   defense is necessary to prevent distraction from the key issues of the case: “Defendant’s intent to

                                  23   defraud and the falsity and materiality of her statements.” Gov’t Mot. at 1. However, Holmes

                                  24   argues such preclusion is overbroad because it will forestall the introduction of evidence on these

                                  25   very points. Holmes Opp’n at 2. Specifically, Holmes contends that evidence of circumstances

                                  26   surrounding a victim’s engagement with Theranos directly relate to the element of “materiality”

                                  27   and could potentially be used for impeachment purposes.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                           80
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 81 of 100




                                   1          “Materiality of falsehood” is an essential element of wire fraud. Neder v. United States,

                                   2   527 U.S. 1, 25 (1999). The test to determine materiality is whether the statement “has a natural

                                   3   tendency to influence, or was capable of influencing, the decision of the decision-making body to

                                   4   which it was addressed.” United States v. Peterson, 538 F.3d 1064, 1072 (9th Cir. 2008) (quoting

                                   5   Kungys v. United States, 485 U.S. 759, 770 (1988)). This is an objective test. Id.

                                   6          It is well settled that a victim’s negligence is not a defense to wire fraud. United States v.

                                   7   Lindsey, 850 F.3d 1009, 1015 (9th Cir. 2017). Unlike common law fraud, reliance upon the

                                   8   defendant’s misrepresentations has no place in criminal fraud cases. Neder, 527 U.S. at 25.

                                   9   Moreover, “[i]t is immaterial whether only the most gullible would have been deceived by the

                                  10   defendants’ scheme.” Ciccone, 219 F.3d at 1083 (quoting United States v. Hanley, 190 F.3d 1017,

                                  11   1023 (9th Cir. 1999)) (alteration in original). However, evidence of the circumstances

                                  12   surrounding a victim’s entanglement in the fraudulent scheme may be admissible for other
Northern District of California
 United States District Court




                                  13   purposes. Indeed, documents and other information available to the parties can be useful for

                                  14   determining materiality. United States v. Bogucki, No. 18-cr-00021-CRB-1, 2019 WL 1024959,

                                  15   at *4 (N.D. Cal. Mar. 4, 2019). In Bogucki, the court granted defendant’s Rule 29 motion for

                                  16   acquittal after finding no reasonable jury could find the defendant made materially false

                                  17   statements. Id. at *7. In reaching this decision, the court considered five pieces of evidence,

                                  18   including call transcripts and PowerPoint presentations. Id. at *4-6. While the Bogucki court

                                  19   ultimately found this evidence did not satisfy the materiality requirement, this highlights the

                                  20   necessity of evaluating the information available to victims in order to determine if the alleged

                                  21   false statements had the capacity to mislead. Relatedly, as Holmes notes, a victim’s knowledge of

                                  22   the fraud could serve as relevant impeachment evidence. United States v. Yang, No. 16-cr-00334-

                                  23   LHK, 2019 WL 5536213, at *3 (N.D. Cal. Oct. 25, 2019). The Court agrees that the way “victims

                                  24   reacted to alleged misrepresentations . . . is highly relevant to their credibility.” 659 Opp’n at 2.

                                  25          Based on the foregoing, the Court GRANTS the Government’s motion to the extent

                                  26   Holmes attempts to utilize victim blaming as a defense. However, the Court DENIES the

                                  27   Government’s motion with respect to precluding Holmes from introducing admissible

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          81
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 82 of 100




                                   1   impeachment evidence and other admissible evidence bearing on materiality. The Court will

                                   2   review and hear from the parties as to any specific evidence sought to be introduced prior to its

                                   3   presentation during the trial.

                                   4                2. Selective prosecution
                                   5          The Government seeks to further preclude Holmes from introducing a defense focused “on

                                   6   the culture of Silicon Valley startups.” Gov’t Mot. at 3. In particular, the Government asks to

                                   7   exclude potential evidence regarding other startup founders engaging in similar exaggerated and

                                   8   “dramatic promises to generate . . . capital.” Id. While not entirely clear, the Government appears

                                   9   to assert these claims amount to an improper selective prosecution defense. This request is

                                  10   overbroad.

                                  11          A selective prosecution claim is an “assertion that the prosecutor has brought the charge

                                  12   for reasons forbidden by the Constitution.” United States v. Armstrong, 517 U.S. 456, 463 (1996).
Northern District of California
 United States District Court




                                  13   To establish a prima facie showing of selective prosecution, a defendant must establish:

                                  14                  (1) that, while others similarly situated have not generally been
                                  15                  proceeded against because of conduct of the types forming the basis
                                                      of the charge against him, he has been singled out for prosecution,
                                  16                  and (2) that the government’s discriminatory selection of him for
                                                      prosecution has been invidious or in bad faith, i.e., based upon such
                                  17                  impermissible considerations as race, religion, or the desire to
                                                      prevent his exercise of constitutional rights.
                                  18
                                  19   United States v. DiStefano, 129 F. Supp. 2d 342, 347 (S.D.N.Y. 2001).
                                  20          At the hearing, the Government indicated its concerns that Holmes would argue that her
                                  21   conduct was in line with Silicon Valley startup culture and thus she was singled out for
                                  22   prosecution where other entrepreneurs were not. Holmes disavowed advancement of a selective
                                  23   prosecution argument at trial, and the Court takes her at her word.
                                  24          The Government further expressed concern that Holmes would comment on the culture of
                                  25   Silicon Valley startups, including aggressive marketing or exaggeration. The Court recognizes
                                  26   that evidence in this case will undoubtably touch on the nature of startup companies, including
                                  27   financing, funding, industry protocols, and other issues common to the technology industry in
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        82
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 83 of 100




                                   1   Silicon Valley. The Court will permit general fair comment on the marketing of new ventures,

                                   2   including statements concerning investment and the nature of the firm, product, or technology.

                                   3          B.    MIL No. 2 to Preclude the Defense from Referencing Punishment in Front of
                                                    The Jury
                                   4

                                   5          The Government moves to preclude any reference by the defense to Holmes’s alleged or

                                   6   potential punishment during any trial stage (including jury selection, opening statements,

                                   7   examination of witnesses, and summation). The Government seeks to preclude these references to

                                   8   punishment as irrelevant and/or unfairly prejudicial under Federal Rules of Evidence 401, 402,

                                   9   and 403. The Government provides examples of both overt and subtle references to punishment

                                  10   that it seeks to preclude during trial. An overt example of a reference to punishment could be

                                  11   “[t]he defendant is facing a prison term if convicted.” Gov’t Mot. at 4. In contrast, the

                                  12   Government’s examples of subtler references to punishment include statements such as “the
Northern District of California
 United States District Court




                                  13   Defendant is facing a lot of time,” “the case has serious consequences for the Defendant,” “the

                                  14   Defendant’s liberty is at stake in this trial,” or “your decision will have consequences for a long

                                  15   time to come.” Id. The Government maintains that once a jury is exposed to statements regarding

                                  16   Holmes’s potential punishment or other such consequences, this information cannot be forgotten

                                  17   nor can the circumstances be remedied by a curative instruction.

                                  18          Holmes acknowledges that would be inappropriate for her to reference any potential

                                  19   imprisonment before the jury. However, she disagrees with the Government’s motion to the

                                  20   extent it seeks to prohibit the “subtler” references to punishment that the Government has

                                  21   identified, such as “the case has serious consequences for the Defendant” or “the Defendant’s

                                  22   liberty is at stake in this trial.” Holmes Opp’n at 5; Gov’t Mot. at 4.

                                  23          Both sides are correct. “It has long been the law that it is inappropriate for a jury to

                                  24   consider or be informed of the consequences of their verdict.” United States v. Frank, 956 F.2d

                                  25   872, 879 (9th Cir. 1992). Any commentary to the jury on a defendant’s potential penalty or

                                  26   punishment “draw[s] the attention of the jury away from their chief function as the sole judges of

                                  27   the facts, opens the door to compromise verdicts, and confuses the issues to be decided.” United

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         83
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 84 of 100




                                   1   States v. Olano, 62 F.3d 1180, 1202 (9th Cir. 1995); see also Shannon v. United States, 512 U.S.

                                   2   573, 579 (1994); Zal v. Steppe, 968 F.2d 924, 930 (9th Cir. 1992) (stating that any verdict “must

                                   3   be based on the law and evidence, not on jury nullification as urged by either litigant”).

                                   4          However, “[s]ubtle references such as the one mentioned above are not really referencing

                                   5   punishment.” United States v. Williams, No. 3:13-cr-00764-WHO-1, 2017 WL 4310712, at *8

                                   6   (N.D. Cal. Sept. 28, 2017). In Williams, the court’s primary focus was whether the defense should

                                   7   be allowed to reference the punishment of cooperating witnesses for impeachment purposes,

                                   8   which is not a question before this Court. Nevertheless, Williams is instructive in its ruling that

                                   9   “defendants are precluded from referencing the particulars of any past or potential punishment in

                                  10   an attempt to elicit the sympathies of the jury.” Williams, 2017 WL 4310712, at *8. Further, the

                                  11   Williams court reasoned that some subtler references to punishment, such as stating that “this case

                                  12   has serious consequences for the defendant,” are “not really about punishment.” Id.
Northern District of California
 United States District Court




                                  13          During the hearing the Court discussed the issue with counsel and granted the

                                  14   Government’s motion from the bench. The Court recognized, however, that comments of counsel

                                  15   about the serious task the jurors will undertake with this case and the opportunity to remind them

                                  16   of their oath to serve are appropriate. The Court indicated it would allow Holmes to make careful,

                                  17   cautious, and appropriate comments when talking about the nature of the case to the jury.

                                  18          The Government’s MIL No. 2 to preclude the defense from referencing punishment in

                                  19   front of the jury is GRANTED.

                                  20          C.    MIL No. 3 to Preclude an Improper Advice-Of-Counsel Defense
                                  21          The Government moves to preclude Holmes from asserting “an improper advice-of-

                                  22   counsel defense.” Mot. at 5. More specifically, the Government seeks to preclude both (1)

                                  23   testimony suggesting that attorneys made statements to Holmes or that she relied upon such

                                  24   statements to negate intent; and (2) a formal advice-of-counsel defense and the associated jury

                                  25   instruction. Id.

                                  26          An advice-of-counsel defense “is not regarded as a separate and distinct defense but rather

                                  27   as a circumstance indicating good faith which the trier of fact is entitled to consider on the issue of

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         84
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 85 of 100




                                   1   fraudulent intent.” Bisno v. United States, 299 F.2d 711, 719 (9th Cir. 1961). In order for Holmes

                                   2   “[t]o qualify for an advice of counsel instruction, the defendant must show that there was full

                                   3   disclosure to his attorney of all material facts, and that he relied in good faith on the specific

                                   4   course of conduct recommended by the attorney.” United States v. Ibarra-Alcarez, 830 F.2d 968,

                                   5   973 (9th Cir. 1987). Furthermore, when a defendant presents an advice-of-counsel defense, she

                                   6   waives her previous attorney-client privilege as to the communications at issue. See Hunt v.

                                   7   Blackburn, 128 U.S. 464, 470 (1888); see generally Bittaker v. Woodford, 331 F.3d 715, 718 (9th

                                   8   Cir. 2003).

                                   9          Here, the Government indicates that Holmes has provided no notice to the Government of

                                  10   any intent to assert an advice-of-counsel defense and that Holmes has not waived any attorney-

                                  11   client privilege as a prerequisite to asserting such a defense. Gov’t Mot. at 5. As such, the

                                  12   Government argues, it is appropriate to preclude her from asserting an advice-of-counsel defense
Northern District of California
 United States District Court




                                  13   at this stage. Id. Even in the absence of a properly asserted advice-of-counsel defense, the

                                  14   Government is concerned that Holmes may attempt to elicit testimony from her attorneys that

                                  15   suggest that they made certain statements to her upon which she detrimentally relied. Id.

                                  16   Regardless, the overarching focus of the Government’s motion is to preclude any defense efforts

                                  17   to elicit statements by attorneys, made to the Holmes or other Theranos employees, as evidence

                                  18   negating Holmes’s allegedly fraudulent intent. Id. at 5–6.

                                  19          Holmes contends that barring an advice-of-counsel defense long before proposed jury

                                  20   instructions are due and before the Government presents its case-in-chief is premature. Holmes

                                  21   Opp’n at 6. She also suggests that much of Theranos’ dealings with its many attorneys will likely

                                  22   be highly relevant to the Government’s case and thus it would be improper to preclude all

                                  23   testimony by Holmes or others concerning statements attorneys made to them. Id. Holmes

                                  24   additionally notes that the Government has indicated its intent to introduce evidence of certain

                                  25   nonprivileged attorney-client communications, and therefore it would be inappropriate to preclude

                                  26   Holmes from commenting on statements her attorneys may have made to her. Id. In response, the

                                  27   Government states that it is concerned only with statements made by attorneys used as evidence to

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          85
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 86 of 100




                                   1   negate intent. United States’ Reply in Support of its Mots. In Limine (“Gov’t Reply”) at 3, Dkt.

                                   2   No. 726.

                                   3           The Court finds that ruling on this motion would be premature at this juncture. Holmes

                                   4   will have an opportunity to defend herself against the Government’s allegations with appropriate

                                   5   legal theories and within the confines of the law. Prior to invoking an advice-of-counsel defense,

                                   6   however, Holmes must establish the foundational prerequisites for the advice-of-counsel defense,

                                   7   namely: (1) waiver of the applicable attorney-client privilege, (2) demonstrating that there was a

                                   8   full disclosure to her attorney of all material facts, (3) and that she relied in good faith on the

                                   9   specific course of conduct the attorney recommended.

                                  10           For the reasons stated above and at the hearing, the Government’s MIL No. 3 is

                                  11   DEFERRED.

                                  12           D.    MIL No. 4 to Preclude a Defense Argument That the Government’s Charging
Northern District of California
 United States District Court




                                                     Decisions Were Influenced by Coordination with Journalists or Competitors
                                  13

                                  14           The Government seeks to preclude Holmes from arguing that its charging decisions were

                                  15   influenced by “coordination” with journalists or competitors. Gov’t Mot. at 6. In particular, the

                                  16   Government seeks to preclude any argument that its investigation or charging decisions were

                                  17   unduly influenced by the input of other lab testing companies, such as Quest or LabCorp, or

                                  18   journalists, such as John Carreyrou. First, the Government argues that there is no factual basis for

                                  19   such an argument because it did not actually coordinate with any lab testing companies or

                                  20   journalists. Specifically, the Government represents that no attorney or agent on the prosecution

                                  21   team has ever had a substantive conversation with Quest, LabCorp, or Mr. Carreyrou in

                                  22   connection with this case. Second, the Government argues that any evidence regarding its

                                  23   charging decisions is irrelevant under Federal Rule of Evidence 402.

                                  24           In response, Holmes contends the Government’s investigatory process is relevant and

                                  25   should be presented to the jury. According to Holmes, “‘media attention’ related to Mr.

                                  26   Carreyrou’s back-channel communications with CMS about Theranos caused CMS to use

                                  27   different procedures for surveying Theranos than it normally would have used.” Holmes Opp’n at

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          86
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 87 of 100




                                   1   8 (citing Saharia Decl., Ex. 34 at 3). The FDA’s interview report with CMS employee Sarah

                                   2   Bennett recounted Ms. Bennett’s explanation:

                                   3                  Normally, re-certification surveys are conducted by the state agency,
                                                      but because of the media attention associated with Theranos, the
                                   4                  decision was made to send [CMS employee Gary] Yamamoto and
                                                      Bennett. John Carreyoru [sic] (a reporter for the Wall Street
                                   5                  Journal) had been in contact with CMS about an article he was
                                                      writing on Theranos. Carreyoru [sic] talked to Dyer about the
                                   6                  article. He has never spoken with Bennett. The CMS regional
                                                      office conducts federal jurisdictional surveys. . . . Bennett was a
                                   7                  natural to ask to do the survey because she has survey experience,
                                                      and she had done it twice before.
                                   8

                                   9   Id. at 3. Relying exclusively on Bennett’s explanation above, Holmes contends that “[t]he

                                  10   existence of secret communications between Carreyrou and government investigators undoubtedly

                                  11   bears on the ‘quality of the investigation’ on which the government developed its case.” Holmes

                                  12   Opp’n at 8.
Northern District of California
 United States District Court




                                  13          Evidence regarding the Government’s investigation may be relevant and admissible at trial.

                                  14   United States v. Sager, 227 F.3d 1138, 1145 (9th Cir. 2000). For example, “[d]etails of the

                                  15   investigatory process potentially affect[] [the investigating agent’s] credibility and, perhaps more

                                  16   importantly, the weight to be given to evidence produced by his investigation.” Id.; see also

                                  17   United States v. Howell, 231 F.3d 615, 625 (9th Cir. 2000) (explaining utility of evidence that

                                  18   “raises[s] the opportunity to attack the thoroughness, and even good faith, of the investigation”).

                                  19          Here, the Government does not seek exclusion of evidence regarding the investigatory

                                  20   process. Instead, the Government seeks only to exclude a defense argument that its charging

                                  21   decisions were influenced by “coordination” with journalists or competitors. The only evidence of

                                  22   “coordination” Holmes proffers is Bennett’s interview with the FDA. Bennett’s interview,

                                  23   however, is not evidence of “coordination” with journalists or competitors. Instead, Bennett

                                  24   explains that a reporter contacted CMS, and that the decision was made to have two CMS

                                  25   employees conduct the certification survey rather than the state agency. In the absence of

                                  26   evidence of actual coordination, neither Sager nor Howell support Holmes’s position. In Sager,

                                  27   the defense sought to question the Postal Inspector about “aspects of his investigation” into

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         87
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 88 of 100




                                   1   possible fraudulent charges on a credit card issued to Trevor Post (“Post”). Sager, 227 F.3d at

                                   2   1143. The trial judge interrupted defense counsel and questioned the relevance of the cross-

                                   3   examination and eventually instructed the jury: “What I am telling you is that you are not here to

                                   4   grade his investigation. You are here to grade the product of that investigation, that is, the

                                   5   evidence.” Id. The Ninth Circuit held that the trial court committed error, reasoning that “[t]o tell

                                   6   the jury that it may assess the product of an investigation, but that it may not analyze the quality of

                                   7   the investigation that produced the product, illogically removes from the jury potentially relevant

                                   8   information.” Id. at 1145. In the present case, however, precluding Holmes from arguing that

                                   9   there was no “coordination” based on Bennett’s interview with the FDA will not remove from the

                                  10   jury potentially relevant information.

                                  11          In Howell, the defendant claimed that the prosecutor’s failed to inform the defense of

                                  12   material mistakes in two police reports. Howell, 231 F.3d at 623–24. On appeal, the Howell court
Northern District of California
 United States District Court




                                  13   rejected the government’s contention that it had no duty to disclose the mistake to the defense. Id.

                                  14   at 625. Here, in contrast, the Government is not seeking to exclude evidence of any mistake in the

                                  15   investigation.

                                  16          The Government’s MIL No. 4 to exclude the defense’s argument that the charging

                                  17   decisions were influenced by “coordination” with journalists or competitors is GRANTED.

                                  18   Nothing in this Order is intended to preclude Holmes from presenting evidence or argument

                                  19   regarding the details, thoroughness, or good faith of the criminal investigation.

                                  20          E.    MIL No. 5 to Preclude Defendant From Presenting an Improper Good Faith
                                                    Defense
                                  21

                                  22          The Government next moves to preclude Holmes from “presenting an improper good faith

                                  23   defense.” Gov’t Mot. at 7–8. In its motion, the Government notes the following:

                                  24                    [Holmes] might attempt to present evidence or argument that she
                                                        should be acquitted because she acted in good faith. Defendant
                                  25                    might claim, despite her deception of investors, that she always
                                                        intended to make those victims’ investments profitable, such that the
                                  26                    victims would suffer no loss when all was said and done.
                                  27   Id. at 7. The Government argues that “[this] argument—and any argument along those lines—

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         88
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 89 of 100




                                   1   should be barred, as they do not constitute recognized legal defenses to charges and are therefore

                                   2   improper and irrelevant.” Id. (citing United States v. Benny, 786 F.2d 1410, 1417 (9th Cir. 1986)

                                   3   (“While an honest, good-faith belief in the truth of the misrepresentations may negate intent to

                                   4   defraud, a good-faith belief that the victim will be repaid and will sustain no loss is no defense at

                                   5   all”); United States v. Hickey, 580 F.3d 922, 931 (9th Cir. 2009)).

                                   6          In opposition, Holmes states that “[t]he law of this Circuit draws a distinction between a

                                   7   good-faith belief in the truth of a misrepresentation (which can negate fraudulent intent) and a

                                   8   good-faith belief that a knowingly fraudulent scheme will eventually lead to a favorable outcome

                                   9   for the victim.” Holmes Opp’n at 8 (comparing United States v. Ghilarducci, 220 F. App’x 496,

                                  10   501 (9th Cir. 2007) (as an example of the former), with Tijani v. Holder, 628 F.3d 1071, 1077 (9th

                                  11   Cir. 2010) (as an example of the latter)). Holmes argues the Government’s request “would be

                                  12   overly broad and would conflate the two [different kinds of] good-faith arguments.” Id. at 9.
Northern District of California
 United States District Court




                                  13   Holmes cites to United States v. Barreiro, where the court denied a similar motion to preclude the

                                  14   defendants’ good-faith defense argument, stating that “[the defendants] [were] entitled to argue

                                  15   that they lacked intent to defraud because they believed, in good faith, that any alleged

                                  16   misrepresentations were true and that [the alleged scheme] was a legitimate business.” No. 13-

                                  17   CR-00636-LHK, 2015 WL 7734139, at *1 (N.D. Cal. Dec. 1, 2015) (citation omitted).

                                  18          The Government states it is not attempting to preclude Holmes from arguing that she had a

                                  19   good-faith belief that her alleged misrepresentations were true. See Gov’t Reply at 5–6 (“An

                                  20   argument that [Holmes] thought she was telling the truth is obviously permissible. . . . The

                                  21   [G]overnment fully expects that [Holmes] will deny intentionally misleading victims regarding the

                                  22   achievements of Theranos”).

                                  23          The Court agrees with the Government (and with Holmes) that a defendant may not

                                  24   provide as a defense the argument that the defendant knowingly made false misrepresentations but

                                  25   nevertheless had a good-faith belief that the defendant’s victims would be repaid or otherwise

                                  26   suffer no harm. See Benny, 786 F.2d at 1417. Barreiro is inapposite because in that case the court

                                  27   denied a motion to preclude the argument that “[the defendants] thought that they were acting

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         89
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 90 of 100




                                   1   lawfully.” Barreiro, 2015 WL 7734139, at *1. Here, the Government’s motion is not as broad,

                                   2   and seeks to preclude only the argument that Holmes knowingly made misrepresentations but had

                                   3   a good-faith belief that her alleged victims would be repaid or otherwise suffer no harm.

                                   4          For the reasons above, the Court GRANTS the Government’s MIL No. 5 to preclude

                                   5   Holmes from presenting an improper good faith defense outside of Ninth Circuit precedent.

                                   6          F.    MIL No. 6 to Admit CMS’s January 26, 2016 Form CMS-2567, Statement of
                                                    Deficiencies
                                   7

                                   8          The Government seeks to admit CMS Form CMS-2567, dated January 26, 2016, which

                                   9   lists the deficiencies observed during CMS’s September 2015 recertification and survey of

                                  10   Theranos’ Newark laboratory. Gov’t Mot. at 8–10. As described above concerning Holmes’s

                                  11   MIL to exclude evidence of the CMS survey findings, the Court GRANTS the Government’s MIL

                                  12   No. 6 to admit the CMS January 2, 2016 Form CMS-2567, Statement of Deficiencies. See supra
Northern District of California
 United States District Court




                                  13   Section III.C.

                                  14          G.    MIL No. 7 to Admit Text Messages Between Holmes and Balwani Offered by
                                                    The Government
                                  15

                                  16          The SEC conducted a parallel investigation into Theranos. On September 6, 2016, the

                                  17   SEC issued a subpoena to Theranos requesting production of communications between Holmes

                                  18   and Balwani beginning January 1, 2010. Nov. 20, 2020 Decl. of AUSA Robert S. Leach in

                                  19   Support of United States’ Mots. in Limine (“Leach Decl.”), Dkt. No. 588-1, Ex. F. On July 7,

                                  20   2017, an attorney from Wilmer Cutler Pickering Hale and Dorr LLP (“WilmerHale”), who

                                  21   represented Theranos at the time, produced to the SEC a document Bates-numbered TS1036239

                                  22   through TS1036827 (the “SEC Spreadsheet”), which he represented to be “a spreadsheet

                                  23   containing business-related text messages, iMessages, and Skype exchanges between Elizabeth

                                  24   Holmes and Sunny Balwani.” Id, Ex. G. On July 11 and 13, 2017, Holmes testified under oath

                                  25   before the SEC. During her testimony, the SEC Spreadsheet was marked as an exhibit and the

                                  26   following exchange occurred:

                                  27                    Q    Exhibit 221 purports to be an Excel file that includes a number
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        90
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 91 of 100



                                                      of rows of font. The starting Bates number is TS-1036239. Have you
                                   1                  seen Exhibit 221 before?
                                   2                  A       I think I’ve seen some of the content in it. I’ve never seen it
                                                      like this.
                                   3
                                                      Q      Does this – I’ll represent to you that these are – this is the file
                                   4                  that Theranos provided to the SEC pursuant to subpoena which is
                                                      supposed to reflect the text messages between you and Mr. Balwani
                                   5                  on your Theranos-issued cell phone.
                                   6                  A       Yep.
                                   7                  Q       Do you have any reason to believe that this isn’t a true
                                                      collection of those text messages from your work cell phone?
                                   8
                                                      A       No.
                                   9

                                  10   Id., Ex. H (“SEC Testimony”) at ECF p. 13 (SEC Testimony 376:4-19). Subsequently, a second

                                  11   WilmerHale attorney submitted to the SEC a declaration under penalty of perjury certifying

                                  12   records of regularly conducted activity, which stated: “I certify that the document produced at TS-
Northern District of California
 United States District Court




                                  13   1036239 through TS-1036827 is a spreadsheet containing Theranos business-related text

                                  14   messages, iMessages, and Skype exchanges between Ms. Holmes and Mr. Balwani. These

                                  15   messages and exchanges were sourced from images taken of Ms. Holmes’[s] business phones, as

                                  16   well as messaging applications on Ms. Holmes’ computer.” Leach Decl., Ex. I.

                                  17          On November 7, 2017, in response to a grand jury subpoena, WilmerHale produced to the

                                  18   FBI a document Bates-numbered THER-2566547 through THER-2567135 (the “DOJ

                                  19   Spreadsheet”), which WilmerHale represented to be “a spreadsheet reflecting text messages sent

                                  20   to and from Elizabeth Holmes and Ramesh Balwani as collected from Elizabeth Holmes’s

                                  21   Company-issued devices. These text messages were originally produced at TS-1036239 through

                                  22   TS-1036827 and are being reproduced today with revised redactions pursuant to the guidelines

                                  23   discussed on our October 2, 2017 call with Mr. Schenk and Mr. Bostic.” Id., Ex. K. The DOJ

                                  24   Spreadsheet generally has fewer redactions from the SEC Spreadsheet.

                                  25          The Government now seeks an order admitting portions of the SEC and DOJ Spreadsheets

                                  26   containing certain text messages between Holmes and Balwani. The Government references six

                                  27   specific excerpts and requests that the Court admit “any similar ones offered by the government”

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                         91
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 92 of 100




                                   1   as well. Gov’t Mot. at 11–14. At the May 6, 2021 hearing, the Government clarified that it was

                                   2   not seeking a blanket order admitting the entirety of both spreadsheets but anticipates introducing

                                   3   additional excerpts as they become relevant at trial. Holmes objects to admission of the excerpted

                                   4   spreadsheets on the grounds that neither their relevance nor their authenticity can be determined at

                                   5   this stage. Holmes Opp’n at 13.

                                   6                 1. Relevance
                                   7           The Government seeks to introduce six excerpts from between November 2013 and

                                   8   October 2015. These dates correlate to key events at Theranos within the charging period, about

                                   9   which the Government plans to introduce other evidence. For example, the Government seeks to

                                  10   introduce an excerpt from November 19, 2014, which was around the time Theranos’ former lab

                                  11   director, Dr. Adam Rosendorff, expressed his misgivings about the company and was eventually

                                  12   terminated. See Gov’t 575 Opp’n at 3–4 (explaining that Dr. Rosendorff told Holmes on
Northern District of California
 United States District Court




                                  13   November 14, 2014 that he felt “really uncomfortable with . . . what is happening right now in this

                                  14   company . . . I am feeling pressured to vouch for results that I cannot be confident in.”). In the

                                  15   text exchange days later, Mr. Balwani wrote a number of texts to Holmes generally relating to the

                                  16   “lab” and leadership of the lab (e.g., “Need to focus on op. Getting hurt in market”; “Lab . . .

                                  17   need[s] director level people”; “We need[ t]he lab and call center fixed”; and “New lab dirs., lab

                                  18   manager like Tracy”). Holmes expressed agreement (e.g., “Fundamentally we need to stop

                                  19   fighting fires by not creating them . . . Need to fix root cause here . . . Yes . . . Exactly”).

                                  20   Likewise, the November 28, 2014 texts (including Mr. Balwani’s statement that the “Normandy

                                  21   lab is a fucking disaster zone”) were close in time to Dr. Rosendorff’s departure. Given the

                                  22   temporal proximity of the messages to the events involving Dr. Rosendorff, and the centrality of

                                  23   those events to the Government’s case, the Court finds this excerpt relevant.

                                  24           Each of the remaining excerpts are similarly correlated to key events at issue in this case,

                                  25   or else are on their face plainly relevant to Holmes’s knowledge. Holmes did not raise specific

                                  26   relevance objections to any particular excerpts at the hearing. The Court, therefore, finds that the

                                  27   excerpts provided are relevant to show, at a minimum, Holmes’s knowledge.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                           92
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 93 of 100




                                   1                2. Authenticity

                                   2          “To satisfy the requirement of authenticating or identifying an item of evidence, the

                                   3   proponent must produce evidence sufficient to support a finding that the item is what the

                                   4   proponent claims it is.” Fed. R. Evid. 901(a); see United States v. Aldaco-Lopez, 956 F.2d 1168

                                   5   (9th Cir. 1992). The Government need only make a prima facie showing of authenticity “so that a

                                   6   reasonable juror could find in favor of authenticity or identification.” United States v. Blackwood,

                                   7   878 F.2d 1200, 1202 (9th Cir. 1989) (per curiam) (quoting United States v. Black, 767 F.2d 1334,

                                   8   1342 (9th Cir. 1985), cert. denied, 474 U.S. 1022 (1985) (quoting 5 J. Weinstein & M. Merger,

                                   9   Weinstein’s Evidence, ¶ 901(a) [01] at 901–16 to –17 (1983)).

                                  10          The Government argues that there is sufficient evidence to support a finding that the

                                  11   spreadsheets are in fact compilations of messages between Holmes and Balwani from Holmes’s

                                  12   Theranos-issued devices because (1) it was Holmes’s counsel that produced the spreadsheets to
Northern District of California
 United States District Court




                                  13   the SEC and DOJ, attesting to their authenticity; and (2) Holmes did not challenge the authenticity

                                  14   of the spreadsheets at her SEC deposition.

                                  15          Holmes argues that WilmerHale did not represent Ms. Holmes in her personal capacity,

                                  16   rather, it represented Theranos as corporate counsel. The transcript of Holmes’s SEC deposition

                                  17   testimony shows that there were two sets of outside counsel present at the deposition: counsel

                                  18   from Cooley LLP, who represented “Ms. Holmes in all capacities,” and counsel from WilmerHale,

                                  19   who represented “the company and Ms. Holmes as CEO.” Leach Decl., Ex. H at ECF p. 5 (SEC

                                  20   Testimony at 12:8-13:19). While there is some ambiguity about the extent of WilmerHale’s

                                  21   representation of Theranos and Holmes “as CEO,” the Court is not prepared to interpret

                                  22   WilmerHale’s production of the spreadsheets as an admission from Holmes that they are authentic.

                                  23   Indeed, Holmes indicated in her SEC deposition testimony that she had never seen the

                                  24   spreadsheets before.

                                  25          Holmes further argues that because WilmerHale did not represent her in a personal

                                  26   capacity, the certifications of the spreadsheets and the cover letters accompanying the productions

                                  27   are inadmissible hearsay and therefore cannot be used to authenticate the spreadsheets. The Court

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        93
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 94 of 100




                                   1   agrees. Because the spreadsheets contain data from multiple devices compiled by attorneys with

                                   2   the ability to select and redact material at will, the Court finds that the documents require

                                   3   authentication. Without some admissible evidence explaining how the spreadsheets were

                                   4   compiled, the Court cannot determine authenticity at this stage. The Court notes, however, that

                                   5   the burden on the Government to produce such evidence is slight. United States v. Whitworth, 856

                                   6   F.2d 1268, 1282–83 (9th Cir. 1988) (“Evidence is admissible under Rule 901(a) once a prima

                                   7   facie case has been made on the issue”). Once a prima facie case has been made, “the matter is

                                   8   committed to the trier of fact to determine the evidence’s credibility and probative force.” Id.

                                   9          Accordingly, the Court DENIES the Government’s MIL No. 7 without prejudice. The

                                  10   Government may renew its motion upon its introduction of additional evidence as to authenticity.

                                  11          H.    MIL No. 8 to Admit Statements By Theranos And Theranos Employees And
                                                    Agents Offered by The Government
                                  12
Northern District of California
 United States District Court




                                  13          In MIL No. 8, the Government moves to admit two categories of statements. First, the

                                  14   Government moves to admit against Holmes “relevant statements by Theranos agents and

                                  15   employees on matters within the scope of that relationship and while it existed,” asserting that

                                  16   these statements are admissible under Federal Rule of Evidence 801(d)(2)(D). Gov’t Mot. at 17.

                                  17   Second, the Government moves to admit against Holmes “statements by Theranos that she

                                  18   authorized or manifested that she adopted or believed to be true,” namely interrogatory responses

                                  19   that Theranos made in civil litigation. The Government contends that the interrogatory responses

                                  20   are admissible under Federal Rule of Evidence 801(d)(2)(B) and (C). Id.

                                  21          The Federal Rules of Evidence define hearsay as: “(A) statement, other than one made by

                                  22   the declarant while testifying at the trial or hearing, offered in evidence to prove the truth of the

                                  23   matter asserted.” Fed. R. Evid. 801(c). Federal Rule of Evidence 801(d)(2) excludes from the

                                  24   hearsay definition (and thus the rule against hearsay) statements offered against an opposing party

                                  25   and (A) made by the party in an individual or representative capacity; (B) one the party

                                  26   manifested that it adopted or believed to be true; (C) made by a person whom the party authorized

                                  27   to make a statement on the subject; (D) made by the party’s agent or employee on a matter within

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          94
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 95 of 100




                                   1   the scope of that relationship and while it existed; or (E) made by the party’s coconspirator during

                                   2   and in furtherance of the conspiracy. Fed R. Evid. 801(d)(2) & 802.

                                   3           Here, the Government relies on Rule 801(d)(2)(D) to seek admission of statements by

                                   4   Theranos agents and employees. In United States v. Kirk, 844 F.2d 660 (9th Cir. 1988), the

                                   5   government charged the founder of a time share venture with conspiracy, wire fraud, and other

                                   6   offenses. Defendant Kirk “ran the day-to-day operations” and exercised “control over the time

                                   7   share scheme.” Id. at 661. On appeal, the defendant argued, among other things, that the district

                                   8   court erred in admitting hearsay testimony of the company’s salespeople. The Ninth Circuit

                                   9   concluded that the statements were admissible as nonhearsay statements of agents or employees

                                  10   under Fed. R. Evid. 801(d)(2)(D). Id. at 663. Similarly, in United States v. Gibson, 690 F.2d 697,

                                  11   699 (9th Cir. 1982), the government brought mail fraud, wire fraud, and other charges against

                                  12   Gibson, the founder, sole shareholder, chairman, and president of Gibson Marketing International,
Northern District of California
 United States District Court




                                  13   Inc. (“GMI”), which sold franchises and franchise distributorship rights. Id. at 697. At trial, the

                                  14   government introduced evidence of statements by GMI employees and salesmen against Gibson.

                                  15   On appeal, the Ninth Circuit found no error in admitting the statements. The Ninth Circuit held

                                  16   that testimony by investors as to statements made by GMI employees were not hearsay, and even

                                  17   if the testimony did fall within the hearsay definition, the testimony was admissible under either

                                  18   Rule 801(d)(2)(D) (statements by an agent) or Rule 801(d)(2)(E) (statements by a co-conspirator).

                                  19   Id. at 701.

                                  20           Although Kirk and Gibson support the Government’s position, it is premature for the Court

                                  21   to issue a categorical ruling admitting any and all testimony of Theranos agents and employees on

                                  22   matters within the scope of that relationship and while it existed. Under general agency principles,

                                  23   Theranos employees were not Holmes’s agents; they were Theranos’ agents. See Boren v. Sable,

                                  24   887 F.2d 1032 (10th Cir. 1989) (an employee’s “mere occupation of a subordinate position in the

                                  25   corporate chain of command” is sufficient to establish an “agency relationship” for the purpose of

                                  26   admission under Rule 801(d)(2)). The Government does not cite, and this Court is unaware of,

                                  27   any case supporting the admission of the statements of hundreds of employees to a corporate CEO

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        95
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 96 of 100




                                   1   under Rule 801(d)(2)(D). Moreover, in United States v. Bonds, 608 F.3d 495, 504 (9th Cir. 2010),

                                   2   the Ninth Circuit instructed that to determine whether statements are admissible under Rule

                                   3   801(d)(2)(D), a court must “undertake a fact-based inquiry applying common law principles of

                                   4   agency.” NLRB v. Friendly Cab Co., Inc., 512 F.3d 1090, 1096 (9th Cir. 2008); see also U.S. v.

                                   5   Agne, 214 F.3d 47, 54–55 (1st Cir. 2000) (“Whether the statements of a corporate employee may

                                   6   be admitted against a corporate officer depends upon the relationship between the employee and

                                   7   the officer; ‘if the factors which normally make up an agency relationship are present the evidence

                                   8   should not be excluded simply because the statement is offered against a corporate officer, rather

                                   9   than the corporation.’”). Under common law principles of agency, an agent is one who “act[s] on

                                  10   the principal’s behalf and subject to the principal’s control.” Bonds, 608 F.3d at 506 (quoting

                                  11   Restatement (Third) Agency § 1.01). “To form an agency relationship, both the principal and the

                                  12   agent must manifest assent to the principal’s right to control the agent. Id. The Government has
Northern District of California
 United States District Court




                                  13   not attempted to make this showing for all of the hundreds of Theranos employees.

                                  14          As to the interrogatory responses, the Government specifically seeks admission of

                                  15   Theranos’ admissions that: Theranos earned less than $500,000 from blood testing revenue from

                                  16   2013 to 2015; that its contracts with the Department of Defense were limited to three agreements

                                  17   producing de minimus revenue; that it modified third-party analyzers in order to process blood

                                  18   tests; that only 12 tests were ever run on a Theranos-manufactured device in its clinical lab; and

                                  19   that Theranos ceased all testing on Theranos-manufactured devices by June 2015. See Leach

                                  20   Decl., Ex. P at 35–38, Ex. Q at 22–24, 36-39, at Ex. R 22–23. These admissions were made by

                                  21   Theranos in a prior civil suit, Partner Investments v. Theranos, C.A. No. 12816-VCL. Id., Exs. P,

                                  22   Q, R. The Government contends that the interrogatory responses are admissible under Rule

                                  23   801(d)(2)(B) and (C) on the theory that Holmes authorized her company’s interrogatory responses

                                  24   and manifested that she adopted or believed them to be true. The Government reasons that

                                  25   “Holmes was a co-defendant in the lawsuit at the time the statements were made and her own

                                  26   interrogatory responses made reference to Theranos’ statements (see, e.g., Leach Decl., Ex. N at

                                  27   16–18)—compelling the inference that she authorized her company’s statements and manifested

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        96
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 97 of 100




                                   1   that she adopted or believed them to be true.” Gov’t Mot. at 17.

                                   2          The Government has presented some evidence tending to show Holmes authorized

                                   3   Theranos’ interrogatory responses in the Partner Investments suit and manifested that she adopted

                                   4   or believed them to be true. Specifically, during her deposition in a separate suit brought by the

                                   5   SEC, Holmes was shown Theranos’ interrogatory responses, and conceded “I certainly was

                                   6   engaged with our legal team on responding to them” and added “I’m sure I talked with our team

                                   7   about them.” Feb. 16, 2021 Decl. of AUSA Robert S. Leach in Supp. of United States’ Reply in

                                   8   Supp. of its Mot. in Limine, Dkt. No. 727, Ex. U at 143; id. at 149 (“I worked with our legal teams

                                   9   as we worked to respond to PFM”). Holmes’s involvement in preparing Theranos’ interrogatory

                                  10   responses in the SEC litigation is circumstantial evidence that she was also involved in and

                                  11   authorized preparing Theranos’ responses in the Partner Investments litigation. However, this

                                  12   proffered evidence, without more, is insufficient to support admission of the under Rule
Northern District of California
 United States District Court




                                  13   801(d)(2)(B) and (C).

                                  14          The Government next contends that Holmes’s “coordination with Theranos” and the

                                  15   repeated cross-references to Theranos’ responses in her own interrogatory responses that give rise

                                  16   to the inference that she knew of and approved Theranos’ responses. Gov’t Reply at 13.

                                  17   However, as Holmes points out, she and Theranos were represented by separate counsel in the

                                  18   Partner Investments litigation and prepared separate responses to interrogatories. The cross-

                                  19   referencing tends to show some coordination, but is no basis to conclude that Holmes adopted all

                                  20   of Theranos’ responses.

                                  21          The Government also relies on the fact that Theranos’ interrogatory responses were signed

                                  22   by Holmes’s brother and some of the most senior officers of the company whom she supervised.

                                  23   Familial status is not enough to show Holmes authorized her brother’s responses. Furthermore, at

                                  24   present, there is no evidence whatsoever that Holmes authorized her brother or the other senior

                                  25   officers to prepare the company’s interrogatory responses.

                                  26          The Government’s MIL No. 8 is DEFERRED pending the Government’s establishment of

                                  27   the necessary foundation for the evidence it seeks to introduce.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        97
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 98 of 100



                                              I.    MIL No. 9 to Exclude Self-Serving Hearsay Statements Made And Offered By
                                   1                Holmes
                                   2          The Government represents that through its investigation, it “has collected extensive

                                   3   evidence of previous statements by Defendant regarding Theranos’ technology, business

                                   4   relationships, financial health, regulatory status, and other key topics,” which the Government will

                                   5   seek to introduce at trial. Gov’t Mot. at 17. The Government now moves to prevent Holmes from

                                   6   similarly introducing “witness testimony or direct evidence of self-serving statements she has

                                   7   made to the press, to victims, or in her testimony to the SEC.” Id. at 18.

                                   8          Holmes argues that this motion is premature because the Government has not identified

                                   9   any particular statements that it seeks to exclude, and because the admissibility of Holmes’s out-

                                  10   of-court statements will necessarily depend on the purpose for which they are offered at trial.

                                  11   Holmes Opp’n at 19. Holmes also argues that certain of her hearsay statements may be admissible

                                  12   under the common law rule of completeness or Federal Rule of Evidence 106.
Northern District of California
 United States District Court




                                  13          Under Federal Rule of Evidence 801(d)(2)(A), an out-of-court statement is admissible if

                                  14   (1) made by the defendant and (2) offered against the defendant. Fed. R. Evid. 801(d)(2)(A); see

                                  15   also United States v. Pelisamen, 641 F.3d 399, 410 (9th Cir. 2011) (defendant’s own statements

                                  16   made during television interview admissible over hearsay objection). It is also well-settled that a

                                  17   defendant may not “place [her] exculpatory statements before the jury without subjecting [herself]

                                  18   to cross-examination.” United States v. Ortega, 203 F.3d 675, 682 (9th Cir. 2000) (affirming

                                  19   exclusion of defendant’s “non-self-inculpatory” statements as hearsay).

                                  20          The Court agrees with the Government that Rule 801(d)(2)(A) applies only to party-

                                  21   opponent statements and that under Ortega, Holmes is not permitted to introduce exculpatory

                                  22   statements without testifying in court. At the hearing, Holmes represented that she understood and

                                  23   would adhere to this rule. See May 6, 2021 Hr’g Tr., Dkt. No. 794, at 4:14-5:2 (“We agree with

                                  24   your honor that Ortega implements Rule 801 which prohibits us from introducing Ms. Holmes’[s]

                                  25   statements if they are hearsay . . . of course, we intend to comply with Ortega.”).

                                  26          Accordingly, bearing in mind Ortega and other Ninth Circuit precedent, the Court will not

                                  27   rule at this time that all of Holmes’s out-of-court statements are inadmissible hearsay. “The

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                        98
                                        Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 99 of 100




                                   1   admissibility of a particular statement depends on the content of the statement and the purpose for

                                   2   which the party seeks to introduce that statement into evidence.” Yang, 2019 WL 5536213, at *4.

                                   3   Without additional context, the Court cannot say that a currently unidentified out-of-court

                                   4   statement by Holmes would be hearsay, let alone that an exception to hearsay does not apply. For

                                   5   the same reason, the Court defers addressing Holmes’s arguments regarding the rule of

                                   6   completeness or Federal Rule of Evidence 106 until the Court has before it particular statements

                                   7   and context to consider.

                                   8          Accordingly, the Court GRANTS the Government’s motion (to the extent that Holmes’s

                                   9   out-of-court statements are inadmissible for the reasons stated in Rule 801 and Ortega). The

                                  10   Government may object in due course to specific evidence submitted at trial. Holmes shall

                                  11   provide the Government and Court fair warning when she believe the issue is about to arise at

                                  12   trial, so the Court can then address the issue outside the presence of the jury.
Northern District of California
 United States District Court




                                  13          J.    MIL No. 10 to Admit Relevant Testimony From ‘Non-Paying’ Patient Witnesses
                                                    (Dkt. No. 588)
                                  14
                                              Testimony from non-paying patient witnesses concerning their experience with Theranos
                                  15
                                       testing is relevant and admissible for the reasons described above with respect to Holmes’s MIL to
                                  16
                                       exclude anecdotal evidence of test results. See supra Section III.H.1. Accordingly, the Court
                                  17
                                       GRANTS the Government’s MIL No. 10. Patients, physicians, and other witnesses who may
                                  18
                                       testify about receiving test results will not be permitted to testify about any physical, financial, or
                                  19
                                       emotional harm they may have experienced beyond simply paying for the test.
                                  20
                                              K.    MIL No. 11 to Order Defendant to Produce Reverse Jencks Including Any in
                                  21                Camera Proffers

                                  22          The Government asks the Court to order Holmes to produce witness statements under Rule

                                  23   26.2(a) of the Federal Rules of Criminal Procedure. During the May 6, 2021 hearing, Holmes

                                  24   represented that the Rule 26.2(a) materials were produced that morning. The Government’s MIL

                                  25   ///

                                  26   ///

                                  27   ///

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                                          99
                                       Case 5:18-cr-00258-EJD Document 798 Filed 05/22/21 Page 100 of 100




                                   1   No. 11 is DEEMED MOOT.

                                   2         IT IS SO ORDERED.

                                   3   Dated: May 21, 2021

                                   4                                       ______________________________________
                                                                           EDWARD J. DAVILA
                                   5                                       United States District Judge
                                   6

                                   7

                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE: MOTIONS IN LIMINE
                                                                            100
